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            UNITED STATES DISTRICT COURT                         1         APPEARANCES:
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        LIABILITY LITIGATION ) Case No.                              440 Louisiana Street, Suite 1901
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        THIS DOCUMENT RELATES TO: )                                  (713) 495-2333
                        ) JUDGE DENISE                           7
                                                                 8   and
        All Cases, 1:22-md-03043 ) COTE                          9
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  1                   VIDEOGRAPHER: We are now on              1                 DIRECT EXAMINATION
  2              the record. My name is Brian Bobbitt.         2        QUESTIONS BY MR. MURDICA:
  3              I'm a videographer for Golkow                 3            Q. Good morning.
  4              Litigation Services.                          4            A. Good morning.
  5                   Today's date is August 2, 2023,          5            Q. Could you state your name for
  6              and the time is 8:55 a.m. Central             6        the record.
  7              Time.                                         7                 MR. TRACEY: Jim? Jim, can you
  8                   This video deposition is being           8            hear me?
  9              held in Houston, Texas, in the matter         9                 MR. MURDICA: Yes, sir.
 10              of Acetaminophen, Tylenol, ASD/ADHD          10                 MR. TRACEY: Yeah. So before
 11              Products Liability Litigation for the        11            we get started, I think Rebecca has
 12              United States District Court, Southern       12            four or five articles that when Robert
 13              District of New York.                        13            was preparing, he looked at his notes
 14                   The deponent is Robert Cabrera.         14            and found them, and they were not on
 15                   Counsel will be noted on the            15            his MCL. She's going to give those to
 16              stenographic record.                         16            you.
 17                   Our court reporter may now              17                 There's also one article that
 18              swear in the witness.                        18            was published like from two days ago,
 19                                                           19            and until we get our agreement on how
 20                 ROBERT CABRERA, Ph.D.,                    20            to supplement the articles that are
 21        of lawful age, having been first duly sworn        21            continuing to come out, we thought we
 22        to tell the truth, the whole truth and             22            better hand it to you this morning.
 23        nothing but the truth, deposes and says on         23                 So Rebecca is going to give
 24        behalf of the Defendant Johnson & Johnson, as      24            that to you now before we start,
 25        follows:                                           25            those -- those articles.


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  1            MS. KING: Okay. And I counted           1       Q. Okay. How would you like me to
  2       seven.                                       2   refer to you during this deposition?
  3            MR. TRACEY: Okay. Sorry.                3       A. Okay.
  4            MR. MURDICA: All right. Let's           4       Q. Dr. Cabrera, what are your
  5       try this again. Anything else before         5   qualifications as a doctor, sir?
  6       we get started?                              6       A. I have a doctorate in medical
  7            MR. TRACEY: No, no, no. Sorry           7   sciences.
  8       about that.                                  8       Q. Are you a medical doctor?
  9            MR. WATTS: Welcome to Houston,          9       A. I'm a medical scientist, not a
 10       Jim.                                        10   medical doctor.
 11            MR. MURDICA: Yeah. Yes, I'm            11       Q. Are -- I understand you're part
 12       sure those couldn't have been               12   of a lab.
 13       transmitted earlier than right now.         13            Do the other people in the lab
 14       Thank you.                                  14   refer to each other as doctors when they're
 15   QUESTIONS BY MR. MURDICA:                       15   not medical doctors?
 16       Q. Good morning.                            16       A. If you're in the lab, we refer
 17       A. Good morning.                            17   to each other as first names. If you're
 18       Q. Please state your name for the           18   outside of the lab, then we generally refer
 19   record.                                         19   to each other by our titles.
 20       A. Robert Matthew Cabrera.                  20       Q. Okay. And you understand
 21       Q. Robert Matthew Cabrera, we've            21   you're here in relation to a litigation,
 22   never met before right now; is that correct?    22   correct?
 23       A. That's correct.                          23       A. Yes, I do.
 24       Q. How do you refer to yourself?            24       Q. And that's not your normal
 25       A. Robert.                                  25   work; it's not litigation, right?

                                         Page 15                                            Page 16
  1       A. No. It's not my normal,                   1       Q. Okay. And your focus through
  2   everyday job.                                    2   your career thus far has primarily been
  3       Q. Okay. Who employs you in your             3   neural tube defects and major congenital
  4   everyday job?                                    4   malformations, right?
  5       A. Baylor College of Medicine.               5       A. I work primarily in neural
  6       Q. Does Baylor College of Medicine           6   development, which includes neural tube
  7   know that you're here today?                     7   defects.
  8       A. I'm on vacation.                          8       Q. Okay. Has your focus in neural
  9       Q. Okay. Does Baylor College of              9   development been neural tube defects?
 10   Medicine know the opinions that you've put      10       A. Predominantly, yes.
 11   forth in this litigation with respect to the    11       Q. And predominantly it's been in
 12   acetaminophen?                                  12   identifying causes and finding protective
 13       A. I'm not submitting them on               13   measures to prevent them; is that fair?
 14   behalf of Baylor.                               14       A. We look at both the cause and
 15       Q. Okay. So they have not taken a           15   the prevention of birth defects, including
 16   position one way or another whether it's        16   neural tube defects.
 17   appropriate for you to opine on acetaminophen   17       Q. And in this litigation, you
 18   outside of work?                                18   submitted an expert report in June; is that
 19       A. I have not.                              19   right?
 20       Q. Okay. Do they know you're                20       A. That's correct.
 21   doing this work?                                21       Q. It was about 200 pages?
 22       A. They do not.                             22       A. Approximately.
 23       Q. Your training is primarily in            23       Q. A week later you amended your
 24   teratology; is that right?                      24   report, correct?
 25       A. That's correct.                          25       A. That's correct.


                                                                     4 (Pages 13 to 16)
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  1       Q. Okay. Why did you amend your              1       A. Not anything substantive, just
  2   report?                                          2   typos, typographical errors.
  3       A. There was some minor edits that           3       Q. So between your original report
  4   needed to be corrected that we had noticed.      4   and your amended report a week later, there
  5       Q. What do you mean "we had                  5   were no substantive changes?
  6   noticed"?                                        6       A. I didn't make any substantive
  7       A. Well, reading through the                 7   changes, no.
  8   documents afterwards, it was -- there were       8       Q. Okay. At some point you
  9   some things that were done that were left        9   provided a further supplemental report
 10   incomplete and needed to be corrected.          10   related to one article, correct?
 11       Q. So were they things you added            11       A. That's correct.
 12   to or things you corrected?                     12       Q. And just now I was handed
 13       A. Corrections, just corrections            13   additional articles.
 14   that were made.                                 14            Are those articles that you've
 15       Q. Did you remove anything?                 15   reviewed?
 16       A. Specifically, I don't -- I               16       A. Yes, they are.
 17   don't recall that we removed anything.          17       Q. Okay. Are they articles that
 18       Q. You don't recall that you                18   you have additional opinions about?
 19   removed anything?                               19       A. They're consistent with my
 20       A. No.                                      20   opinions that I've put forth in my report and
 21       Q. Did you add anything?                    21   my supplemental.
 22       A. Edits. There was edits as far            22       Q. Okay. Is there anything you
 23   as -- just edits.                               23   reviewed since your supplemental report
 24       Q. Typos or anything substantive            24   that's not consistent with your report that
 25   to your recollection?                           25   you haven't provided?

                                        Page 19                                               Page 20
  1        A. No.                                      1   the way it was presented. The hypothesis
  2        Q. Okay. Do you have a draft of             2   would put forth that there was an
  3   an additional report in the works now or         3   all-or-nothing effect.
  4   anything like that?                              4            What has been shown is that
  5        A. I think -- I haven't started a           5   early exposures, even before organogenesis
  6   new draft, no, not for the --                    6   with specific teratogens, have been noted to
  7        Q. So as of today, I have in                7   be able to produce malformations and not
  8   writing whatever your opinions are, correct?     8   necessarily produce an all-or-nothing with
  9        A. I believe so, yes.                       9   those early exposures, and two of those
 10        Q. Okay. I want to talk to you a           10   examples would be retinoic acid and alcohol.
 11   little bit about teratology in early            11        Q. Okay. And going beyond the
 12   pregnancy in particular.                        12   14 days, there are some structural defects
 13              In the first 14 days of              13   that can be induced by teratogens, right?
 14   pregnancy, do you generally agree that any      14        A. Yes.
 15   teratologic event is an all-or-nothing event?   15        Q. And with time, we've come to
 16        A. Classically that was believed.          16   learn that some of them are induced at
 17   That is not necessarily the case, and that's    17   specific times, like cleft lip, for example.
 18   been shown with -- particularly with alcohol    18            Is that fair?
 19   and retinoic acid. Those are exceptions.        19        A. There is what's referred to as
 20        Q. There's been so few mitoses in          20   critical windows of exposure that tend to
 21   the first few days of pregnancy that an         21   define when particular organ systems are
 22   environmental effect or a teratological         22   susceptible to teratogenic effects of
 23   effect would most likely kill the embryo.       23   teratogens.
 24              Is that fair?                        24        Q. And is one of those cleft lip?
 25        A. Classically, that's -- that's           25        A. Yes. There's a -- there's a


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  1   time window as well for clefting or cleft        1   effect that can -- I assume your testimony
  2   lip.                                             2   here is that a teratologic effect can cause
  3        Q. And would you say 21 to 28 days          3   autism in development, right?
  4   is the key window for that?                      4        A. Yes.
  5        A. That would actually be a little          5        Q. And when is the window for that
  6   bit early for cleft lip.                         6   teratologic effect for autism specifically,
  7        Q. Is that anything that you've             7   not neurodevelopment?
  8   ever studied, Doctor?                            8        A. Right. Well, it coincides
  9        A. Cleft lip?                               9   because autism is a neurodevelopmental
 10        Q. Yes.                                    10   disorder. A teratogenic effect that occurs
 11        A. Yes.                                    11   during its critical window of exposure, which
 12        Q. And specifically the                    12   includes development of the nervous system,
 13   teratologic window for cleft lip?               13   and the development of the nervous system
 14        A. Yes.                                    14   continues throughout gestation, both the
 15        Q. Okay. How about for autism?             15   second and third trimester.
 16   What's the teratologic window for autism?       16        Q. Okay. And so when would be the
 17        A. So the neurodevelopment in the          17   first window that a teratogen can affect the
 18   human, it's continuous with neurulation,        18   neuro -- neurological development?
 19   which is the start of neural tube closure and   19        A. So we've shown that -- in the
 20   continues throughout gestation through both     20   animal model that it coincides with
 21   the second and the third trimester of           21   neurulation, so we can do exposures as early
 22   pregnancy.                                      22   as eight and a half days of gestation which
 23        Q. Yeah, okay. And I'm asking              23   is the beginning of the neural tube closure,
 24   specifically about autism.                      24   which would coincide with approximately, as
 25            When is the teratologic                25   you mentioned, 14 to 28 days in pregnancy.

                                        Page 23                                              Page 24
  1             And during that critical window        1        animal models and also consistent with
  2   of exposure in the animal model, we're able      2        the studies of fever in humans.
  3   to produce autism in animals that have been      3   QUESTIONS BY MR. MURDICA:
  4   exposed during neurulation, so as early as       4        Q. A neural tube defect, which you
  5   neurulation, but continues throughout            5   referred to earlier in the early part of
  6   pregnancy.                                       6   neurologic development, that would be much
  7        Q. Okay. So is it fair that the             7   more profound than autism, correct?
  8   most critical -- to say that the most            8        A. Yes. It's a severe congenital
  9   critical window to induce autism in the          9   malformation. It's often not compatible with
 10   opinion of Dr. Cabrera is 14 to 28 days of      10   life.
 11   the human pregnancy?                            11        Q. When you were first -- you're a
 12        A. That is not my opinion, no.             12   member of the Teratologic Society, right?
 13        Q. Okay. Please state for the              13        A. I -- what was referred to as
 14   record Dr. Cabrera's opinion as to the most     14   the Teratologic Society, which I still like
 15   important time for a tera -- teratogenic        15   to think of as the Teratologic Society, I am
 16   inductions of autism in human pregnancy.        16   still a member, yes.
 17        A. So --                                   17        Q. You're still a member.
 18             MR. TRACEY: Objection. Form.          18             You're not a member -- are you
 19             THE WITNESS: So throughout            19   familiar with OTIS?
 20        neurulation and neural development,        20        A. I -- I am.
 21        that is the critical window of             21        Q. You're not a member of that,
 22        exposure. I think the time of most         22   are you?
 23        sensitivity would be during the second     23        A. I am not.
 24        trimester of pregnancy.                    24        Q. Were you ever invited to be?
 25             And that's been supported by          25        A. No, I haven't applied.


                                                                      6 (Pages 21 to 24)
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  1       Q. Okay. When did you first take             1        A. No. No. It's -- I can
  2   an interest in autism in particular,             2   double-check on that, but maybe Gilead.
  3   Dr. Cabrera, in your research?                   3        Q. Okay. I want to talk to you a
  4       A. So for the last five years,               4   little bit about the human brain for a
  5   I've been working on another compound that       5   minute.
  6   was associated with neural tube defects, and     6             Where in the human brain are
  7   part of what we're doing is behavioral           7   the features that result in autism?
  8   testing.                                         8        A. So different parts of the brain
  9            So that's when I started to             9   have been associated with autism. I don't
 10   look at interactions and some overlap between   10   know that there's any one portion of the
 11   early neural development and autism spectrum    11   brain that specifically causes autism as a
 12   disorder, behaviors in animal models.           12   neurobehavioral disorder.
 13       Q. And you're doing that at                 13        Q. So, in other words, whatever --
 14   Baylor?                                         14   well, do you believe that there are
 15       A. Yes.                                     15   structural abnormalities in the brain of
 16       Q. And what's the compound?                 16   patients with autism?
 17       A. Dolutegravir. It's an HIV                17        A. Those have been documented
 18   antiviral.                                      18   in -- and, you know, one example is there was
 19       Q. And is that funded by any                19   a publication in the New England Journal of
 20   particular company?                             20   Medicine by Stoner that demonstrated what
 21       A. It's funded by the National              21   I -- what I refer to as neural layering
 22   Institutes of Health, the National Institutes   22   defects, and those are predominantly in the
 23   of Mental Health.                               23   frontal and occipital cortex.
 24       Q. Whose drug is that, if                   24        Q. But your testimony here today
 25   anybody's, or is it an old drug?                25   is that the structural manifestations of

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  1   autism can be in any portion, any anatomic       1   the hippocampus that are either signs or
  2   portion, of the human brain?                     2   causal for autism?
  3       A. Well, not any anatomic portion.           3       A. There have been documented some
  4   It would be predominantly those involved in      4   structural changes. Actually, one of the
  5   executive function, reasoning, although some     5   papers we gave you today shows some
  6   other ones have demonstrated that there's        6   structural changes in the hippocampus that
  7   also some cerebellar involvement in some         7   were associated with acetaminophen exposures,
  8   patients with autism.                            8   particularly in the autism model.
  9       Q. So what -- tell us the anatomic           9       Q. Yeah. And my questions were
 10   regions of the brain where there would be       10   about human beings, and I think what you're
 11   structural changes that are a part of autism    11   referring to is a study in mice, correct?
 12   or indicative of autism?                        12       A. That is correct.
 13       A. So what's been documented                13       Q. Out of Wuhan, China?
 14   includes impacts on the neural laminal          14       A. Yes.
 15   layers, which -- largely different areas of     15       Q. Are you familiar with the lab
 16   the cerebral cortex and then also the           16   there?
 17   cerebellum.                                     17       A. I'm -- not particularly.
 18       Q. Okay. How about the                      18       Q. How important is your reliance
 19   hippocampus?                                    19   on a mouse hippocampus study from Wuhan,
 20       A. There is some data to support            20   China?
 21   interaction with the hippocampus as well.       21       A. It's part of the totality of
 22       Q. Okay. And I -- you used the              22   evidence. I've considered it.
 23   word "interaction." I didn't ask about          23       Q. Okay. But you had the opinions
 24   interaction.                                    24   you're going to talk to us today before
 25            Are there structural changes in        25   seeing that study, right?


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  1        A. Yes.                                     1        Q. And I'm going to ask you the
  2        Q. At what point did you come to            2   same question for ADHD.
  3   the conclusion that acetaminophen --             3            At what point in time did you
  4   acetaminophen causes autism -- well, we'll --    4   come to the conclusion that acetaminophen
  5   do -- we'll take it one at a time.               5   causes ADHD in human beings?
  6            At what point in time did you           6        A. It's concurrently.
  7   come to that opinion?                            7        Q. In other words, concurrently in
  8        A. So while I was reviewing the             8   2023?
  9   literature systematically, I realized that       9        A. Yes.
 10   there was a -- had accumulated an               10        Q. Had you ever looked at
 11   overwhelming amount of evidence that            11   literature on acetaminophen and autism prior
 12   supported that position.                        12   to 2023?
 13        Q. Okay. And was that in 2023?             13        A. I looked at literature on
 14        A. Yes, that's this year.                  14   acetaminophen generally, and I had also been
 15        Q. Okay. And were you                      15   following it sometime during COVID, but
 16   doing that -- were you systematically           16   not -- hadn't conducted a systematic review.
 17   reviewing the literature for fun or for some    17        Q. Right.
 18   other reason?                                   18            And hadn't conducted a review
 19        A. Because I was asked to.                 19   with respect to autism or ADHD in particular,
 20        Q. Okay. You were asked to, not            20   correct?
 21   for your job, right?                            21        A. Incorrect. I had been
 22        A. For the -- for why I'm here             22   reviewing studies, particularly the
 23   today --                                        23   meta-analysis that had been published in the
 24        Q. Yeah.                                   24   last several years for my own class.
 25        A. -- as a consultant.                     25        Q. And what class is that? The

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  1   nutrition class?                                 1   primary instructor, is certified in genetics.
  2       A. No. I also teach two other                2   So I'm a lecturer in that class.
  3   classes. One of them is medical                  3       Q. Oh, I see.
  4   biochemistry, in addition to a genetic           4           So the class, if we looked at a
  5   counseling class, and it was for the genetic     5   syllabus -- or the class is actually taught
  6   counseling class.                                6   by your boss?
  7       Q. Okay. And what degrees or                 7       A. So, well, my boss's colleague.
  8   board certifications do you have in genetics?    8       Q. Correct?
  9       A. I'm not a -- my boss is a                 9           Okay. Now I'm just confused.
 10   board-certified geneticist. I'm not a           10           If we went and looked at the
 11   board-certified geneticist.                     11   program for the school, does it say
 12       Q. And why are you talking about            12   Dr. Cabrera is the professor?
 13   your boss?                                      13       A. As a lecturer.
 14       A. Well, the class, I was referred          14       Q. Okay. So much like I go to
 15   to as being able to teach this class. And so    15   Baylor as a guest lecturer in a law class,
 16   that was who referred me as a -- said that I    16   that doesn't make me a professor, correct?
 17   could teach the class.                          17       A. No, not unless you're appointed
 18       Q. Does your boss teach the class,          18   a professor.
 19   or do you teach the class?                      19       Q. Okay. Are you appointed a
 20       A. I teach the class.                       20   professor?
 21       Q. Okay. So you teach a class               21       A. Associate professor.
 22   about genetics and are not certified in         22       Q. In -- at Baylor or at UT or
 23   genetics in any way, correct?                   23   where?
 24       A. Well, the person -- again, my            24       A. At Baylor.
 25   boss, and then also the person that is the      25       Q. Okay. Where do you teach your


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  1    nutrition class?                                 1   biochemistry class right now?
  2        A. So I'm not currently teaching             2        A. That's correct.
  3    my nutrition class. I was teaching it at San     3        Q. And what degrees do you have in
  4    Jacinto College and also UT in Austin.           4   chemistry or biology or biochemistry?
  5        Q. And your nutrition class, was             5        A. I trained in biology.
  6    that more in the vein of maternal nutrition      6   That's my -- my undergrad was in biology.
  7    to prevent neural tube defects?                  7        Q. Okay.
  8        A. It's, let's say, a core class.            8        A. And the class that I teach, I
  9    So we were required to teach a class as part     9   teach genetics in that class. That's -- I
 10    of our faculty appointment, and I was           10   cover the genetics lecture in that class. So
 11    teaching a core credit class in nutrition.      11   I'm the lecturer in that class.
 12    So it was a general science class.              12        Q. And is the audience medical
 13        Q. Was that the first class you             13   students?
 14    were -- you ever regularly taught?              14        A. There's two different
 15        A. No, it was not.                          15   audiences. One is graduate students. We
 16        Q. Okay. What was the first class           16   have a graduate student section, and then I
 17    you ever taught?                                17   also teach a professional student section,
 18        A. I -- before that, I was                  18   which is physician's assistants and
 19    teaching a class in the philosophy of science   19   orthopedic and nurse anesthesiologists. So
 20    as well.                                        20   not medical students, professional students.
 21        Q. And does the philosophy of               21        Q. Okay. I asked you a couple
 22    science have anything to do with autism or      22   minutes ago about when you first became
 23    ADHD?                                           23   interested in autism, and I think you said
 24        A. It did not, no.                          24   you've been working on a compound for the
 25        Q. Okay. And you said you teach a           25   last five years in relation to that.

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  1             How does the compound that              1   medication and so we looked at that as well.
  2    you're doing -- how does your research relate    2            And so while we were doing
  3    to autism? Is it whether the drug induces        3   behavioral studies on those animals, we also
  4    autism?                                          4   looked at the effect of in utero exposure on
  5        A. So initially there was a report           5   the behavior of offspring, and that was where
  6    that there was neural tube defects in            6   we started to look at autism.
  7    Botswana that happened just over five years      7       Q. Okay. And that was a -- you
  8    ago, approximately five years, and we            8   said that was a follow-up grant, right?
  9    followed up that study with producing an         9       A. That was -- yeah, that was a
 10    animal model of that that would show that it    10   follow-up.
 11    was fully responsive. And we've followed        11       Q. When did you get that follow-up
 12    that up with now a mouse model that's also      12   grant?
 13    shown that it's fully responsive just to show   13       A. About three years ago.
 14    that this drug can produce neural tube          14       Q. Okay. So is it really three
 15    defects that are fully responsive.              15   years then you've been looking at autism?
 16        Q. Okay. And I asked you about              16       A. Well, that's when we got the
 17    autism.                                         17   grant to look at that, yes.
 18        A. Right.                                   18       Q. And then you began after that,
 19        Q. Autism is not neural tube                19   correct?
 20    defects, correct?                               20       A. Right. Right.
 21        A. And then the -- on the                   21       Q. Okay. So it's not five years.
 22    follow-up for that, we were also funded to      22   You weren't studying autism five years ago,
 23    look at the neurological impacts because        23   correct?
 24    these are also associated with neurological     24       A. Initially we were studying
 25    problems in people -- both adults taking the    25   neurodevelopment, and then that led into us


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  1    studying autism.                                 1   haven't published yet.
  2        Q. Okay. And it wasn't                       2       Q. Are you intending to?
  3    specifically autism that you were studying.      3       A. Yes, we do.
  4    Even in the last three years, it was             4       Q. Okay. What, if any,
  5    neurological effects of that compound,           5   conclusions did you come to as to what you're
  6    correct?                                         6   calling behavioral effects of that compound?
  7        A. That is correct.                          7       A. So we've seen increased
  8        Q. That includes more than autism,           8   activity in those animals that we documented
  9    right?                                           9   in open field testing.
 10        A. Yes.                                     10       Q. And what does that increased
 11        Q. What else does it include?               11   activity mean to you?
 12        A. Well, in human patients, it's            12       A. Well, there's different
 13    predominantly what's referred to as adverse     13   interpretations, but potentially anxiety in
 14    events. And so adverse events reported          14   the animals.
 15    included things like headache in patients,      15       Q. Okay. And does the anxiety
 16    potentially, and other, I guess, complaints     16   allow you to opine that that compound causes
 17    that were neurological in people that were      17   any particular neurologic effect or defect?
 18    taking the medication.                          18       A. Yeah. So we follow that up
 19        Q. And has this research been               19   with looking at the brain and doing brain
 20    published?                                      20   pathology, and also metabolomics on the brain
 21        A. The neural tube defects paper            21   as well.
 22    was just published, I believe, a couple weeks   22       Q. Okay. So you sacrifice the
 23    ago.                                            23   animal and examine the mouse brain?
 24        Q. Uh-huh.                                  24       A. Yes.
 25        A. And the behavioral studies we            25       Q. Okay. And what conclusions, if

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  1   any, did you draw between that compound and       1   might change your conclusion? Is that what
  2   causation as to any particular neurologic         2   you're saying?
  3   effect?                                           3        A. Yes.
  4        A. Suffice it to say, we do see              4        Q. Okay. So if we went and looked
  5   changes in single carb metabolism that            5   at the grant that you got that you're talking
  6   appears to be affecting dopaminergic              6   about for this compound, would it say that
  7   pathways, but we haven't drawn any                7   you were investigating autism?
  8   conclusions other than the fact that there --     8        A. It does not.
  9   the animal has increased anxiety at this          9        Q. Okay. Would it say that you're
 10   point.                                           10   investigating ADHD?
 11        Q. Okay. So increased anxiety in            11        A. It would not.
 12   a mouse model doesn't necessarily mean that      12        Q. Okay. So is this work that
 13   it causes any particular neurologic defect?      13   you're doing here, this is the first time you
 14        A. It can be consistent with other          14   actually examined specifically autism and
 15   problems, but we haven't seen other problems     15   ADHD in relation to any particular
 16   in the animal. That was one of the things        16   environmental exposure.
 17   that we noted that was statistically             17            Is that fair?
 18   significant in the study that we did.            18        A. That is not correct.
 19        Q. And what other problems would            19        Q. Okay. What else have you --
 20   you look for?                                    20   what other work have you done evaluating
 21        A. So some of the things that can           21   autism and ADHD as an outcome to an exposure?
 22   be looked for is we also do three-chamber for    22        A. When I was in graduate school,
 23   socialization. We didn't see changes in          23   we also did a behavioral study looking at the
 24   socialization in that animal.                    24   exposure of valproic acid and heavy metals in
 25        Q. Okay. And if you had, then it            25   autism core behaviors.


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  1       Q. Okay. And that -- was that in             1       Q. Okay. And had you ever done
  2   a particular lab in grad school?                 2   neural tube defect research on valproic acid
  3       A. Yes, it was.                              3   before that?
  4       Q. And is it the same lab you work           4       A. Yes.
  5   in now?                                          5       Q. Was that also in your grad
  6       A. Well, we've come a long ways,             6   school research?
  7   but, yes, I still work for the same person.      7       A. Yes, it was.
  8       Q. Okay. So in grad school, was              8       Q. Okay. So your role, when you
  9   that Richard Finnell's lab?                      9   were in grad school, I take it, you weren't a
 10       A. Yeah, he was the director of             10   lead investigator or anything like that on
 11   the institute and also the PI of the lab.       11   that study?
 12       Q. And he was looking at Depakote,          12       A. In graduate school, I was --
 13   or valproic acid, and neurologic outcomes?      13   well, one of those studies I was first author
 14       A. Not exactly. A colleague of              14   but not the PI of the study.
 15   mine, Denise Hill, was interested in heavy      15       Q. Okay. How about the autism and
 16   metal toxicity, and we appreciated that         16   valproic acid study, were you first author
 17   valproic acid was the model for autism in       17   there?
 18   animal models, particularly in mice. And so     18       A. I was -- Denise was the -- that
 19   we compared heavy metal exposure with           19   was her first author publication. I
 20   valproic acid in those animal models.           20   followed, second author.
 21       Q. To what endpoint? To see if              21       Q. And on that publication, if we
 22   the heavy metal exposure could induce autism?   22   looked at it, was that in an animal model, or
 23       A. Autism-like behaviors, yes.              23   were you making determinations as to human
 24       Q. Okay. And was that published?            24   effects?
 25       A. Yes, it was.                             25       A. That was in an animal model.

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  1        Q.   Okay. So let me try again              1   treatments, like valproic acid and
  2    then.                                           2   phenobarbital, those are known teratogens,
  3             Is this the first time you've          3   correct?
  4    ever opined that a compound -- an exposure      4        A. Particularly valproic acid
  5    can cause -- can induce autism in a human       5   is -- they're potent teratogens.
  6    being?                                          6        Q. By the time you were in grad
  7         A. Yes, it is.                             7   school, everybody agreed and knew that
  8         Q. Okay. And you've never done             8   first-line AEDs could induce major congenital
  9    that or made that conclusion outside of         9   malformations in human beings, correct?
 10    litigation ever before today in this year,     10        A. I would like to think that
 11    correct?                                       11   everyone knew, but there were still people
 12         A. Yeah, this is my first time            12   defending the position that they didn't. I
 13    offering an opinion on autism.                 13   still argue incorrectly, but it was generally
 14         Q. Okay.                                  14   understood that they were -- caused birth
 15         A. Or ADHD.                               15   defects.
 16         Q. Back to valproic acid.                 16        Q. Well -- and that's one of the
 17             Valproic acid has been known to       17   reasons that you used it in the mouse model,
 18    be a human teratogen for decades, correct?     18   correct?
 19         A. That is correct.                       19        A. That's correct.
 20         Q. It was one of the early                20        Q. All right. And one of the
 21    antiepileptic drugs, the first -- first-line   21   reasons that you knew that is because there
 22    antiepileptic drug a long time ago, correct?   22   had been prospective, double-blind pregnancy
 23         A. Discovered by chance, it was           23   registries that showed a profound effect of
 24    shown to be an effective antiepileptic drug.   24   valproic acid on human pregnancy, correct?
 25         Q. And those first-line                   25        A. Well, there had been initially


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  1    retrospective studies that had identified        1   unknown, blinded antiepileptic drugs,
  2    there was an effect of valproic acid, and        2   correct?
  3    then those were followed up by both animal       3       A. A variety of them now, yes.
  4    models that demonstrated that, in addition to    4       Q. And it's prospective. They're
  5    prospective studies in women with epilepsy       5   followed -- they're enrolled right at the
  6    treated and untreated.                           6   beginning of pregnancy, right?
  7        Q. Okay. Are you familiar with               7       A. That's correct.
  8    the North American Antiepileptic Drug            8       Q. Okay. And the Holmes and
  9    Registry?                                        9   Hernandez-Diaz are blind to the patient and
 10        A. I am.                                    10   the drugs, right?
 11        Q. Do you know Lew Holmes?                  11       A. That is my understanding until
 12        A. I do.                                    12   the analysis is done.
 13        Q. Sonia Hernandez-Diaz?                    13       Q. And it's double-blind, right?
 14        A. I've met her a couple of times.          14       A. I -- I'm not sure about the
 15        Q. Okay. So you know -- you know            15   double-blinding. I'd have to check that
 16    how they conducted that registry, right?        16   particular publication you're referring to.
 17        A. Not at its inception, but I'm            17       Q. Okay. Well, there's many
 18    familiar with the work.                         18   publications, right?
 19        Q. You're familiar that it's a              19       A. Yes.
 20    human exposure registry?                        20       Q. The pregnancy registry, they
 21        A. Ongoing.                                 21   constantly publish any time something becomes
 22        Q. Ongoing.                                 22   significant, right?
 23             In human pregnancies, right?           23       A. They publish updates regularly.
 24        A. That's correct.                          24       Q. Right.
 25        Q. With exposure to anti- --                25            And that level of evidence

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  1   is -- would you agree it's about as good as       1   animal evidence is what matters?
  2   you get in human pregnancy?                       2       A. Well, I disagree because I talk
  3        A. The combination of having an              3   to physicians regularly that counsel women
  4   animal model, having first observed this          4   that take anticonvulsant drugs, and they
  5   prospectively -- or excuse me,                    5   quite often ask me what I see in the animal
  6   retrospectively and then doing the                6   models to help inform them on the relative
  7   prospective study, that's -- that is strong       7   risk of medications that they use that don't
  8   evidence.                                         8   have enough data on them.
  9        Q. Okay. Well, I didn't ask you              9       Q. Are you talking about the
 10   about the animal model.                          10   third-line antiepileptics?
 11        A. Yeah.                                    11       A. Well, looking at particularly
 12        Q. What matters to people now, we           12   the newer ones, yes.
 13   have double-blind, prospective pregnancy         13       Q. Well, you know -- you know
 14   registry human evidence now today, correct?      14   there isn't registry data on those yet,
 15        A. That is -- we do.                        15   right, because they haven't reached
 16        Q. And if you ask anybody in the            16   significance?
 17   field what the best evidence is, they're not     17       A. Well, yes, because there's not
 18   going to start talking about animal studies.     18   enough exposures in the database yet.
 19   They're going to talk about the                  19       Q. Right. Right.
 20   North American Antiepileptic Drug Pregnancy      20            So I don't think we're
 21   Registry and the publications that came out      21   understanding each other because I'm asking
 22   of that, correct?                                22   you about drugs when we have human data, and
 23        A. I disagree.                              23   we do have a publication because it did
 24        Q. Okay. You disagree because you           24   become significant in the registry.
 25   think now that we have human evidence, the       25            Okay?


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  1             For those drugs, not the newer         1   an autism warning was added to it, correct?
  2   ones, for those drugs, nobody is talking         2       A. That is correct.
  3   about the animal data. They're talking about     3       Q. Okay. Throughout your reports
  4   the actual human data that became significant    4   you mentioned many times an adverse outcome
  5   in a prospective, double-blind pregnancy         5   pathway.
  6   registry, correct?                               6       A. (Witness nods head.)
  7       A. That's largely what you will              7       Q. In particular, an AOP 20. Do
  8   hear about as far as -- for clinical             8   you remember including that in all of your
  9   analysis.                                        9   reports --
 10       Q. That's the highest level of              10       A. Yes, I do.
 11   evidence you can get in human pregnancy         11       Q. -- or at least your original
 12   within the bounds of current ethics, correct?   12   report, your amended report and your
 13       A. Well, in addition to that, that          13   supplemental -- your rebuttal report all have
 14   can be distilled further into meta-analysis.    14   AOP 20, correct?
 15   That would be the best set of data.             15       A. That is correct.
 16       Q. If there's multiple studies.             16       Q. Okay. And what organization
 17       A. If there's multiple studies.             17   came up with that pathway?
 18       Q. Okay. All right. And valproic            18       A. Well, that was published by the
 19   acid has had a major congenital malformation    19   OECD, is -- it's where I found that
 20   warning on the label, as the drug Depakote,     20   originally.
 21   for decades, correct?                           21       Q. Okay. And what is the basis
 22       A. As far as I know, yes.                   22   behind OECD? How do you know about them, and
 23       Q. Okay. And then eventually,               23   how do you use them in your regular work?
 24   after it was already, essentially, not used     24       A. So the AOPs themselves I'm
 25   in pregnancy unless no other AED would work,    25   familiar with because I've done some work


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  1   with the EPA in the past, and it's common for    1              You don't know if FDA uses
  2   us to put AOPs together; to look for the         2    AOPs, do you?
  3   existing evidence on a particular molecular      3        A. I'm not familiar with them
  4   interaction and whether it can have an impact    4    using AOPs.
  5   on an organism; and how it has an impact on      5        Q. You've never seen them using an
  6   the organisms and whether there's any gaps in    6    AOP, correct?
  7   the data on having that impact on an             7        A. Like I said, I'm not familiar
  8   organism.                                        8    with their use --
  9        Q. Okay. And the AOP 20 that you            9        Q. By --
 10   refer to a lot, you didn't publish that or      10        A. -- by the FDA.
 11   put that together, correct?                     11        Q. By the way, have you ever been
 12        A. I did not. That was                     12    contacted by the FDA for assistance with
 13   independently done by researchers I -- I'm      13    regard to any particular compound?
 14   unfamiliar with before I had seen the AOP.      14        A. Yes, I have.
 15        Q. Okay. And did you see that AOP          15        Q. Okay. And is it the one that
 16   for the first time in connection with this      16    you were -- that you were talking about
 17   litigation?                                     17    earlier that you're working on now?
 18        A. Yes. It was published, I                18        A. Well, with the entire class of
 19   think, while I was doing the review of the      19    molecules, the HIV integrase inhibitors, I
 20   literature for this litigation.                 20    was asked to go with the -- with the FDA,
 21        Q. Okay. And you mentioned EPA.            21    with the World Health Organization at the
 22   You mean the Environmental Protective           22    National Institutes of Health and National
 23   Association?                                    23    Institutes of Child Health and Development
 24        A. Agency, yes.                            24    and present the work I had done on that
 25        Q. Agency. Agency.                         25    compound.


                                                                     13 (Pages 49 to 52)
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  1       Q. Okay. And that was a -- some              1       A. The NIH.
  2   sort of meeting?                                 2       Q. Okay. So not the FDA?
  3       A. It was a meeting, yes, a                  3       A. Well, the NIH would -- who had
  4   conference.                                      4   contacted us. The FDA was there also.
  5       Q. And when was that?                        5       Q. Right. I understand they were
  6       A. I believe it's approximately              6   there.
  7   six years ago now. I think I have it on my       7            My original question was
  8   résumé for a conference I attended.              8   whether the FDA ever asked you to do any work
  9       Q. Okay. So that was the neural              9   in particular on a compound.
 10   tube defect work that was funded by the         10       A. Right.
 11   National Institutes of Health?                  11       Q. And FDA has not asked you to do
 12       A. It ultimately led to the                 12   work on a compound, correct?
 13   funding of that work, yes.                      13       A. Well, multiple organizations
 14       Q. Led to the funding of the work.          14   that were -- that were asking for that.
 15   And then at some point you presented at a       15       Q. Let me try this again. FDA
 16   conference, and were you presenting on behalf   16   didn't invite you to that conference,
 17   of FDA?                                         17   correct?
 18       A. No. I was meeting with -- it             18       A. It's hosted by the NIH.
 19   was a conference with shareholders in the       19       Q. Okay. Did you have any contact
 20   medications, different shareholders for each    20   with the FDA other than talking to them at
 21   one of the HIV antiviral integrase              21   that meeting?
 22   inhibitors, and we met with them in addition    22       A. Yes, I did.
 23   to the FDA and the World Health Organization.   23       Q. Okay. What was that?
 24       Q. Okay. So who asked you to                24       A. Other people at the -- at the
 25   attend that meeting?                            25   FDA had contacted me, and I had some

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  1   correspondence with them about the work we       1   published by -- not an OECD publication but
  2   were doing.                                      2   an independently published.
  3       Q. Okay. Before or after the                 3       Q. Okay. And the reason I'm
  4   meeting?                                         4   asking about AOP 20, you mentioned your heavy
  5       A. Both.                                     5   metal research just a little bit ago.
  6       Q. Okay. And it was in regards to            6           AOP 20 is about using mercury
  7   those compounds --                               7   to induce neurologic effects, correct?
  8       A. Yes.                                      8       A. The primary compound that is
  9       Q. -- correct?                               9   described in that AOP is mercury, but it also
 10             Did they ever -- ever ask you         10   includes acetaminophen as a common compound
 11   for -- to provide them a report or any          11   that can also produce the same oxidative
 12   specific research?                              12   damage in -- in cells and produce the same
 13       A. They did ask for the data that           13   outcomes.
 14   we were -- that we planned on presenting.       14       Q. Well, the pathway itself has
 15       Q. And this was all with regard to          15   multiple steps, correct?
 16   neural tube defects, correct?                   16       A. That's correct.
 17       A. Yes, it was.                             17       Q. And the one that's published
 18       Q. Okay. Back to the -- to the              18   that you're relying on uses mercury to induce
 19   AOP.                                            19   the depletion of glutathione, right?
 20             Is AOP 20 the only AOP that is        20       A. Well, they specifically look at
 21   important to your opinions here?                21   mercury and the depletion of glutathione, in
 22       A. Well, in addition, there was             22   addition to the AOP cascade. And the
 23   also another publication that came out in       23   analysis they conduct is then a weight of the
 24   regards to the cannabinoid pathway, which was   24   evidence analysis on that AOP, specific to
 25   also another adverse outcome pathway that was   25   mercury.


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  1             But they include acetaminophen         1        Q. Okay.
  2   as another compound that can produce the same    2        A. And that is oxidative stress.
  3   effects as far as the oxidative damage and       3        Q. Do you agree that step one only
  4   the interaction with thiol groups and            4   includes mercury and that step one is to
  5   specifically with glutathione.                   5   deplete the glutathione so that there's no
  6        Q. They do not, Dr. Cabrera,                6   glutathione in the system, correct?
  7   include acetaminophen as something that can      7        A. Well, there are other compounds
  8   be the first step to deplete the glutathione     8   listed in addition to mercury that can
  9   in that AOP, correct?                            9   produce those effects.
 10        A. It's not in the group of                10        Q. Okay. And the other compounds
 11   compounds like mercury. It's not -- it's not    11   are other heavy metals that are not
 12   listed with mercury.                            12   acetaminophen, correct?
 13        Q. Right.                                  13        A. They're not just heavy metals.
 14             So the only place that -- if we       14        Q. Okay. They're not
 15   look at it, and we probably will later today,   15   acetaminophen in the other compounds that can
 16   the only place we would see acetaminophen is    16   deplete the glutathione, correct?
 17   in a list -- in that pathway on the third       17        A. Well, acetaminophen can deplete
 18   step, I believe. It's in a list of stressors    18   glutathione, but it's not specifically listed
 19   that once the glutathione is gone because of    19   in the AOP with mercury. It's listed as a
 20   the mercury can induce damage in the pathway,   20   stressor in that pathway.
 21   correct?                                        21        Q. Let me -- let me -- let me
 22        A. That's not correct. It's a              22   clarify that question because I think -- I
 23   list of stressors that can produce the same     23   think we're on the same page.
 24   biological effect, molecular and biological     24            In the AOP 20, which you rely
 25   effect.                                         25   on in your report, acetaminophen is not part

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  1   of step one of depleting the glutathione.        1   underlying -- you saw there were references
  2   That is not listed as one of the things it       2   for the list of stressors, correct?
  3   can, correct?                                    3       A. Yes.
  4       A. So, in the AOP, it's not listed           4       Q. Did you look at the underlying
  5   with mercury in those first set of compounds.    5   papers?
  6       Q. And then the next step or                 6       A. Yes, I did.
  7   further down the cascade -- you used the term    7       Q. Okay. And did you see the data
  8   cascade, right? It's the pathway?                8   for why acetaminophen is in there?
  9       A. Yes.                                      9       A. Why -- I'm familiar with the
 10       Q. There's -- once the glutathione          10   data, yes.
 11   is depleted, there's the stressors, and         11       Q. Well, in the published -- in
 12   there's a list of them, correct?                12   the literature references, there's nothing
 13       A. Generally speaking, the effect           13   behind it, right? It's just acetaminophen is
 14   of glutathione can be made worse or can be      14   in a list of things that can cause --
 15   caused by the stressors as well.                15   potentially cause damage in the setting of
 16       Q. And does it say that in the              16   depleted glutathione?
 17   AOP?                                            17       A. Well, acetaminophen itself can
 18       A. It describes the effect of the           18   cause decreases in glutathione.
 19   stressors as creating oxidative damage, which   19       Q. I know you believe that, but
 20   is consistent with the same effect that the     20   that's not in the AOP, correct?
 21   mercury and other compounds cause.              21       A. That's not a belief. That's
 22       Q. But it doesn't say it in the             22   supported by factual, scientific data.
 23   AOP, correct?                                   23       Q. Well, it's -- Dr. Cabrera, it's
 24       A. It says exactly what I said.             24   not in AOP 20, is it?
 25       Q. Okay. Did you look at the                25       A. It does deplete glutathione in


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  1   AOP 20. It can cause depletion of                 1        A. Some of them.
  2   glutathione.                                      2        Q. Okay. Do you know why not
  3       Q. Okay. Okay. We're going to                 3   every -- not all the stressors that were
  4   have to look at that because that's...            4   listed in the reference literature were
  5            So your testimony right now is           5   included in AOP 20?
  6   that AOP 20 says that acetaminophen depletes      6        A. Well, because they only did a
  7   glutathione?                                      7   weight of the evidence analysis on mercury.
  8       A. Not absolutely, but it --                  8        Q. How do you know that?
  9   certainly as a stressor, it can decrease          9        A. It's evident in the document.
 10   glutathione.                                     10        Q. So carbon tetrachloride isn't a
 11       Q. And you're saying that AOP 20             11   stressor in the setting of mercury.
 12   says that?                                       12            Is that your testimony?
 13       A. That as a stressor                        13        A. It's -- it's listed in the AOP,
 14   acetaminophen can decrease glutathione.          14   but the AOP is specific in regards to a
 15       Q. Okay. Did you look into the               15   weight of an evidence analysis for mercury.
 16   other stressors that are listed in AOP 20 --     16        Q. Carbon tetrachloride is listed
 17       A. Yes, I did.                               17   in the AOP?
 18       Q. -- do you recall them?                    18        A. We should -- we should look at
 19            Okay. So furan, you saw that?           19   the AOP for specific compounds. I don't
 20       A. Furan, yes.                               20   remember them all.
 21       Q. Did you look at the literature            21        Q. Okay. And the outcome --
 22   behind that?                                     22   because it's an adverse outcome pathway, the
 23       A. I'm familiar with it.                     23   outcome is what in AOP 20?
 24       Q. Did you look at the references            24        A. Again, we should look at the
 25   that are actually in AOP 20?                     25   document if you want a specific -- the

                                         Page 63                                             Page 64
  1    specific language, but in regards to learning    1   also affect glutathione as part of its
  2    and development.                                 2   metabolism, just like mercury.
  3         Q. Right.                                   3            (Cabrera Exhibit 1 marked for
  4              In learning and development,           4       identification.)
  5    you're using that as a marker for autism in      5   QUESTIONS BY MR. MURDICA:
  6    your report, correct?                            6       Q. Why don't we mark that, the
  7         A. It's described in the document           7   AOP 20.
  8    itself, that it can overlap with autism.         8            Okay. Is that the AOP that you
  9         Q. Okay. Your testimony is AOP 20           9   have in front of you, Doctor?
 10    describes in the document that learning --      10       A. Yes, it is.
 11    decreased learning can overlap with autism?     11            MR. WATTS: Jim, what is the
 12         A. That's correct. I quoted                12   exhibit number?
 13    that -- those specific statements in my         13            MR. MURDICA: It is AOP 20
 14    report.                                         14       that's cited in this --
 15         Q. And you are relying on AOP 20           15            MS. KING: It's 1.
 16    as proof that a pathway exists between --       16            MR. MURDICA: Exhibit 1, yeah.
 17    well, it only has mercury in there, but a, I    17            MR. WATTS: There you go.
 18    guess, demonstrative that such a pathway        18            MR. MURDICA: We didn't mark
 19    could exist between an exposure and autism,     19       anything yet.
 20    correct?                                        20   QUESTIONS BY MR. MURDICA:
 21         A. It doesn't only have mercury in         21       Q. And, Dr. Cabrera, prior to this
 22    there. It has other compounds, and one of       22   being -- well, is this -- is this published
 23    those stressors includes acetaminophen          23   in peer-reviewed literature?
 24    interacting with the same pathway.              24       A. Yes, I believe it is.
 25              And as I'm well aware, it can         25       Q. Okay. And where is it?


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  1         A. I -- I'd have to look.                  1             MS. KING: Go ahead.
  2         Q. Okay. You found this online,            2             MR. MURDICA: We'll come back
  3    though, right?                                  3       to it, that way you have -- you have
  4         A. It is correct.                          4       your own copy --
  5         Q. Not in any particular                   5             MS. KING: Thank you.
  6    literature citation or anything like that?      6             MR. MURDICA: -- when we do.
  7         A. Initially I found it online --          7   QUESTIONS BY MR. MURDICA:
  8         Q. Okay.                                   8       Q. Let's go back to genetics.
  9         A. -- when I was searching the             9   We'll come back to this later.
 10    database for adverse outcome pathways.         10             In your -- in your practice, do
 11         Q. Okay. And have you ever been a         11   you treat any human patients?
 12    part of the review for this adverse outcome    12       A. Treat, we do not -- I do not
 13    pathway?                                       13   treat patients.
 14         A. I was not part of the review           14       Q. Okay. You do not diagnose
 15    for this adverse outcome pathway.              15   patients, correct?
 16               MS. KING: Do you have another       16       A. I do genetic analysis
 17         copy? Is that going to be the case        17   consistent with identifying mutations in
 18         with all of the exhibits? Because I'm     18   human patients, but I'm not allowed to
 19         going to want a copy so I can look at     19   diagnose patients.
 20         it all along.                             20       Q. And that's -- is that because
 21               Depending on how we go, I might     21   you're not a medical doctor?
 22         need to ask for a break and get a copy    22       A. It's because I'm not a licensed
 23         made.                                     23   geneticist or medical doctor or medical
 24               MR. MURDICA: You know what,         24   geneticist.
 25         we'll --                                  25       Q. In your rebuttal report, you

                                        Page 67                                              Page 68
  1   reference Dr. Chung many times.                  1   normal work outside of litigation?
  2            Do you know Dr. Chung?                  2       A. If it's in regards to
  3       A. Not personally.                           3   teratogens that can have a detrimental effect
  4       Q. Okay. Have you ever interacted            4   on people, I reckon everyone's entitled to a
  5   with Dr. Chung in any way?                       5   defense in our -- in our country, but
  6       A. Not personally.                           6   nevertheless, those compounds are
  7       Q. Okay. Is there any reason why             7   particularly dangerous.
  8   you would like or dislike Dr. Chung              8       Q. Right.
  9   personally?                                      9            And what Dr. Chung was talking
 10       A. No.                                      10   about was whether or not they induce autism,
 11       Q. When you compared Dr. Chung to           11   not whether or not they're dangerous or
 12   defending war criminals, that wasn't from any   12   induce major congenital malformations,
 13   personal opinion?                               13   correct?
 14            MR. TRACEY: Object to the              14       A. Compounds that can cause
 15       form.                                       15   congenital malformations and autism are
 16            THE WITNESS: I was referring           16   dangerous compounds.
 17       to the drugs as -- and the fact that        17       Q. Yeah, and that's not -- that's
 18       they were human teratogens, that they       18   not what I was asking.
 19       were similar to war criminals in the        19            You realize the portion of
 20       fact that they had maimed and hurt          20   Dr. Chung's opinion that you were criticizing
 21       people, the chemicals.                      21   was about whether those compounds cause
 22   QUESTIONS BY MR. MURDICA:                       22   autism and other effects, not whether they
 23       Q. Is that -- is accusing people            23   cause major congenital malformations,
 24   of defending war criminals something that       24   correct?
 25   you -- is that the way you talk in your         25       A. Well, as autism is represented


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  1    as a functional deficit that is correlated      1       A. We're currently conducting
  2    with congenital malformations, specifically     2   those studies in animal models, but in the --
  3    like neural tube defects, those are similar     3   as far as the handbook for physicians, it was
  4    in that regard.                                 4   specific to valproic acid.
  5        Q. Is autism a structural birth             5       Q. Okay. Are there other
  6    defect?                                         6   antiepileptics that you believe cause autism?
  7        A. That's -- it's diagnosed by              7       A. We're currently looking at
  8    behavioral testing clinically.                  8   that.
  9        Q. Right.                                   9       Q. Okay. Are there any that you
 10             So it's not diagnosed as a            10   believe so far cause autism?
 11    structural birth defect, correct?              11       A. We're still blinded to that
 12        A. There are structural defects            12   data, and I'm not ready to draw conclusions
 13    associated with it, but it's not part of its   13   on it.
 14    diagnosis.                                     14       Q. Okay. And when you say "we,"
 15        Q. Okay. And not every -- not              15   you're doing more animal studies on
 16    every compound that induces structural birth   16   antiepileptics?
 17    defects also induce autism, correct?           17       A. Yes, we are.
 18        A. That is correct.                        18       Q. Which antiepileptics are
 19        Q. Okay. In fact, of the -- of             19   included in your studies?
 20    the antiepileptic drugs -- of which you        20       A. Well, valproic acid, in
 21    believe many cause major congenital            21   addition to -- and I don't have them all in
 22    malformations, correct?                        22   front of me, but there's several other
 23        A. That's correct.                         23   compounds that we're testing that are also
 24        Q. Only one has been associated            24   anticonvulsant drugs.
 25    with autism to date, correct?                  25       Q. Okay. But you can't think of

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  1   any of them?                                     1   time right now?
  2       A. Not just the top of my head. I            2       A. Yes.
  3   have to have the grant in front of me to tell    3       Q. Understanding that you -- I
  4   you which one of the compounds we're looking     4   think you said you can't -- even though you
  5   at.                                              5   can conduct genetic testing, you can't
  6       Q. Okay. Are you doing that at               6   diagnose anyone; is that right? You can't
  7   Baylor?                                          7   diagnose a human patient?
  8       A. Yes, we are.                              8       A. Yes. So we run human patients
  9       Q. And who is funding that?                  9   for what's referred to as sequencing or
 10       A. Right now, it's not funded.              10   resequencing. We also can send out for whole
 11       Q. Is that -- what portion of the           11   genome, and I do the analysis of that, but I
 12   work you're doing now in -- at Baylor is        12   provide the reports back to whomever is the
 13   that, is antiepileptic animal studies?          13   intended physician or the medical geneticist
 14       A. I've only had one grant funded           14   for diagnosis.
 15   in antiepileptic drugs, even though we've       15       Q. Okay. And I assume you've
 16   studied it for decades, and none of our         16   never diagnosed anyone with autism or ADHD.
 17   funded work right now is in anticonvulsant      17           Is that fair?
 18   drugs.                                          18       A. We've had patients that have
 19       Q. Okay. What is your funded work           19   mutations that were consistent with autism
 20   now?                                            20   that we identified in our laboratory.
 21       A. In anti -- the HIV antivirals.           21       Q. Okay. And you, Dr. Cabrera,
 22       Q. Oh, it's what we've talked               22   never diagnosed a patient with autism or
 23   about before?                                   23   ADHD, correct?
 24       A. Yes.                                     24       A. I don't do diagnosis for
 25       Q. Is that the majority of your             25   autism.


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  1         Q. Okay.                                    1   that in my -- in my regular work.
  2         A. But the patient herself was --           2       Q. Okay. What do you mean by
  3    did have autism.                                 3   "negative effect"?
  4         Q. Do you know the diagnostic               4       A. That it has a detrimental
  5    criteria to diagnose a patient with autism?      5   effect on the well-being of the person.
  6         A. I'm familiar with the DSM for            6       Q. Okay. So if somebody is a
  7    diagnostic, but I'm not -- haven't performed     7   savant, is that a detrimental effect?
  8    the test, nor am I licensed to do such.          8       A. Well, if it has negative
  9         Q. Okay. What are the -- what are           9   effects on them otherwise, as far as social
 10    the diagnostic criteria for autism?             10   and communication, then that could be an
 11         A. So typically it's -- has to do          11   indication of that.
 12    with focus and attention, repetitive behavior   12       Q. Okay. And if I asked you the
 13    and then social communication disorder.         13   same questions with regard to ADHD, would you
 14         Q. And do you know to what extent          14   give me the same answers; in that you don't
 15    any or all of those need -- boxes need to be    15   know the exact criteria and you don't
 16    checked in order to render an autism            16   diagnose?
 17    diagnosis?                                      17       A. I don't do the diagnostics for
 18         A. There's a score system that's           18   ADHD.
 19    based on that, and -- again, I'm not a          19       Q. And you don't know the
 20    diagnostician in that regard. And then the      20   diagnostic criteria exactly, correct?
 21    last one is that they should have a negative    21       A. Outside of what's in the DSM, I
 22    effect on the person that has autism. And so    22   have not and never plan on performing those
 23    meeting all those criteria is enough to         23   tests.
 24    create the diagnosis. But I -- I'm not          24       Q. Okay. And you just testified
 25    familiar with the scoring because I don't do    25   about genetic changes that you thought were

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  1   consistent with autism.                           1   pattern of mutations that's known for
  2            Was that following whole-exome           2   autistic patients at this point?
  3   sequencing?                                       3        A. There are some major genes that
  4       A. We did perform whole-exome                 4   have been associated with autism, and there
  5   sequencing on that -- on that individual.         5   are also other minor genes that have been
  6       Q. Okay. And you've seen -- have              6   shown to interact with the autism risk.
  7   you seen point mutations that you thought         7        Q. Right.
  8   were consistent with autism?                      8            And interaction itself, it's
  9       A. In this particular case, we saw            9   still wide open, right, as to what actually
 10   a mutation that was in a particular gene that    10   causes autism genetically, in your mind?
 11   we then produced a mouse model for, and the      11        A. Well, it depends on the
 12   mouse model displayed behaviors also that        12   particular case.
 13   were consistent with autism. And so              13        Q. Right.
 14   collectively, we reported that this gene was     14            It's not a -- it's not a
 15   associated with core behaviors in the mouse      15   uniform presentation genetically, even for
 16   and would be specific for this human.            16   genetically caused autism, correct?
 17            And then another colleague at           17        A. It depends on the case.
 18   Baylor identified multiple other patients        18        Q. Okay. Well, did autism exist
 19   with the same mutation, the same gene with       19   before pharmaceutical compounds existed?
 20   similar presentation.                            20        A. As far as I know, yes.
 21       Q. And there's multiple mutations            21        Q. Okay. There's autism
 22   that have been identified in patients with       22   documented back in ancient Egypt, right?
 23   autism, correct?                                 23        A. I'm not familiar with that
 24       A. That is correct.                          24   record. I'd like to see that document.
 25       Q. And is there any consistent               25        Q. Okay. When do you first know


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  1    of autism being diagnosed in human beings?       1       Q. Okay. And sitting here today,
  2    Not diagnosed.                                   2   do you believe that thimerosal causes autism?
  3             When do you first know of               3       A. Not thimerosal as a particular
  4    autism symptoms being observed in human          4   compound, but mercury, as a causative agent,
  5    beings, in the human record?                     5   is associated with the same endpoints that
  6         A. Well, consistent with a                  6   are identified in AOP 20.
  7    clinical diagnosis, I was only following the     7       Q. Right.
  8    literature since probably the -- me              8            So do you believe -- do you
  9    personally, since the DSMs had been in           9   believe that mercury induces autism?
 10    development and listed autism and infantile     10       A. I believe that mercury can
 11    autism as particular outcomes.                  11   increase the risk for autism, yes.
 12             Prior to that, there are               12       Q. So mercury can cause autism in
 13    behaviors consistent with what we now think     13   a particular patient, correct, in your view?
 14    of as autism but not a clinical diagnosis of    14       A. Depending on the exposure, it's
 15    autism.                                         15   been shown that mercury exposure can increase
 16         Q. And when you were following --          16   the risk for autism.
 17    so how long has that been that you've had       17       Q. Okay. Can --
 18    some awareness of autism?                       18       A. And that is causative in
 19         A. Since -- I think since I was            19   regards to the AOP.
 20    being trained in teratology.                    20       Q. Okay. Can -- so the AOP itself
 21         Q. Okay. And since you were being          21   is enough for you to determine causation in
 22    trained in teratology, had you ever looked      22   that instance?
 23    into thimerosal as a cause of autism?           23       A. It's not enough to determine
 24         A. I did look at heavy metals and          24   causation, but it's enough to demonstrate
 25    particularly thimerosal as well.                25   molecular interactions that can produce a

                                         Page 79                                              Page 80
  1    presentation based on biological structure.      1        Q. Sitting here today, do you
  2        Q. And then you, Dr. Cabrera, make           2   believe that thimerosal causes autism?
  3    the additional leap and say that it's            3        A. I haven't looked at it in
  4    causative, correct?                              4   detail enough to know that.
  5        A. There -- there's no leap there.           5        Q. Okay. Can you exclude it as a
  6    Then you would apply Bradford Hill in order      6   cause of autism?
  7    to determine whether there's a -- there's        7        A. I would say that there's -- in
  8    causality.                                       8   regards to vaccination, that that literature
  9        Q. So you, Dr. Cabrera, then apply           9   has not supported thimerosal specifically as
 10    Bradford Hill as you see it and determine       10   a -- as a cause.
 11    causality, correct?                             11        Q. Did you ever look at all the
 12        A. So -- well, you systematically           12   thimerosal vaccine literature?
 13    review the literature and see if -- how the     13        A. Yes, I did.
 14    different factors in regards to Bradford Hill   14        Q. Okay. And did you look at it
 15    support causality or not.                       15   prior to that being debunked?
 16        Q. And you've done that for                 16        A. Concurrently.
 17    mercury and determined that it's causative,     17        Q. Concurrently.
 18    correct?                                        18            So you didn't look at it before
 19        A. I've looked at that for                  19   it was debunked, correct?
 20    mercury.                                        20        A. Well, I was familiar with the
 21        Q. Okay. Have you looked at it              21   study when it came out, and then with, would
 22    for thimerosal?                                 22   you say, this controversy surrounding how the
 23        A. Not as thimerosal as a, you              23   study was conducted, and then the aftermath
 24    know, derivative of a mercury-containing        24   of that. I was familiar with all that, yes.
 25    compound, no.                                   25        Q. Okay. So you know that there


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  1   were something like 14 studies that initially     1       position.
  2   indicated that thimerosal might induce autism     2   QUESTIONS BY MR. MURDICA:
  3   via vaccination, correct?                         3       Q. Okay. And did you believe at
  4        A. I'm -- I don't know what the              4   the time that thimerosal could cause autism?
  5   count is on that.                                 5       A. Well, I was familiar with the
  6        Q. Okay. But you know that at                6   fact that mercury could produce neurotoxicity
  7   some point there were a whole bunch of            7   and neurodevelopmental toxicity, but I
  8   studies, whatever number, that people -- some     8   wasn't -- specific in regards to thimerosal,
  9   scientists believed indicated that thimerosal     9   I wasn't -- I hadn't drawn any conclusions in
 10   could cause autism, correct?                     10   regard to -- specifically to thimerosal.
 11        A. I'm familiar with of that.               11       Q. Okay. And you know that since
 12        Q. Okay. And at the time you                12   then, it's the unanimous opinion of
 13   hadn't looked at those, right?                   13   scientists that thimerosal does not cause
 14        A. At the time?                             14   autism, correct?
 15        Q. At -- well, when they were only          15       A. I don't know about the
 16   those studies that had some people, some         16   unanimous decision, but I can say it's
 17   scientists, some plaintiffs' lawyers,            17   generally accepted.
 18   believing that thimerosal could induce           18       Q. Okay. And do you accept that,
 19   autism, you hadn't looked at those, right?       19   Dr. Cabrera?
 20        A. I was familiar with the                  20       A. I think that it's still unclear
 21   literature --                                    21   in regards to the effects that mercury can
 22            MR. TRACEY: Objection to the            22   have. And I know people know now that
 23        form.                                       23   they've removed it out of all of the
 24            THE WITNESS: I was familiar             24   vaccines, but there's not going to be any
 25        with the literature supporting that         25   more data on that.

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  1              So it's still open, and I don't        1        Q. Okay. And you realize that
  2    think it'll be ever closed completely.           2   many of the patients that are pregnant that
  3         Q. Do you consider yourself an              3   take acetaminophen have maternal fever and
  4    anti-vaxxer?                                     4   that's why they take it, right? That's one
  5         A. I do not.                                5   of the indications?
  6         Q. Okay. You accept the science             6        A. I think it's a compound
  7    as it comes, right?                              7   question, but one of the indications for
  8         A. I weigh it as I'm trained to             8   acetaminophen is -- taking acetaminophen is
  9    do.                                              9   fever.
 10         Q. Okay. Does maternal fever               10        Q. Right.
 11    cause autism?                                   11            But yet, you haven't done a
 12         A. Maternal fever can also                 12   full study of fever as a causative agent --
 13    increase the risk for autism.                   13   as a causative exposure for autism, correct?
 14         Q. Okay. So you keep saying                14        A. I have a proposal to do that,
 15    "increase the risk," when I say "cause."        15   but we have not --
 16              Here, you're proposing to tell        16        Q. And where is that proposal?
 17    the world that acetaminophen can cause          17        A. On my computer.
 18    autism, correct?                                18        Q. Okay. I mean --
 19         A. Well, I've conducted an                 19        A. I've sent it off once. I'm
 20    analysis consistent with causality for          20   going to be resubmitting that for funding.
 21    acetaminophen. I haven't done the same          21        Q. Okay. And I guess that's what
 22    analysis for fever, but I'm familiar with the   22   I was asking.
 23    literature on fever increasing the risk for     23            So it's a proposal to get
 24    autism, and that can be consistent with a       24   funding to, what, the NIH or something like
 25    causal effect.                                  25   that?


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  1        A. Yeah. So when I was in                   1   environmental exposures outside of the
  2   graduate school, we did increase in maternal     2   context of litigation?
  3   body temperature as another model for neural     3       A. I have not.
  4   tube defects and showed that fever can           4            MR. WATTS: Hey, Jim, we've
  5   produce neural tube defects, and I would like    5       been going about an hour.
  6   to follow up that work with the effect of        6            MR. MURDICA: Yeah.
  7   fever on autism as an outcome.                   7            MR. WATTS: First break?
  8        Q. Okay. In Dr. Cabrera's view,             8            MR. MURDICA: Sure, that's
  9   what else are you -- what other exposures, if    9       fine.
 10   any, are you convinced can cause autism?        10            VIDEOGRAPHER: Off the record,
 11        A. Things that's supported in the          11       10:01.
 12   literature, fever would be one of them, in      12        (Off the record at 10:01 a.m.)
 13   addition to heavy metals such as mercury.       13            VIDEOGRAPHER: The time is
 14   And there's also -- and I'd say that the        14       10:22, back on the record. Beginning
 15   data, at least at this point, is insufficient   15       of Media 2.
 16   but supportive of -- would be small particle,   16   QUESTIONS BY MR. MURDICA:
 17   air pollution particularly, benzopyrene and     17       Q. Okay. Dr. Cabrera, are you
 18   some industrial compounds in that -- in those   18   ready to proceed?
 19   particles.                                      19       A. I am.
 20        Q. Okay. And have you looked at            20       Q. Okay. I'm going to ask you
 21   any of those in the context of litigation?      21   some questions about basics of statistics in
 22        A. I have not. Well, some heavy            22   reviewing some of the articles that are part
 23   metals I have, but not in regards to autism.    23   of your report.
 24        Q. Okay. In regards to autism or           24            Dr. Cabrera, do you believe
 25   ADHD, have you looked at any other              25   that results need to be statistically

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  1   significant to be meaningful?                    1   doesn't include the null typically.
  2       A. Not necessarily.                          2        Q. Okay. And conversely -- so
  3       Q. Okay. Are you part of a group             3   that could be a finding that's significant
  4   supporting abandonment of statistical            4   that shows an effect, right? Because it's
  5   significance in epidemiology?                    5   over 1 in the -- in both ends of the
  6       A. Not abandonment, but just                 6   confidence interval, correct?
  7   clarification inasmuch as when those             7        A. To clarify, you can have an
  8   statistics were introduced, they weren't         8   increase in risk, and that would be greater
  9   introduced for the -- for the kind of line in    9   than 1, or a decrease in risk, and that would
 10   the sand that has been drawn with them. That    10   be less than 1 --
 11   was not their intention when they were          11        Q. Right.
 12   introduced.                                     12        A. -- as far as the point
 13       Q. Okay. In your opinions here,             13   estimate.
 14   in forming a causation opinion, are you         14        Q. And if the confidence interval
 15   relying for causation on any results that did   15   and the point estimate are all less than 1,
 16   not achieve statistical significance?           16   that is a decrease in risk, correct?
 17       A. I'm relying on the totality of           17        A. That can be interpreted as a
 18   evidence, and some of that did not achieve      18   decrease in risk.
 19   statistical significance.                       19        Q. And it could be interpreted as
 20       Q. Okay. And just so we                     20   whatever that exposure is is protective
 21   understand, statistical significance would be   21   against whatever the effect is, correct?
 22   where a result finds an odds ratio or a         22        A. So, yeah. I mean, effectively
 23   relative risk that does not include the null,   23   it's whether you're accepting or rejecting a
 24   correct?                                        24   null hypothesis. In that case, you can say,
 25       A. The confidence interval that             25   you know, we're not accepting, we're


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  1    rejecting.                                      1   be lowered depending on the type of analysis
  2          Q. Right.                                 2   you're doing.
  3              And if an exposure has a point        3        Q. You've seen p-values that come
  4    estimate and a confidence interval that's       4   out to be .00001, right?
  5    entirely under 1, in that study, in that        5        A. Yes, I have.
  6    population, it would be -- it would show a      6        Q. And that would be more
  7    protectiveness of that exposure to the end      7   meaningful to you than .05, wouldn't it?
  8    effect, correct?                                8        A. It's not a more meaningful.
  9          A. A decrease in risk.                    9   It's just in regards to whether we're looking
 10          Q. Okay. Sure.                           10   that as a -- as part of our false discovery,
 11              P-value, what does a p-value         11   or you're not liable to find that as part of
 12    need to be to be meaningful to you,            12   your false discovery.
 13    Dr. Cabrera?                                   13        Q. And as part of false discovery,
 14          A. So p-values generally would be        14   if your p-value is .1, that would be an
 15    set as a -- as a function of whatever          15   increased chance that you made a false
 16    analysis you're doing, preferably before you   16   discovery, correct?
 17    conduct the analysis. And most commonly,       17        A. Yeah, you -- it's correct.
 18    it's the -- the alpha set it to -- it's        18        Q. .1 -- by convention, .1
 19    referred to a 0.05. So it's a 5 percent        19   wouldn't be a very good p-value, right?
 20    false discovery.                               20        A. Passing judgment, if you set
 21          Q. Right.                                21   out in your statistical testing to set it at
 22              That's the statistical               22   something less than 0.05, generally you would
 23    convention that most people use, correct?      23   need to justify that, why you're setting that
 24          A. Depending on the type of              24   at .1, so it would depend on the analysis
 25    analysis you're doing. In some cases it may    25   you're doing.

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  1       Q.      Okay, sure.                          1   came to Baylor on SSRIs.
  2             But that wouldn't -- that              2        Q. Okay.
  3    wouldn't be a result that would be very         3        A. Particularly sertraline.
  4    exciting to you based on statistical            4        Q. I'm sorry?
  5    convention, correct?                            5        A. Particularly sertraline.
  6         A. Depending on the analysis I'm           6        Q. Oh, sertraline.
  7    doing, but generally speaking, particularly     7        A. Yes.
  8    with tests that you haven't run before, you     8        Q. Got it. Got it.
  9    would start out with an alpha of 0.05.          9            And do you recall what the
 10         Q. Okay. I'm going to ask you             10   conclusion was of your research or your
 11    some questions about SSRIs.                    11   paper?
 12             Dr. Cabrera, do you believe           12        A. Yes. We found that it had a
 13    sitting here today that SSRIs cause autism?    13   teratogenic effect. Specifically we found
 14         A. I haven't looked in the                14   clefting in the animals.
 15    literature in regards to the SSRIs and         15        Q. And that was a paper right when
 16    autism.                                        16   you started your work at Baylor?
 17         Q. Do you believe that SSRIs cause        17        A. Yeah, it coincided -- I'm not
 18    ADHD?                                          18   sure if we published that while we were at
 19         A. I haven't looked in the                19   Baylor or while we were at UT, just before we
 20    literature with regards to SSRIs and ADHD.     20   left. I would have to look at specifically
 21         Q. Okay. Did you ever work out --         21   when we published that.
 22    did you ever work on SSRIs at Baylor?          22        Q. Got it.
 23         A. I -- we -- I believe we did            23            In the context of litigation,
 24    publish a paper. I'm not sure if it was        24   have you ever worked on SSRIs?
 25    while we were at Baylor or just before we      25        A. Yes, I have.


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  1        Q. Okay. And when was that?                  1   that SSRIs cause developmental issues?
  2        A. It's on my CV. I don't have               2        A. Yes, I did.
  3   the exact year.                                   3        Q. And what issues did you say
  4        Q. Okay.                                     4   SSRIs caused?
  5        A. It's been several years.                  5        A. At the time the major
  6        Q. Did you draw any conclusions in           6   congenital malformation that was of interest
  7   the context of litigation regarding SSRIs?        7   was congenital heart defects.
  8        A. Yes. We were looking at                   8        Q. In the context of litigation,
  9   outcomes for developmental toxicity and           9   have you evaluated any other exposures and
 10   particularly impacts on congenital               10   developmental outcomes?
 11   malformations.                                   11        A. Can you repeat the question?
 12        Q. Okay. And that was for                   12        Q. Sure. No problem. We had a
 13   litigation, right?                               13   little unexpected phone call there.
 14        A. Yes.                                     14             In the context of litigation,
 15        Q. And was that for lawyers based           15   outside of your regular work --
 16   in Houston?                                      16        A. Uh-huh.
 17        A. In part.                                 17        Q. -- have you evaluated any other
 18        Q. Okay. Was that for Mr. Tracey?           18   exposures and developmental outcomes?
 19        A. In part.                                 19        A. Yes.
 20        Q. And what did you conclude in             20        Q. And what are those?
 21   that litigation? Did you find a relationship     21        A. Largely occupational exposures
 22   between SSRIs and developmental outcomes?        22   and environmental exposures.
 23        A. We did find support for that,            23        Q. Okay. Have you -- have you
 24   yes.                                             24   ever done work in the context of litigation
 25        Q. And did you render an opinion            25   on the drug Paxil?

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  1        A. Yes, I have.                              1       Q. All right. I'll ask you again
  2        Q. And that was also for                     2   in case you remember it.
  3    plaintiffs' lawyers in Houston, correct?         3       A. Yeah. Pozner. Maybe Pozner,
  4        A. That's correct.                           4   Pozner.
  5        Q. Okay. Was your work on Paxil              5       Q. Oh, yes. Reilly -- Reilly
  6    the first work that you did with plaintiffs'     6   Pozner.
  7    lawyers?                                         7       A. Yeah.
  8        A. I believe the first work we did           8       Q. Or Pozner Reilly. Yeah, okay.
  9    was with sertraline.                             9            Dr. Cabrera, do you know if
 10        Q. Okay. And it's all been in               10   your opinion on SSRIs -- you said SSRIs cause
 11    part with the same firm that we're sitting in   11   developmental defects, correct?
 12    now, the Tracey law firm, correct?              12       A. Yes.
 13        A. No, it's not correct.                    13       Q. And was that opinion accepted
 14        Q. Okay. What other firms has it            14   in court?
 15    been with?                                      15       A. As far as --
 16        A. I've also worked with some               16            MR. TRACEY: Objection. Form.
 17    other firms in our area and then also in        17            Go ahead. You can answer,
 18    Colorado as well.                               18       Robert.
 19        Q. Okay. And which firms are                19            THE WITNESS: As far as my
 20    those?                                          20       opinion, it's -- there was --
 21        A. Here, Clark -- Clark Love                21       accepted. I think there was also
 22    Hutson.                                         22       some -- also another expert was
 23        Q. Uh-huh.                                  23       rejected, and so overall, that was not
 24        A. And in Colorado, I would have            24       accepted.
 25    to get the particular firm name. It's --        25


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  1    QUESTIONS BY MR. MURDICA:                       1   QUESTIONS BY MR. MURDICA:
  2         Q. You have an understanding that          2        Q. Have you ever seen the opinion?
  3    you were excluded as -- you were not            3        A. I've read it.
  4    determined to be a qualified expert. You        4        Q. When's the last time you read
  5    were excluded from that litigation, correct?    5   it?
  6         A. I was qualified as an expert,           6        A. It's been several years.
  7    but my understanding is that based on the       7        Q. Okay. We'll take a look at it
  8    exclusion of the epidemiologist, the case       8   later.
  9    didn't move forward.                            9            In Paxil, what opinion did you
 10         Q. Do you know you were excluded          10   render there?
 11    as an expert?                                  11        A. That it could also increase the
 12         A. I think collectively because of        12   risk of adverse outcome in -- with in utero
 13    the exclusion of the epidemiologist, we were   13   exposure.
 14    excluded.                                      14        Q. Okay. So to be clear,
 15         Q. Okay. So you don't deny that           15   plaintiffs' lawyers hired you in Paxil
 16    you were excluded as an expert in SSRI         16   litigation, and you offered an opinion that
 17    litigation, correct?                           17   Paxil could cause developmental defects,
 18              MR. TRACEY: Object to the            18   correct?
 19         form.                                     19        A. That's correct.
 20              THE WITNESS: Yeah. To be             20        Q. Okay. Did you ever testify in
 21         clear, there were some criticisms         21   court on that?
 22         rendered in regards to my opinion, but    22        A. I did not.
 23         my understanding is that the exclusion    23        Q. Do you know if your opinion --
 24         was based on the rejection of the         24   did you ever testify at a deposition about
 25         epidemiologist.                           25   that?

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  1         A. Yes, I did.                             1        Q. Were they on environmental
  2         Q. Okay. Do you have a copy of             2   exposures?
  3    that transcript?                                3        A. And occupational --
  4         A. I do not.                               4   environmental and occupational exposures.
  5         Q. Do you generally -- when you do         5        Q. Okay. And in each of those
  6    work for plaintiffs' lawyers, do you get        6   instances where you gave a deposition, were
  7    copies of the transcripts afterwards?           7   you being paid by the plaintiffs' attorney?
  8         A. Sometimes. Not always.                  8        A. Yes, I was.
  9         Q. Okay. Do you keep them?                 9        Q. And is that the case going back
 10         A. From that long ago, I wouldn't         10   all the way to Paxil, that whenever you've
 11    still have it.                                 11   given a deposition rendering an opinion about
 12         Q. Okay. How about from SSRIs, do         12   an exposure, it has been for a plaintiff's
 13    you have those transcripts?                    13   attorney?
 14         A. I do not think I have any of           14        A. That is correct.
 15    those S -- SSRI transcripts.                   15        Q. And in each of those, when
 16         Q. Okay. When is the last time            16   you've given a deposition being paid by a
 17    you testified at deposition before today?      17   plaintiff's attorney, you've always come to
 18         A. My last depositions were just          18   the conclusion that the exposure caused a
 19    in the last few years. I've given some         19   defect, correct?
 20    depositions.                                   20        A. To be clear, in the cases I
 21         Q. Okay.                                  21   reviewed where I didn't support that opinion,
 22         A. But not on SSRIs.                      22   I haven't been deposed on them.
 23         Q. Were they on -- were they in           23        Q. Well, let me -- let me ask
 24    litigation?                                    24   again because I understand what you're
 25         A. Yes.                                   25   saying, but I want to get a clear answer on


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  1    this one.                                        1       Q. My question was, every time
  2             Every time that you've been             2   that you've been deposed in litigation, it
  3    deposed in litigation, it has been when          3   has been in an instance where you're being
  4    you've been paid by a plaintiff's attorney       4   paid by a plaintiff's attorney and where
  5    and when you've come to the conclusion that      5   you've rendered an opinion that the exposure
  6    the exposure caused the -- a defect in a         6   caused an outcome of a defect in a human
  7    human being, correct?                            7   being, correct?
  8        A. So I've been paid by                      8       A. So -- and I'm just clarifying
  9    plaintiffs' attorneys to offer my opinion.       9   that.
 10    When I found that there wasn't evidence         10       Q. Is that a "yes" or a "no"?
 11    enough, I've never been deposed about that      11       A. Well, my clarification is I
 12    opinion.                                        12   have rendered those opinions, and the ones
 13             Other times, I have been               13   that were at deposition, I was paid by a
 14    deposed, and in those cases, they were          14   plaintiff's attorney.
 15    plaintiff opinions or opinions that I           15            But I've also been asked to
 16    submitted because I was asked to by a           16   render opinions, and when I found that there
 17    plaintiff attorney.                             17   wasn't evidence, then I didn't go to
 18        Q. Do you remember my question?             18   deposition. I wasn't asked to provide a
 19        A. Yes.                                     19   deposition in that regard.
 20        Q. What was it?                             20       Q. Okay. And do you have any
 21        A. You were asking me if I had              21   proof of any kind that you've rendered
 22    ever rendered an opinion asked by plaintiffs'   22   opinions finding a lack of a causal
 23    attorneys to -- if all of the opinions that I   23   connection between an exposure and a -- an
 24    rendered were asked for by plaintiffs'          24   outcome in a human being where you haven't
 25    attorneys.                                      25   gone to deposition?

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  1       A.      Regular conversations --              1       that is, if there is evidence where
  2              MR. TRACEY: Objection to form.         2       you have told lawyers that they don't
  3              THE WITNESS: Regular                   3       have a case, but that is confidential,
  4        conversations I have with -- when I am       4       that exists, but you may not be able
  5        consulting, right.                           5       to disclose it.
  6    QUESTIONS BY MR. MURDICA:                        6            Are you with me?
  7        Q. There's nothing you can show me           7            THE WITNESS: Yes, and that's
  8    or the Court here that that's ever actually      8       what I've conveyed. I can't disclose
  9    happened, right?                                 9       that.
 10        A. Well, it's confidential, so I            10   QUESTIONS BY MR. MURDICA:
 11    can't -- I can't --                             11       Q. Okay. And I'm just saying,
 12              MR. TRACEY: Yeah, Robert. Be          12   there's nothing you can disclose to show that
 13        careful about confidentiality, Robert.      13   you've ever rendered an opinion other than
 14    QUESTIONS BY MR. MURDICA:                       14   the exposure caused the defect for a
 15        Q. Yeah. I just want to be clear            15   plaintiff's attorney, correct?
 16    for the record, for the Court, because that's   16            MR. TRACEY: Well, no, object
 17    who's ultimately going to read this.            17       to the form. It's other than
 18              Sitting here today, there's           18       confidential information.
 19    nothing you could show the Court to verify      19            MR. MURDICA: Okay. I will ask
 20    what you just said about ever opining other     20       it again, Mr. Tracey.
 21    than the exposure caused the defect, correct?   21   QUESTIONS BY MR. MURDICA:
 22              MR. TRACEY: So, Robert, hold          22       Q. Is it your testimony that you
 23        on. I want you to be careful about          23   have confidential information that you would
 24        that question, because if there exists      24   be able to show if it wasn't confidential and
 25        evidence that satisfies that question,      25   that we may be able to get a Court to protect


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  1   or maybe you could provide to the Court           1   it?
  2   directly to show that you've ever rendered an     2       A. I have not. I consult
  3   opinion for a plaintiff's attorney other than     3   independently for that.
  4   one that supported their theory that an           4       Q. Okay. Do you know if Baylor or
  5   exposure caused an outcome in a human being?      5   UT have a policy about work outside of the
  6       A. Yes, I have. I provided that               6   universities?
  7   opinion confidentially before.                    7       A. I'm required to file conflict
  8       Q. Okay. And you have proof of                8   of interest.
  9   that. You -- it's just -- you just can't          9       Q. Okay. And you did so here, I
 10   show it to us because it's confidential,         10   assume?
 11   correct?                                         11       A. I've filed a conflict of
 12       A. I could produce proof of that,            12   interest with my company.
 13   but it's confidential.                           13       Q. What does that mean, with your
 14       Q. Okay. For the stuff that we               14   company?
 15   are able to discover and that the Court can      15       A. So my -- I file a conflict of
 16   see, you've always sided with the plaintiff      16   interest under my company with Baylor.
 17   when it comes to an exposure and an adverse      17       Q. Okay. So Baylor does know that
 18   outcome in a human being in litigation,          18   you are testifying against the entire
 19   correct?                                         19   industry of manufacturers of acetaminophen,
 20       A. To be clear, I've only been               20   correct?
 21   asked by plaintiffs' attorneys to render         21       A. Baylor knows that I work for a
 22   opinions in the past.                            22   consulting company --
 23       Q. Okay. And when you do that                23            MR. TRACEY: Object to form.
 24   kind of work for plaintiffs' attorneys, do       24            THE WITNESS: -- that is
 25   you seek the permission of UT or Baylor to do    25       working in litigation, not the

                                        Page 107                                             Page 108
  1        specific cases.                              1       A. I have had some Zoom
  2    QUESTIONS BY MR. MURDICA:                        2   interactions with other experts in this
  3        Q. So they don't know your actual            3   regard, but not with any other scientists
  4    opinion here, correct?                           4   in the literature.
  5        A. They do not.                              5       Q. Okay. And by other experts,
  6        Q. Okay. Have you shared your                6   you mean other hired experts by plaintiffs?
  7    opinion here with anyone other than the          7       A. That's correct.
  8    plaintiffs' attorneys and anyone that they've    8       Q. Okay. Outside of hired experts
  9    given your reports to?                           9   by plaintiffs, have you discussed your
 10        A. Yes, I have.                             10   opinions that we're -- that we're talking
 11        Q. Who is that?                             11   about today with any other scientist outside
 12        A. My laboratory.                           12   of your lab or outside of hired experts?
 13        Q. Okay. Outside of your                    13       A. And outside of personal?
 14    laboratory, have you shared it with anyone      14       Q. Right.
 15    else?                                           15       A. I have not.
 16        A. My wife.                                 16       Q. Okay. Have you contacted any
 17        Q. Okay. Outside of a personal              17   regulatory authorities or Teratology Society
 18    relationship, have you shared it with anyone    18   or Maternal-Fetal Medicine or American
 19    else?                                           19   College of Obstetricians about your opinions?
 20        A. Outside of my laboratory and             20       A. I've spoke with an obstetrician
 21    personal relationships, I have not.             21   in our laboratory, but outside of that, no.
 22        Q. You haven't, for example,                22       Q. Do you think it's important
 23    contacted any of the scientists involved in     23   that maternal fever is treated during
 24    the studies that are contained in your          24   pregnancy?
 25    report, have you?                               25       A. It is important.


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  1         Q. Okay. Why is it important?             1       A. -- anyone to have a fever or
  2         A. Because fevers have adverse            2   too high of a fever or particularly for
  3    outcomes during pregnancy if they're not       3   pregnant women to have a high fever for a
  4    controlled.                                    4   prolonged period of time is dangerous --
  5         Q. Do they have adverse outcomes          5       Q. What --
  6    for the fetus?                                 6       A. -- for the mother and the fetus
  7         A. Yes, they can.                         7   or the embryo.
  8         Q. And what adverse outcomes can          8       Q. What other
  9    those be?                                      9   antipyretics would -- what could treat fever
 10         A. Fevers can increase risk for          10   in a pregnant woman that's available on the
 11    congenital malformations specifically. It's   11   market right now?
 12    been widely published in the literature and   12       A. It depends on when the
 13    also supported in animal models.              13   medication is taken. There are different
 14         Q. And I think you testified             14   contraindications for other antipyretics.
 15    earlier that fevers can cause autism,         15       Q. Okay. How about opioids, do
 16    correct?                                      16   you think women should treat fever with
 17         A. That is correct.                      17   opioids?
 18         Q. And fevers can cause ADHD?            18       A. I don't think opioids would be
 19         A. There are studies that support        19   a good way to treat fevers.
 20    that, yes.                                    20       Q. Why not?
 21         Q. Okay. And you don't dispute           21       A. Well, one, they're known to be
 22    it, do you?                                   22   addictive. That's a potential problem with
 23         A. I'm not disputing that fevers         23   an opioid use, particularly with a pregnant
 24    are dangerous, particularly for --            24   mother.
 25         Q. Okay.                                 25       Q. Okay. When you just testified

                                      Page 111                                            Page 112
  1    a minute ago about talking to the other        1       A. I brought a rebuttal report. I
  2    plaintiffs' experts in this litigation, I      2   do have my rebuttal report.
  3    have a couple of questions about that.         3       Q. You have your rebuttal report?
  4              When was the last time --            4       A. Yes.
  5              MR. TRACEY: Wait. Wait.              5       Q. Well, I'll mark a copy so you
  6        Wait. Wait.                                6   can go with an exhibit copy.
  7              Jim, I thought we had an             7             Dr. Cabrera, you now have in
  8        agreement that we weren't going to         8   front of you Exhibit 2, which is titled your
  9        talk about that.                           9   rebuttal report.
 10              MR. MURDICA: About experts          10             Do you see it?
 11        talking to experts? I'll look at our      11       A. Yes, I do.
 12        agreement. I thought it was about         12       Q. Does that look like your
 13        lawyers.                                  13   rebuttal report?
 14              MR. TRACEY: I thought it was        14       A. It does.
 15        any communication -- well, so, I was      15       Q. Okay. Is this the last report
 16        there, so it's kind of hard to tease      16   in writing that you've rendered with regard
 17        it out.                                   17   to this litigation?
 18              MR. MURDICA: All right.             18       A. Yes, it is.
 19        I'll think about that and move on.        19       Q. Okay. Right as we started the
 20              MR. TRACEY: Okay. Okay.             20   deposition today, your counsel handed me a
 21              (Cabrera Exhibit 2 marked for       21   stack of articles.
 22        identification.)                          22             Were those provided by you?
 23    QUESTIONS BY MR. MURDICA:                     23       A. Yes, they were.
 24        Q. Okay. Can I have the rebuttal          24       Q. Okay. And those were since the
 25    report? Or did you bring your reports?        25   rebuttal report, correct?


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  1        A. Yes.                                      1        Q. Okay. Are they referenced in
  2        Q. Okay. And that you first                  2   your rebuttal report or your other report?
  3    reviewed them since the rebuttal report?         3        A. They're references in regard to
  4        A. Concurrently. I hadn't                    4   some of the other expert's opinion that were
  5    included them in the rebuttal report when I      5   provided that I hadn't had a chance to
  6    was reading through the literature, and I        6   include in my report.
  7    believe one of your criteria was that I          7        Q. Okay. So if we looked in your
  8    provide all the information that I had           8   reports, we wouldn't see the citations to the
  9    reviewed in my opinion, but they aren't          9   new articles that were handed to me this
 10    specifically referenced, but I was provided.    10   morning, correct?
 11        Q. Okay. Some of the studies are            11        A. I do not think you would see
 12    not -- one of the studies is from this week,    12   them, no.
 13    right?                                          13        Q. Okay. And your testimony is
 14        A. Yes.                                     14   that you wanted to make sure we had
 15        Q. Okay. But the rest of them are           15   everything you ever looked at, even if you
 16    from 30, 20, 15 years ago, correct?             16   didn't reference it, correct?
 17        A. They vary, yes.                          17        A. Well, because I was looking at
 18        Q. There's no reason you couldn't           18   it in response to the expert reports that
 19    have found those before your rebuttal report,   19   were provided to me that are appropriate,
 20    correct?                                        20   that I provide all of the reports that I did
 21        A. Oh, it wasn't a matter of                21   look at.
 22    finding them. I had found them. They were       22        Q. Okay. So now we can be
 23    just still open on my browser, and I felt it    23   comfortable that we -- between your reliance
 24    appropriate that I send them all to counsel     24   list and everything I was handed this
 25    because I had reviewed them.                    25   morning, we have everything you looked at,

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  1    considered in rendering this, correct?           1
  2        A. Well, I looked at some other              2   QUESTIONS BY MR. MURDICA:
  3    stuff last night as well, but --                 3       Q. Anything else, Doctor? Oh, you
  4        Q. Okay. What did you look at                4   have a whole stack?
  5    last night?                                      5       A. No, just this. Just these two.
  6        A. A couple of studies that                  6       Q. And the paper on oxidative
  7    were -- I did print them out, but I haven't      7   stress from 2019 by an author called Moore.
  8    sent them for counsel yet.                       8            Okay. With those two papers,
  9        Q. Okay. Do you have those with              9   Dr. Cabrera, can we be satisfied that we have
 10    you?                                            10   everything you relied on up to this point
 11        A. I do.                                    11   today?
 12        Q. All right. Can I have them,              12       A. I think so, yes.
 13    please?                                         13       Q. Okay.
 14             MR. TRACEY: Can we, excuse me,         14            All right. Is there anything
 15        identify them on the record?                15   about Exhibit 2, your supplement report --
 16             MR. MURDICA: Yeah, I'll                16   supplemental report, that you don't stand by,
 17        identify them.                              17   that you need to change, that you need to
 18             MR. TRACEY: Okay.                      18   revise, that you need to withdraw, sitting
 19              MR. MURDICA: Dr. Cabrera just         19   here right now?
 20        handed me a paper from 2015 called          20       A. No.
 21        Biochimica et Biophysica Acta. That's       21       Q. Okay. All right. If you turn
 22        the journal article. "Glutathione           22   to the last page of Exhibit 2, that's your
 23        during embryonic development."              23   signature, right?
 24             We'll get copies and mark them         24       A. Yes.
 25        later.                                      25       Q. This is your report?


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  1        A. Yes, it is.                               1   acetaminophen toxicity. And you say that on
  2        Q. Okay. So first thing I want to            2   page 5, correct?
  3    ask you about is on page 5.                      3       A. Just to be clear, I do report
  4             In your supplemental report,            4   that on a multicenter study that was based on
  5    for the first time you list genes that you       5   murine hepatotoxicity that they looked at
  6    say, quote, "interact with acetaminophen."       6   this interaction.
  7             Correct?                                7       Q. I'm looking at the sentence
  8        A. That's correct.                           8   "CIC" --
  9        Q. Okay. And you start talking               9            Which is capicua, right?
 10    about catechol-O-methyltransferase, right?      10       A. Yes.
 11        A. That is listed there, yes.               11       Q. -- "was reported to interact
 12        Q. And I'm going to butcher the             12   with acetaminophen in a multicenter study of
 13    pronunciation because I don't know this one.    13   acetaminophen toxicity."
 14    Capicua?                                        14            Right?
 15        A. Capicua.                                 15       A. That's correct.
 16        Q. Capicua?                                 16       Q. And then you cite Beyer.
 17        A. Yes.                                     17       A. Yes.
 18        Q. And capicua is something that            18       Q. Okay. Can we mark this,
 19    you've studied in at least one study in your    19   please?
 20    lab, or that Finnell has in his lab, correct?   20            (Cabrera Exhibit 3 marked for
 21        A. Yes, it's one thing we've                21       identification.)
 22    studied in the group.                           22   QUESTIONS BY MR. MURDICA:
 23        Q. And you say here in your                 23       Q. Okay. Dr. Cabrera, I marked as
 24    supplemental report that capicua interacts      24   Exhibit 3 is -- well, you tell me what it is.
 25    with acetaminophen in a study of                25       A. This is a report by first

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  1   author Beyer titled "Multicenter study of         1      Q.     Something like that?
  2   acetaminophen hepatotoxicity reveals the          2            And this is about -- this
  3   importance of biological endpoints in genomic     3   Exhibit 3 is about hepatotoxicity, which is
  4   analysis."                                        4   liver, correct?
  5       Q. Okay. And is this what you                 5       A. It is about hepatotoxicity,
  6   cited as footnote 15?                             6   which I do indicate in the report.
  7       A. Yes.                                       7       Q. And this capicua is not
  8       Q. Okay. Could you show me where              8   mentioned in your initial or amended reports,
  9   in this exhibit it says that capicua              9   only in your rebuttal report, correct?
 10   interacts with acetaminophen?                    10       A. That is correct.
 11       A. I think it's actually in the              11       Q. How many other genes, if you
 12   data, in the dataset.                            12   remember, were mentioned in that -- in the
 13       Q. Okay. And where is the                    13   data supplement to this article?
 14   dataset?                                         14       A. I would have to go through and
 15       A. Online. It's in the dataset               15   count them, but several.
 16   here.                                            16       Q. Several or a lot?
 17       Q. Okay. If we look in the                   17       A. Several other genes. I don't
 18   article, it won't say it anywhere, right?        18   know -- what is a lot?
 19       A. No, it's actually in the data.            19       Q. Well, hundreds? Tens?
 20       Q. Okay. When is the last time               20       A. Not hundreds.
 21   you looked at the data?                          21       Q. Okay.
 22       A. When I wrote the report.                  22       A. They're -- in regards to gene
 23       Q. Okay. So three weeks ago, a               23   interactions, I did report that there were
 24   month ago?                                       24   273 genes that were reported to interact with
 25       A. Yes.                                      25   acetaminophen in ASD, and that's from the


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  1    database, which I previously cited in my         1        Q. OMIM?
  2    first report.                                    2        A. Yes, referred to as OMIM.
  3         Q. Right.                                   3        Q. How about SFARI?
  4              Okay. Let's talk about that            4        A. As far as autism genes, it's a
  5    database.                                        5   database that's also used.
  6              Who hosts that database?               6        Q. SFARI is?
  7         A. I'd have to look back. Maybe             7        A. Yes.
  8    in North Carolina, or one of the Carolinas.      8        Q. Right.
  9    I'll have to look back specifically at the       9            Okay. How about ClinGen?
 10    study.                                          10        A. It is another database that's
 11         Q. Right.                                  11   used, yes.
 12              And what databases are                12        Q. Okay. This one that you cite
 13    available, other than that database, if you     13   is not one that's commonly used, correct?
 14    want to do this type of research on genes and   14        A. This is a database for
 15    interactions?                                   15   archiving molecular interactions, where those
 16         A. There are numerous databases            16   are more specific to genetics and the
 17    for looking at these types of interactions.     17   presentation of various gene pathologies.
 18         Q. Okay. What databases do                 18        Q. Okay. And when you went --
 19    geneticists generally rely on?                  19   when is the last time you went into this
 20         A. Typically, most geneticists,            20   database? Was it when you did this rebuttal
 21    and what I teach the geneticists because I      21   report?
 22    also cover this in my lectures for genetic      22        A. That is correct.
 23    counselors, is the use of, like, the Online     23        Q. Okay. Well, I'll ask you if
 24    Mendelian Inheritance in Man. And not a         24   you remember; but if not, we'll take a look
 25    specific endorsement, but that would be one.    25   at it.

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  1             Do you know what the criteria           1   particular studies using expression data. So
  2    is for a gene to become part of these 273        2   a lot of it do come from individual studies.
  3    genes that you report interact with              3        Q. Okay. And did you look at
  4    acetaminophen?                                   4   the -- did you know that, that
  5        A. They're -- if they're listed as           5   200-and-something of the 273 all come from
  6    changing an expression in the database or        6   one study?
  7    physically interacting -- there are different    7        A. I was aware of that.
  8    criteria in the database that are identified,    8        Q. Okay. And did you look at that
  9    and you can specify what criteria you want to    9   study?
 10    use.                                            10        A. I did.
 11        Q. It's changing any expression,            11        Q. Okay. And did you see
 12    right, at all?                                  12   acetaminophen in that study?
 13        A. You can select whether it's up           13        A. Might have to go back and look
 14    or down or an interaction.                      14   at it specifically and what the different
 15        Q. And when you get to the page             15   exposures were.
 16    where the 273 genes are listed, there's a       16        Q. Okay. Is it your understanding
 17    link where you can look at the backup for       17   that that study that included more than 200
 18    that, right?                                    18   genes that are attributed here connected
 19        A. Yes, you can.                            19   acetaminophen and autism with those genes?
 20        Q. Did you do that?                         20        A. The -- this is a data risk
 21        A. Yes, I did.                              21   report in regards to those that were
 22        Q. Okay. Did you see that one of            22   associated with ASD and acetaminophen
 23    the 273, the vast majority of them, were in     23   exposure. So that is consistent with what I
 24    one study, one paper?                           24   found in the database.
 25        A. Generally, they derive from              25            MR. MURDICA: We'll mark this


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  1         as Exhibit 4, please.                      1            Yeah, so this describes the
  2             (Cabrera Exhibit 4 marked for          2   methodology that I used. It doesn't
  3         identification.)                           3   specifically indicate acetaminophen.
  4   QUESTIONS BY MR. MURDICA:                        4       Q. But your rebuttal report says
  5         Q. Dr. Cabrera, you have in front          5   acetaminophen?
  6   of you Exhibit 4, which is an article by         6       A. Yes, because I used
  7   Santos.                                          7   acetaminophen and applied the methodology in
  8             Now, if you recall, this is the        8   this paper.
  9   one that's attributed -- to which is             9       Q. If we look through Exhibit 4
 10   attributed more than 200 of those genes. If     10   and all the supplemental materials, we'll
 11   you need me -- if you don't remember that it    11   never see a mention of the word
 12   was Santos, I can show you how we got there.    12   "acetaminophen." We'll never see the drug,
 13         A. I reference Santos in my --            13   the compound, correct?
 14         Q. Okay.                                  14       A. As I indicated, I used the
 15         A. -- in my report.                       15   methodology in this paper and put
 16         Q. Okay. So if you take a look at         16   acetaminophen into the database and used the
 17   this, could you show us where the               17   methodology that's described in this paper.
 18   acetaminophen reference is here?                18       Q. You signed your name to a
 19             And did you actually look at          19   report that says 273 genes are reported to
 20   the -- did you pull this paper and look at      20   interact with acetaminophen and ASD, correct?
 21   it --                                           21       A. In the Comparative
 22         A. Yes, I have.                           22   Toxicogenomics Database, yes.
 23         Q. -- when you did your rebuttal          23       Q. Okay. And the backup for that,
 24   report?                                         24   in that database, doesn't say the word
 25         A. Yes, I have.                           25   "acetaminophen," correct?

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  1       A. The database does say                     1        A. That is correct.
  2   acetaminophen. If you query acetaminophen, I     2        Q. Okay. And in the database, you
  3   believe the second hit to come up is autism.     3   see it says 273 genes, and then there's a
  4       Q. And, Dr. Cabrera, my question             4   little plus sign?
  5   is different.                                    5        A. I do see that, yes.
  6            The backup for that 273, when           6        Q. Okay. Did you click on that
  7   you -- in the database is this paper, right?     7   when you were in the database?
  8       A. It's not only this paper.                 8        A. Yes, I did.
  9            (Cabrera Exhibit 5 marked for           9        Q. Okay. And that's how you got
 10       identification.)                            10   to Santos, right?
 11   QUESTIONS BY MR. MURDICA:                       11        A. No. If you click on the
 12       Q. Well, let's take a look. Can             12   references, which is two over, it indicates
 13   we mark that as Exhibit 5, please?              13   there are 35 references supporting those 273
 14            Dr. Cabrera, you now have in           14   genes. And so if you click on those 273, you
 15   front of you what's been marked as Exhibit 5.   15   should see 35 references listed.
 16            Do you have that in front of           16             MR. MURDICA: Can we mark this
 17   you?                                            17        as Exhibit 6, please?
 18       A. Yes, I do.                               18             (Cabrera Exhibit 6 marked for
 19       Q. Okay. Does this look like the            19        identification.)
 20   database that you queried online?               20   QUESTIONS BY MR. MURDICA:
 21       A. It is a printout from the                21        Q. Okay. Dr. Cabrera, you now
 22   database.                                       22   have in front of you what's been marked as
 23       Q. Okay. And the second line is             23   Exhibit 6.
 24   what you were talking about in this rebuttal    24             Do you recognize this?
 25   report, correct?                                25        A. Yes, I do.


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  1       Q. Okay. Is this what you would              1   far as you know, correct?
  2   see if you click the link?                       2        A. As I indicated, it indicates
  3       A. Yes, it is.                               3   that they've studied 397 gene environment
  4       Q. Okay. The first reference is              4   interactions. And the database indicates
  5   Santos, correct?                                 5   that it's inferred and, therein, one of those
  6       A. Yes, it is.                               6   gene interactions would be acetaminophen.
  7       Q. Santos is the reference for 219           7        Q. Okay. Was this page of the
  8   of the 273 genes you're saying interact with     8   database peer reviewed, to your knowledge?
  9   acetaminophen in ASD, correct?                   9        A. Not that I'm aware.
 10       A. That is correct.                         10        Q. And you have no proof, other
 11       Q. So 219 of the 273, we looked at          11   than it says it's inferred in this database,
 12   the article, has absolutely nothing to do       12   that Santos actually stands for anything to
 13   with acetaminophen in the words on the page,    13   do with acetaminophen, correct?
 14   correct?                                        14        A. Well, as I -- as I sit here not
 15       A. To be clear, it indicates                15   in front of the database, and I can't pull up
 16   xenobiotics, and it doesn't list all of the     16   the Santos data to show you, I would simply
 17   xenobiotics it analyzed in that publication.    17   say there are 397 gene environmental
 18       Q. Dr. Cabrera, Santos represents           18   interaction pairs that they looked at in
 19   219 of the 273 gene interactions you're         19   Santos, and they don't list all 397 of them
 20   relying on in this statement in your rebuttal   20   in the report.
 21   report, correct?                                21        Q. Right.
 22       A. It does.                                 22              And, Dr. Cabrera, did you look
 23       Q. Okay. And Santos does not                23   at any of these other on Exhibit 6 here?
 24   contain the word "acetaminophen" anywhere in    24        A. Yes, I did.
 25   the paper or the supplemental materials as      25        Q. You did? Okay.

                                       Page 131                                             Page 132
  1            And did you find any that               1             None of them say
  2    actually had the word "acetaminophen" in        2   "acetaminophen" in the data or the
  3    them?                                           3   supplements.
  4        A. Yes, I did.                              4             Do you disagree with that?
  5        Q. Okay. Do you know which ones?            5        A. G says "acetaminophen," and
  6    Well, let's -- how about we try the second      6   that I've reviewed that study previously, and
  7    one?                                            7   it says "acetaminophen" specifically in that
  8        A. Yes.                                     8   title and provides dose-responsive evidence
  9        Q. Have you looked at the second            9   of interactions with ADHD and ASD.
 10    one, Doan, D-o-a-n?                            10        Q. G is one of the human studies
 11        A. Well, all of them indicate,             11   that we're going to -- well, it's the cord
 12    inferred, except for 3, which is G, and G      12   blood study we're going to be looking at
 13    indicates it's not an inferred. That's a       13   that's throughout your report, correct?
 14    mechanistic interaction.                       14        A. Yes, it is.
 15        Q. Okay. So if we look at                  15        Q. Okay. The others, every other
 16    everything except reference 3, we're not       16   one of these, did you pull them?
 17    going to find any reference to acetaminophen   17        A. I did look at them.
 18    in the publications, correct?                  18        Q. Okay. And you never saw the
 19        A. We'd have to look at them               19   word "acetaminophen" in any of them, correct?
 20    individually, but the -- but the inferred      20        A. Yeah, there -- they -- it's
 21    versus the mechanistic interactions are --     21   based on genetic interactions. That is,
 22    typically it's based on database analysis of   22   genes that have been associated with ASD that
 23    those interactions.                            23   have been associated with exposures.
 24        Q. I mean, I have them all. We             24        Q. Right.
 25    can look at them all.                          25             But those papers don't actually


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  1   stand for that proposition that the genes         1        Q. It's reference 2 on the exhibit
  2   have been associated with acetaminophen and       2   in front of you.
  3   ADHD in the words that are on the page,           3        A. Oh, I see, yes.
  4   correct?                                          4        Q. Do you agree?
  5       A. We would have to look at them              5        A. Yes.
  6   individually. That being said, the database       6        Q. Okay. And this is -- you're
  7   indicates that there's -- they're inferred        7   counting this as six genes that, according to
  8   interactions based on a gene in a given study     8   you in your supplemental -- in your rebuttal
  9   or based on a number of genes depending on        9   report, are genes that interact with
 10   the study.                                       10   acetaminophen in ASD, right?
 11            (Cabrera Exhibit 7 marked for           11        A. To be clear, that's from the
 12       identification.)                             12   database that there's -- it's inferred that
 13   QUESTIONS BY MR. MURDICA:                        13   these six genes interact with acetaminophen.
 14       Q. Well, let's look at another one           14        Q. You're relying on the database
 15   just so you feel comfortable that I'm            15   that the database has it right, correct?
 16   representing it correctly to you. You have       16        A. I am.
 17   in front of you what's been marked as            17        Q. Okay. Take the time if you
 18   Exhibit 7.                                       18   want to look through there. You're not going
 19            Do you see that, Dr. Cabrera?           19   to find acetaminophen, but when you're
 20       A. Yes, I do.                                20   comfortable that you can't find it, you let
 21       Q. This is what is reference 2 on            21   us know.
 22   Exhibit 6, which is the reliance list for        22        A. Okay. My reading of this is
 23   your 273 genes, correct?                         23   that the genes that we reported in this
 24       A. And what reference study is               24   genome-wide association study are also genes
 25   this?                                            25   that have been reported to be changed in

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  1    expression with acetaminophen.                   1   expression data shows that there's changes in
  2        Q. Okay. And it says that in                 2   genes, and those same genes are in this study
  3    there?                                           3   where there's an increased risk for autism.
  4        A. It doesn't mention                        4       Q. And that's a supposition,
  5    acetaminophen specifically, but in another       5   right? You didn't go and look at every gene
  6    part of the database, you can look at the        6   in the database, did you?
  7    specific gene interactions that are reported     7       A. I did not check all 273 genes.
  8    that you don't -- you didn't present before      8       Q. You're relying on --
  9    me.                                              9       A. I did look at them all, and I
 10        Q. And it's not -- so you're                10   did -- didn't do analysis on them, all of
 11    saying it's not cited in the article, but       11   them, but I -- you know, as I -- as I say
 12    somehow that article still stands for the       12   here, I couldn't -- I don't have the list in
 13    proposition about acetaminophen?                13   front of me.
 14        A. So the genes that are in this            14       Q. Okay. Did you look at the
 15    article --                                      15   methodology of how the database infers that
 16        Q. Yeah.                                    16   genes are related to something?
 17        A. -- are genes that are -- have            17       A. Yes, just how I described here.
 18    changes in regulations in response to           18       Q. You looked at their stated
 19    acetaminophen, and the genes that are           19   methodology on their -- in the database?
 20    reported in this article are associated with    20       A. Yes.
 21    autism.                                         21       Q. There's a page that says it,
 22        Q. Okay. And the information                22   right?
 23    about their interaction with acetaminophen is   23       A. Yes, there is.
 24    not coming from that article, correct?          24       Q. And what it essentially does is
 25        A. It's not, so that's -- the               25   it combs the literature for any one of


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  1   200 words it -- that in any way correlate,       1   I believe, you criticized -- most of it is
  2   relate, associate, any gene to any compound,     2   spent criticizing the analysis of Dr. Chung,
  3   exposure or outcome in any way, just in words    3   correct?
  4   in the English language, correct?                4       A. That is correct.
  5       A. That is the query, but you can            5       Q. And you understand Dr. Chung
  6   also then query further and look for specific    6   has offered an opinion here that for ASD and
  7   interactions. So if you want to look at          7   ADHD, the predominant cause in any human
  8   genes that went up, you can actually look for    8   being is genetics, correct?
  9   genes that went up.                              9       A. That's my understanding.
 10            If you want to look for genes          10       Q. And you, Dr. Cabrera, disagree
 11   that went down, you can look for specifically   11   with that, right?
 12   genes that went down.                           12       A. The principles of teratology
 13            If you want to look for                13   indicate that it's genes and environment,
 14   physical interactions, mechanistic              14   that any exposure that can produce an outcome
 15   interactions, you can also look at              15   can be modified by the genotype or the
 16   mechanistic interactions.                       16   background of that exposure.
 17            Each one of those is an option         17       Q. There are human beings with
 18   for the database.                               18   autism and ADHD that have those conditions
 19       Q. This query that resulted in              19   100 percent because of a genetic mutation,
 20   273, however, was what I described; it was      20   correct?
 21   not a more specific inquiry, correct?           21       A. They're all -- there are some
 22       A. Yes, it was the general                  22   genes that are what is referred to as
 23   analysis of interactions.                       23   necessary and sufficient to cause autism or
 24       Q. Okay. Now, throughout this               24   autism behaviors in people with those
 25   rebuttal report that we marked as Exhibit 2,    25   mutations, that it's part of the different

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  1   types of genes that interact.                    1   genetic, correct?
  2            As I mentioned earlier, it's            2       A. There -- it's been shown that
  3   oligogenic, some genes that are necessary and    3   they're -- they have a stronger genetic
  4   sufficient in themselves to cause autism, and    4   interaction or a stronger likelihood of being
  5   there's also the polygenic and those that can    5   caused by genetics.
  6   modify risk with interactions between            6       Q. And did you look at Dr. Chung's
  7   gene-gene interactions and gene-environment      7   qualifications prior to criticizing her in
  8   interactions.                                    8   your rebuttal report?
  9        Q. And, in fact, in your -- in              9       A. Yes, I did.
 10   Exhibit 2, your rebuttal report, you            10       Q. Okay. And you don't have any
 11   criticize Dr. Chung in that you say she         11   of the qualifications that she has, correct?
 12   relies on -- primarily on the most severe       12       A. I don't have her same
 13   versions of autism and ADHD in her data,        13   qualifications.
 14   correct?                                        14       Q. Right.
 15        A. To be clear, I was pointing out         15            No board certifications in
 16   the exclusion of literature in regards to a     16   genetics, correct?
 17   clinical diagnosis of autism based on the       17       A. I'm not boarded in genetics.
 18   current guidelines as opposed to some other     18       Q. Okay. Right.
 19   measures of parameters consistent with autism   19            None of the degrees or
 20   or consistent with ADHD, that excluding those   20   accomplishments that she has publicly in
 21   is one way to strengthen a genetic              21   genetics are held by Dr. Cabrera, correct?
 22   interaction.                                    22       A. I don't have the same accolades
 23        Q. And the implication, is it not,         23   as her, if you will.
 24   is that you think the more severe versions of   24       Q. Okay. And you do know that
 25   autism and ASD are -- autism and ADHD are       25   Dr. Chung's opinions that she's rendered here


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  1   are consistent with all of the medical           1        comment.
  2   organizations that have looked at this,          2    QUESTIONS BY MR. MURDICA:
  3   correct?                                         3        Q. Sure.
  4       A. I disagree --                             4            How about -- well, let's talk
  5            MR. TRACEY: Objection to form.          5    about in your field.
  6            THE WITNESS: -- inasmuch as             6            Did you see what OTIS said
  7       Dr. -- Dr. Chung's opinions aren't           7    about this?
  8       consistent with Dr. Chung inasmuch as        8        A. I have, yes.
  9       her own presentations and her work           9        Q. They disagree with you,
 10       outside of defense work.                    10    correct?
 11   QUESTIONS BY MR. MURDICA:                       11        A. Apparently.
 12       Q. I know you -- I know you --              12        Q. Not apparently, they do,
 13   well, I'm not going to argue with you about     13    correct? You've seen it?
 14   that.                                           14        A. I've seen it.
 15            Have you seen what the medical         15        Q. Yeah.
 16   organizations have said about acetaminophen     16            And it's not just -- OTIS is
 17   and whether or not they relate to autism and    17    more than one person, correct?
 18   ADHD?                                           18        A. It's a group.
 19            MR. TRACEY: Objection. Form.           19        Q. It's a group, and the whole
 20            THE WITNESS: Collectively, my          20    group disagrees with you, correct?
 21       understanding is they're still under        21        A. I don't know that the whole
 22       review by the FDA.                          22    group does. I didn't --
 23            Outside of that, I'm -- you            23        Q. Well, as a group --
 24       know, unless you're speaking to a           24        A. I can't -- I can't say that.
 25       specific medical organization, I can't      25        Q. As a group, they disagree with

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  1   you, correct?                                    1       A. Yes, I have.
  2        A. OTIS did put out a position              2       Q. Aren't those more recent than
  3   piece, and I don't know that it was OTIS in      3   2015?
  4   its entirety, but OTIS did put out a position    4       A. Oh, yes.
  5   piece to that effect.                            5       Q. They're as recent as 2022,
  6        Q. And what does OTIS stand for?            6   correct?
  7        A. It's the --                              7       A. Yes.
  8        Q. Is the "T" teratology?                   8       Q. And the conclusion that they
  9        A. Yes, Obstetrics, Teratology              9   have and the reason why nothing has changed
 10   Information Society {sic}, I believe.           10   with respect to acetaminophen is because they
 11        Q. Okay. MotherToBaby?                     11   disagree with you, correct?
 12        A. It's part of it.                        12            MR. TRACEY: Object to form.
 13        Q. Okay. And FDA disagrees with            13       This is not a re -- {inaudible} --
 14   you, correct?                                   14       deposition.
 15        A. My understanding is FDA is              15            THE WITNESS: Yeah. I don't
 16   still reviewing the information.                16       agree with that. I think it's still
 17        Q. Well, have you looked at what           17       under review at the FDA. That's my
 18   they've said?                                   18       understanding.
 19        A. Recently as -- 2015 was the             19   QUESTIONS BY MR. MURDICA:
 20   recent opinions that they offered, but that     20       Q. Okay. They have not come to
 21   was -- there's been quite a bit of data since   21   the conclusions, publicly or privately, as
 22   then.                                           22   far as we know, based on the documents you
 23        Q. Okay. Dr. Cabrera, didn't you           23   reviewed that you have, correct?
 24   look at documents produced by the FDA in the    24       A. I have not seen --
 25   litigation?                                     25            MR. TRACEY: Object -- object


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  1       to the form.                                 1            Okay. So you know they
  2            THE WITNESS: Yeah, I have not           2   disagree with your position here as well,
  3       seen that -- a public opinion that has       3   right?
  4       changed since the 2015 statement by          4       A. Consistent with the rebuttal
  5       the FDA.                                     5   statement, I'm familiar with that.
  6   QUESTIONS BY MR. MURDICA:                        6       Q. Okay. And same with the
  7       Q. You have not seen a public                7   Society for Maternal-Fetal Medicine, right?
  8   opinion or documents that are consistent with    8       A. I haven't seen the statement
  9   your opinion here, correct, from FDA?            9   for Society for Maternal and Fetal Medicine.
 10       A. I have not seen that from the            10       Q. Okay. Well, let me ask it this
 11   FDA publicly or in their other documents,       11   way. Have you seen any medical organization
 12   other than the fact it's still under review.    12   that agrees with you -- that agrees with your
 13       Q. And did you see what FDA said            13   opinions here, Dr. Cabrera, as it relates to
 14   about this as recently as last month?           14   acetaminophen and autism and ADHD?
 15       A. There was a statement last               15       A. I have not seen a statement
 16   month. I'm not sure I've seen that              16   from a medical organization, no --
 17   statement.                                      17       Q. Are you --
 18       Q. Okay. I'll show you in a                 18       A. -- in that regard.
 19   minute, in the interest of moving this along.   19       Q. -- concerned by helping the
 20            I asked you about OTIS and FDA.        20   plaintiffs here you're contributing to a
 21            Did you look at what ACOG has          21   public health crisis?
 22   said?                                           22       A. To be clear --
 23       A. I'm familiar with the ACOG               23            MR. TRACEY: Objection. Form.
 24   rebuttal statement.                             24            THE WITNESS: To be clear, I'm
 25       Q. Right.                                   25       not -- there is -- there is a public

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  1       health concern for safety, and that's        1       so I'll come back to that in a minute.
  2       the lack of warning on the label.            2             MR. TRACEY: It was -- it was
  3   QUESTIONS BY MR. MURDICA:                        3       the way you asked your question loaded
  4       Q. You're not concerned that by              4       with all sorts of arguments that were
  5   being a part of a lawyer movement to scare       5       probably created within the confines
  6   pregnant women about the use of acetaminophen    6       of your firm or Johnson & Johnson.
  7   that you can harm them --                        7             Ground your questions in
  8             MR. TRACEY: Robert, Robert,            8       something factual.
  9       don't answer that question. It's             9             MR. MURDICA: Sure.
 10       nonsensical. It's argumentative, and        10   QUESTIONS BY MR. MURDICA:
 11       it's outrageous for a scientific            11       Q. Dr. Cabrera, earlier we talked
 12       deposition.                                 12   about the thimerosal literature and the
 13             If you want to ask a question         13   events surrounding thimerosal and the concern
 14       grounded in science, that's relevant        14   for autism.
 15       to general causation, do it. If you         15             Do you recall that?
 16       want to make speeches, go out on the        16       A. Yes, I do.
 17       street.                                     17       Q. There was a public health issue
 18             MR. MURDICA: Okay. Well, my           18   with thimerosal that caused children to not
 19       response to that is that he's offering      19   be vaccinated because of a scare of autism in
 20       labeling opinions in his -- in his          20   the vaccine, correct?
 21       report, Sean. I could cite the pages        21       A. I'm familiar with that idea. I
 22       to you, but there's several pages on        22   don't know about that endpoint.
 23       it, so...                                   23       Q. Okay. And that ended up being
 24             He also, Sean, just testified         24   not true. I think we talked about that
 25       that there is a public health concern,      25   earlier, or at least the data has not proven


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  1   it, correct?                                     1   it.
  2        A. Fair enough.                             2             Have you seen this before?
  3        Q. And you know, as a human being           3         A.   I can't say that I have.
  4   in society, that that has had long-term          4             MR. WATTS: What's the date on
  5   consequences where some people don't want to     5       it, Jim?
  6   vaccinate their children, correct?               6             MR. MURDICA: It's July 10,
  7        A. I'm aware that that has created          7       2023.
  8   some vaccine hesitancy in the population.        8             MR. WATTS: Thanks.
  9        Q. So my question is, as a                  9   QUESTIONS BY MR. MURDICA:
 10   researcher at an institution like Baylor, are   10       Q. Doctor, if you turn to --
 11   you not concerned that you are causing          11   unfortunately, the pages aren't numbered. I
 12   thimerosal part 2 by rendering an opinion       12   will -- let me help.
 13   like you are here?                              13             And feel free, you can read
 14        A. So there are potential public           14   anything you want. My question is going to
 15   health impacts in that regard. I am aware of    15   be about this paragraph.
 16   that.                                           16       A. If we could take a break so I
 17             MR. MURDICA: Okay. Let's mark         17   can actually read this and do a bio break.
 18        this as Exhibit 8.                         18             MR. MURDICA: Totally fine.
 19             (Cabrera Exhibit 8 marked for         19       Yeah. Yeah.
 20        identification.)                           20             MS. KING: Can we go off the
 21   QUESTIONS BY MR. MURDICA:                       21       record?
 22        Q. Dr. Cabrera, you have in front          22             MR. MURDICA: Yeah. We'll go
 23   of you Exhibit 8, and I just asked you about    23       off the record.
 24   whether you had seen a recent FDA statement     24             VIDEOGRAPHER: Off the record,
 25   on this topic. You seemed unfamiliar with       25       11:25.

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  1        (Off the record at 11:25 a.m.)              1   the link between the drug and
  2             VIDEOGRAPHER: The time is              2   neurodevelopment issues."
  3        11:43, back on the record, beginning        3             Do you see that?
  4        of Media 3.                                 4       A. One second here.
  5   QUESTIONS BY MR. MURDICA:                        5       Q. Do you want me to give you the
  6        Q. Dr. Cabrera, are you ready to            6   page?
  7   proceed?                                         7             It's before that. Oh, no --
  8        A. Yes.                                     8       A. This one here?
  9        Q. Okay. I had asked you a                  9       Q. Yep.
 10   question before we took a break. I can ask      10       A. Okay.
 11   it again, but in the meantime, did you have a   11       Q. You have it flagged, I think.
 12   chance to review what's been marked as          12       A. Yeah. Okay. Yes.
 13   Exhibit 8?                                      13       Q. Okay. You saw that when you
 14        A. Yes, I did.                             14   reviewed it --
 15        Q. Okay. And my question for you           15       A. Yes, I did.
 16   was about -- you see it's dated July 10,        16       Q. -- during the break, right?
 17   2023?                                           17             Did you know before today that
 18        A. Yes, I do.                              18   as recently as July 10th of 2023, the FDA
 19        Q. Okay. And in it, it is a -- a           19   made such a statement?
 20   reporter is attributing to FDA Press Officer    20       A. I see that this press officer
 21   Charlie Kohler an e-mail where FDA has said,    21   has made this in this article. I hadn't seen
 22   "'While the agency continues to monitor the     22   this article previously.
 23   issue, it closed the formal tracking process    23       Q. Okay.
 24   in 2020,' said Kohler, because extensive        24       A. So I was unaware of both this
 25   reviews failed to turn up solid evidence of     25   article and that statement.


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  1       Q. Okay. And the statement here              1       Q. Okay. Since FDA first said --
  2   by an FDA press officer less than a month ago    2   you referred to earlier in response to a
  3   disagrees with the opinions you've rendered      3   question of mine that you were aware of an
  4   in this litigation, correct?                     4   FDA statement in 2015, correct?
  5       A. Well, what it indicates is, as            5       A. Yes.
  6   you -- as you've read, according to this         6       Q. And we're both talking about
  7   press officer, that the formal tracking          7   the same thing. It's what you can find on
  8   processes in 2020 closed, and that they          8   FDA's website that says while there have been
  9   failed to turn up solid evidence of a link       9   these studies, there's no reason to change
 10   between the drug and neurodevelopmental         10   current guidance for how acetaminophen is
 11   issues. And I do disagree with that             11   used, correct?
 12   statement.                                      12       A. That is correct.
 13       Q. Right.                                   13       Q. Okay. And you're saying right
 14             Because you believe you turned        14   about then is when there was a solid link
 15   up a solid evidence of a link between           15   between acetaminophen and neurodevelopmental
 16   acetaminophen and neurodevelopmental issues,    16   issues?
 17   correct?                                        17       A. I'm saying there's been growing
 18       A. Because there is solid evidence          18   evidence since then in support of a causative
 19   of that.                                        19   interaction between acetaminophen and
 20       Q. As of when -- Dr. Cabrera, as            20   neurodevelopmental issues.
 21   of what date, based on your review, is there    21       Q. Right.
 22   solid evidence of a link between                22            And at what point -- is it
 23   acetaminophen and neurodevelopmental issues?    23   2015 -- what was available as of 2015 would
 24       A. I would say there's been                 24   have led you to the conclusion that it causes
 25   growing evidence since at least 2015.           25   ASD and ADHD?

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  1       A. I would say the authoritative             1   should have changed. But I can tell you that
  2   reference in Maternal and Fetal Medicine         2   the reference textbook, which is considered
  3   changed its warning about acetaminophen in       3   essential for education in the health
  4   2015. So that would be consistent with the       4   sciences, indicates that that label
  5   growing evidence, and that's the same warning    5   changed -- or their labeling of acetaminophen
  6   that it still carries to this day.               6   changed in 2015.
  7       Q. Well, I'm asking about your               7        Q. And which reference textbook is
  8   opinions, Dr. Cabrera.                           8   that?
  9             Based on your review, because          9        A. That's Briggs.
 10   you looked at -- we're going to go into all     10        Q. Briggs.
 11   the stuff that you looked at over lunch, but    11             And was that with respect to
 12   you looked at articles from the 1980s, right,   12   ADHD and ASD or just ADHD?
 13   the 1990s, 2000s? You looked at -- you          13        A. Initially, it is with ADHD, but
 14   handed me today something from two days ago,    14   it also includes other neurodevelopmental
 15   right?                                          15   disorders.
 16       A. (Witness nods head.)                     16        Q. And when was that?
 17       Q. At what point in time,                   17        A. That started in 2015.
 18   according to Dr. Cabrera, was there enough      18        Q. Okay. So in 2015, it included
 19   evidence to believe that there was a causal     19   autism in Briggs?
 20   relationship between acetaminophen and ADHD     20        A. It didn't include autism
 21   and ASD?                                        21   initially. It was ADHD initially.
 22       A. I would have difficulty                  22        Q. And that is -- Briggs is a
 23   retrospectively telling you as someone that     23   textbook that you used?
 24   wasn't following it longitudinally to tell      24        A. It is a textbook that I -- that
 25   you when the exact time that these things       25   I reference.


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  1       Q. Okay. And do you know what                1      Q.      Right.
  2   Briggs did to come to that conclusion?           2            Medical professionals which you
  3       A. They conducted an analysis of             3   are not, correct?
  4   the literature.                                  4       A. I am not a medical
  5       Q. And they said that it's causal?           5   professional.
  6       A. They made a pregnancy summary             6       Q. And in your work in teratology,
  7   specific to that in 2015 and highlighted it      7   had you ever looked at Briggs before?
  8   as a fetal risk summary and then described       8       A. I've looked up things in Briggs
  9   the literature in that regard. And it            9   before, yes.
 10   changed from being compatible with pregnancy    10       Q. Okay. Is that a reference
 11   to human data suggests low risk and fetal       11   textbook you use in teratology?
 12   risk and then described the summary of that     12       A. For looking up compounds, you
 13   risk.                                           13   can, absolutely. It's online, so it's easy
 14       Q. Okay. And is Briggs something            14   to access.
 15   that you use to make your causation             15       Q. Yeah.
 16   determination, or did you do that               16            I'm saying in your work, is
 17   independently?                                  17   Briggs a standard reference for you as a
 18       A. I looked because I -- as I               18   teratologist and has been?
 19   mentioned previously, I do have a specialist    19       A. Yes, specific for human
 20   in maternal-fetal medicine, and she said to     20   exposures because they tend to focus more on
 21   look at it in the book and see what they        21   what's the clinical recommendations in
 22   said. Like, that would be what would be the     22   regards to patients.
 23   current guidance for actual medical             23       Q. Okay. So Dr. Cabrera, for his
 24   professionals. And so that's what I looked.     24   opinions here, is relying on Briggs summary
 25   This is what they get educated with.            25   of articles in 2015, correct?

                                       Page 159                                             Page 160
  1        A. I included it as part of the             1       Q. And nothing in Briggs says
  2    data, their review as well.                     2   that, 2015 or now, that acetaminophen causes
  3        Q. Right.                                   3   ADHD, correct?
  4             And that is an underlying part         4       A. The pregnancy summary
  5    of your causation opinion, to rely on their     5   indicates, "Although the risk is very low,
  6    review of articles from 2015, correct?          6   use of the drug for several weeks or longer
  7        A. I did review their work as well          7   has been associated with cryptorchidism,
  8    as part of the literature that I looked at.     8   decreased IQ, ADHD and other problems in
  9        Q. Okay. I just want to be clear.           9   neurodevelopment." And "other problems" are
 10             As part of your causation             10   largely referenced. Some of them overlap
 11    opinion here, you are relying on Briggs' own   11   with autism and including intellectual
 12    review of the literature in 2015, correct?     12   disability.
 13        A. I'm simply referencing them as          13       Q. Okay. And so back to my
 14    authoritative texts. Authoritative texts are   14   question.
 15    not part of causation. So that's not part of   15             Whether it be in 2015 or today,
 16    the causation analysis, but it was part of     16   Briggs does not say that acetaminophen causes
 17    the analysis I conducted --                    17   ADHD or autism, correct?
 18        Q. Okay.                                   18       A. It says that it has been
 19        A. -- in regards to background.            19   associated with and that short-term use
 20        Q. Right.                                  20   suggests low risk, long-term use suggests
 21             Because you can look at the           21   risk of, as I just mentioned, cryptorchidism,
 22    articles yourself. You don't need to rely on   22   decreased IQ, ADHD and other problems in
 23    Briggs' interpretation to come up with your    23   neurodevelopment.
 24    interpretation, correct?                       24       Q. Okay. Is there a difference
 25        A. That is correct.                        25   between association and causation,


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  1    Dr. Cabrera?                                     1         A. Yes.
  2        A. There is.                                 2         Q. Okay. And that was your idea,
  3        Q. Okay. And association is not              3   right?
  4    causation, correct?                              4         A. I asked for documents in
  5        A. That is correct.                          5   regards to preclinical studies.
  6        Q. Your opinion here is that                 6         Q. Okay. And how do you know that
  7    acetaminophen causes ADHD, correct?              7   you got everything that was available?
  8        A. That is correct.                          8         A. I don't know that for a fact.
  9        Q. Your opinion here is that                 9         Q. Okay. So did you ask anyone
 10    acetaminophen causes autism, correct?           10   how many pages or how many documents were
 11        A. That is correct.                         11   produced in litigation with respect to
 12        Q. Briggs, whether it be in 2015            12   Tylenol?
 13    or now, does not say that acetaminophen         13         A. I haven't asked that.
 14    causes ADHD or autism, correct?                 14         Q. Okay. Do you know how many
 15        A. It's not a causation analysis.           15   pages you did get?
 16        Q. Okay. Thank you.                         16         A. I -- all the pages I did get
 17             Now, let's talk about some             17   are in my work cited or my reliance list.
 18    other things that you considered and --         18   Outside of that, I -- I probably haven't seen
 19    because I want to know if they're a part of     19   it, if it's not in my reliance.
 20    your causation opinion or just things that      20         Q. Okay. So before I ask you any
 21    you considered.                                 21   questions about them, are these things like
 22             I saw on your reliance list            22   Briggs that you considered but they aren't
 23    that you looked at documents from the           23   part of your causation opinion, or are they
 24    manufacturer of Tylenol.                        24   part of your causation opinion?
 25             Is that right?                         25         A. Things that I considered.

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  1    They're not part of a causation analysis.        1            Here, when you're looking at
  2         Q. Okay. And in your normal work,           2   acetaminophen and whether it can cause ADHD
  3    you're looking at science, not at company        3   or autism, is -- do you agree with me that we
  4    e-mails or anything like that, correct?          4   don't have the quality of data that would be
  5         A. That is correct.                         5   the equivalent of the NAAED we were talking
  6         Q. Company e-mails and deposition           6   about earlier? In other words, a pregnancy
  7    transcripts don't really elucidate the data      7   registry double-blinded in humans?
  8    that you're considering for causation,           8       A. It's two questions. Which one
  9    correct?                                         9   do you want me to answer?
 10         A. That's generally outside the            10       Q. Okay. Here --
 11    scope of -- other than e-mails within Baylor,   11            MR. TRACEY: Objection.
 12    as an institution, I wouldn't normally look     12       Compound.
 13    at institutions from -- e-mails from other      13            MR. MURDICA: You cheated. He
 14    institutions.                                   14       gave you that one.
 15         Q. Okay.                                   15            MR. WATTS: Objection. The
 16         A. Or other companies.                     16       witness is leading Mr. Tracey.
 17         Q. All right. Before we break for          17   QUESTIONS BY MR. MURDICA:
 18    lunch, I just want to go back to some of the    18       Q. Dr. Cabrera, with respect to
 19    questions I had for you earlier regarding       19   the data available for acetaminophen exposure
 20    pregnancy -- we talked about a pregnancy        20   in utero, does a pregnancy -- a
 21    registry.                                       21   double-blinded pregnancy registry exist?
 22              Do you remember that?                 22       A. Yes.
 23         A. Yes.                                    23            Oh, no, no. For acetaminophen,
 24         Q. I just want to talk to you              24   no.
 25    briefly about hierarchy of evidence.            25       Q. Okay. And so we don't have


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  1   prospective, double-blinded human pregnancy      1   right?
  2   data with respect to acetaminophen, correct?     2       A. Well, clinical trials would
  3        A. Not that I'm aware.                      3   normally fall in double-blind, you know,
  4        Q. Okay. And in the hierarchy of            4   studies. So those would be high.
  5   evidence, that would be really high if we had    5       Q. And generally, in the United
  6   it, correct?                                     6   States, as an ethical matter, we don't
  7        A. In the hierarchy of evidence, I          7   intentionally test drugs on pregnant people,
  8   would -- I would put that just below             8   correct?
  9   meta-analysis.                                   9       A. Yeah. To be clear, I think
 10        Q. Okay. And below that, what do           10   that's fairly global, that we don't include
 11   we have?                                        11   pregnant women in drug testing.
 12        A. Well, any prospective studies           12             MR. MURDICA: Okay. All right.
 13   and then retrospective studies.                 13       I'll get into this stuff after lunch
 14        Q. Okay. And there's very --               14       so that the food doesn't get cold.
 15   there's differences in prospective studies,     15       All right. Thanks. I don't want
 16   right? Some are a higher quality than           16       anybody getting mad.
 17   others, right?                                  17             VIDEOGRAPHER: Off the record?
 18        A. There can be, yes.                      18             MR. MURDICA: Yeah. We'll go
 19        Q. Okay. And whether they're               19       off the record.
 20   controlled or not, correct, makes a             20             MR. TRACEY: How long is the
 21   difference?                                     21       lunch break?
 22        A. Yes.                                    22             VIDEOGRAPHER: Off the record,
 23        Q. Do you agree?                           23       11:59.
 24            Clinical trials, for example,          24        (Off the record at 11:59 a.m.)
 25   would be high up on the scale of evidence,      25             VIDEOGRAPHER: The time is

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  1        12:48 p.m., back on the record,             1        A. It's -- relatively speaking,
  2        beginning of Media 4.                       2   it's about --
  3    QUESTIONS BY MR. MURDICA:                       3             MR. TRACEY: Hold on, Robert.
  4        Q. Welcome back from lunch,                 4        You don't have to answer personal
  5    Dr. Cabrera.                                    5        financial information about how much
  6              Are you ready to proceed?             6        money you make. That's not relevant.
  7        A. Yes, I am.                               7             MR. MURDICA: It does go to
  8        Q. Okay. All right. We're going             8        bias, if it's 100 percent of what he
  9    to get back into it with some easy ones.        9        makes, Sean.
 10              I think you acknowledged             10             MR. TRACEY: Are you going to
 11    earlier that you're being paid for your time   11        let me ask all your witnesses how much
 12    here by plaintiffs' lawyers, correct?          12        their salary is at their places of
 13        A. Yes, I am.                              13        employment?
 14        Q. And what's your hourly rate?            14             MR. MURDICA: I'm not asking
 15        A. 500.                                    15        his salary. I didn't ask his salary.
 16        Q. Okay. And how much have you             16        I just asked how it compared to what
 17    charged them so far in this litigation,        17        he's being paid. Could be
 18    ballpark?                                      18        significant, could be insignificant.
 19        A. I think I had about 200 hours           19        I didn't -- I didn't tell him how to
 20    or so. Maybe just over 200 hours.              20        answer it.
 21        Q. So over $100,000, thereabouts?          21             MR. TRACEY: Well, I know, but
 22        A. Approximately, yes.                     22        you left -- that question is
 23        Q. Okay. And how does that                 23        open-ended. I don't know how else
 24    compare to your -- whatever you get paid by    24        any, you know, nonnormal lawyer would
 25    Baylor or your lab?                            25        answer that.


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  1             MR. MURDICA: If I didn't ask           1       Q. And in your regular work,
  2        it open-ended, you'd object.                2   you -- your primary work, you conduct rodent
  3             MR. TRACEY: Well, try me and           3   tests, right?
  4        see.                                        4       A. We do three things in my
  5             MR. WATTS: Are we going to ask         5   laboratory that is both genetics, and that
  6        about money at every deposition, or do      6   includes human and animal genetics.
  7        you want to not do it? I don't care.        7             And so we have a human genetic
  8        You decide.                                 8   side, and we make mouse models of human
  9             MR. MURDICA: I'll pass.                9   disease, we refer to that as the mouse side.
 10    QUESTIONS BY MR. MURDICA:                      10   And then we also do tissue culture and
 11        Q. Okay. One of the principles of          11   produce cellular models of diseases. And
 12    teratology is to consider all evidence when    12   that's -- by and large, it's turned into stem
 13    you're trying to make a causation              13   cell cultures. So we make -- induce
 14    determination, correct?                        14   pluripotent stem cells, and we do embryo
 15        A. The totality of evidence, yes.          15   cultures or neural cultures.
 16        Q. Okay. Do you feel that you              16       Q. So you work with cells?
 17    followed that here?                            17       A. Yes.
 18        A. Yes.                                    18       Q. And you work with rodents, and
 19        Q. Okay. So there's nothing you            19   you do process or -- do you do genetic
 20    intentionally didn't consider, correct?        20   testing there, or do you send it out?
 21        A. Not intentionally.                      21       A. For clinical testing, that gets
 22        Q. Okay. In your -- you have               22   sent to Baylor Genetics. For research
 23    access to your lab that you were talking       23   purposes, we do -- we do research.
 24    about earlier, right?                          24       Q. Okay. And when you were asked
 25        A. That's correct.                         25   to look into acetaminophen here, did you

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  1   conduct any tests in your lab?                   1        Q. Okay. And you didn't do that,
  2        A. I have not.                              2   right?
  3        Q. Okay. You didn't conduct any             3        A. I have not.
  4   cellular tests?                                  4        Q. Okay.
  5        A. To be clear, that would be a             5        A. Well, not in this case, no.
  6   conflict of interest if I was doing tests        6        Q. Do you anticipate doing that in
  7   with acetaminophen while I was being paid. I     7   this case, sitting here today?
  8   would have to file that as a conflict of         8        A. That is not something I planned
  9   interest with Baylor.                            9   on doing.
 10        Q. Okay. Can you explain that to           10        Q. Okay. Have you looked at the
 11   me? I don't really understand how that's a      11   records of any person in relation to this
 12   conflict of interest.                           12   litigation, any human being?
 13        A. Because I'm being paid, in              13        A. Case-specific?
 14   order to do research at Baylor with the         14        Q. Yes.
 15   resources that I -- that I have, I would have   15        A. I have not looked at any
 16   to file that with Baylor; that I would be       16   case-specific.
 17   using my resources to do research --            17        Q. Okay. By the way, earlier you
 18        Q. I see.                                  18   said that somebody told you to look at
 19             You can't use your lab to do          19   Briggs, and we talked about that for a while.
 20   outside research; is that what you're saying?   20        A. (Witness nods head.)
 21        A. To do my personal research.             21        Q. Who is the person who told you
 22        Q. Okay. You could have used your          22   to look at Briggs?
 23   expertise to borrow a lab or rent a lab and     23        A. One of the people in our group.
 24   done acetaminophen research, correct?           24   Her name's Jackie Parchem.
 25        A. That would be a possibility.            25        Q. Okay. And what's her


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  1   specialty?                                        1   students in that class and under the -- and
  2       A. She's maternal-fetal health.               2   using the same book.
  3   She's an -- she's an obstetrician,                3             So for human embryology, that
  4   gynecologist.                                     4   was the book we used for human embryology.
  5       Q. And can you -- I didn't hear               5        Q. Any others?
  6   the last name. Jackie?                            6        A. Yeah, there were -- there were
  7       A. Parchem.                                   7   others.
  8       Q. Parchem?                                   8        Q. Okay. Well, I know you
  9       A. Yeah.                                      9   testified earlier that you looked to Briggs
 10       Q. Okay. And I believe you said              10   as an authority, and you use it in your
 11   you recognized Briggs as an authoritative        11   regular teratology practice. So now we --
 12   textbook?                                        12   now we have one more.
 13       A. Yes, I do.                                13             Are there any others that are,
 14       Q. Okay. What other textbooks do             14   you know, your regular teratology books you
 15   you recognize as authoritative?                  15   look towards?
 16       A. So what I was trained in for              16        A. I reference Moore, I believe,
 17   human development is human embryology is --      17   in my report as well, as part of my reliance.
 18   usually they are -- I think that's some --       18   I -- I'd have to look at my reliance list to
 19   Moore's is the textbook --                       19   see what other texts that I did reference in
 20       Q. Moore's.                                  20   there, but those are -- those are two that I
 21       A. -- we use for human embryology.           21   refer to regularly.
 22       Q. Okay.                                     22        Q. Okay. And just going back to
 23       A. And it's the same -- it's a               23   something earlier, Mr. Tracey objected when I
 24   medical school class. It's the same book         24   asked about your meetings with other experts.
 25   that they teach both graduate and medical        25   So I'm not going to ask about -- anything

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  1    about those.                                     1            MR. TRACEY: That's all
  2              But did you have any role in           2       privileged.
  3    responding to our deposition notice and the      3            MR. MURDICA: I'm not going to
  4    answers to those?                                4       ask anything else.
  5         A. We went through them.                    5            THE WITNESS: Okay.
  6         Q. Okay. Do you recall answering            6            MR. MURDICA: I was just asking
  7    that you had not interacted with any other       7       in the context of the discovery
  8    experts in this litigation?                      8       responses.
  9         A. Inasmuch as we went through              9   QUESTIONS BY MR. MURDICA:
 10    the -- I -- it was only with the lawyers, and   10       Q. Okay. And one last follow-up
 11    so I think they would be familiar with that,    11   on something we talked about earlier.
 12    if that was --                                  12            You remember I showed you I
 13         Q. Yeah. I'm not going to ask              13   believe it was Exhibit 4, the Beyer study,
 14    about anything that happened, but my            14   and I asked you about CIC, and you said it
 15    understanding, unless I misread it, is that     15   was in the supplemental tables online.
 16    your answer was that you hadn't interacted      16       A. Oh, I told you this was the
 17    with any of the other experts.                  17   methodology that we used -- are you talking
 18              But that -- we know now that's        18   about Santos?
 19    not the case, right?                            19       Q. No.
 20         A. With the -- with the lawyers            20       A. It was 4.
 21    and on call, we did have -- I have -- I have    21       Q. Sorry.
 22    spoken with some other --                       22       A. Oh.
 23              MR. TRACEY: Robert, don't say         23       Q. 3 maybe.
 24         anything else.                             24            MR. CHARCHALIS: Beyer is 3.
 25              THE WITNESS: Okay.                    25            MR. MURDICA: 3, okay.


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  1             THE WITNESS: Okay. Yes.                1         Q. I'm not asking you to agree.
  2    QUESTIONS BY MR. MURDICA:                       2   I'm just asking you if there's any other name
  3         Q. Remember I -- this was from             3   you would refer to that gene by or --
  4    your rebuttal report. We were talking about     4         A. Oh, the name of the gene?
  5    I believe it was capicua and CIC in your        5         Q. Yeah.
  6    report?                                         6         A. Those are both the gene names
  7         A. Yes.                                    7   that we -- we've used. It may have had a
  8         Q. And I said where is it in the           8   name before that, but I would -- I'd have to
  9    study, and you said it's in the supplemental    9   look that up in the database.
 10    tables?                                        10             That should be available in
 11         A. I said I'd need to check the           11   GeneCards if you were looking for aliases.
 12    supplemental tables, yes.                      12         Q. Okay. So sitting here today,
 13         Q. Okay. So we had checked                13   you're not telling us that it's definitely in
 14    before --                                      14   the tables. You agree it's not in the
 15         A. Yes.                                   15   article, but you're also not telling us that
 16         Q. -- and we checked again.               16   it's in the tables; you just don't know?
 17             We don't see it. Is there --          17         A. I would have to look
 18    is there anything else -- other than CIC or    18   specifically at the -- at the database and
 19    capicua, is there anything else that you       19   mine in the database to show you exactly
 20    would look to, any names somehow we're         20   where everything is, but the interactions are
 21    missing?                                       21   there.
 22         A. I -- I'd have to look at the           22             I can -- I looked at them.
 23    database --                                    23   I've seen them. I think you're just --
 24         Q. Okay. But you --                       24   you're not in the right place in the
 25         A. -- in front of me and --               25   database.

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  1         Q. Okay. But you believe you               1         A.   I'm -- yes, I am familiar with
  2    either saw CIC or capicua in the database?      2   it.
  3         A. It's in the database.                   3       Q. Okay. And any causation
  4         Q. Okay. And not in that article,          4   opinion and any data you used to reach the
  5    Exhibit 3, itself?                              5   opinion, one of the principles is it needs to
  6         A. I'm looking at -- I -- as we            6   be outcome-specific, correct?
  7    just looked at the article, I did not see       7       A. Specificity is part of Bradford
  8    capicua in that article, but it is in the       8   Hill in that regard.
  9    database.                                       9       Q. Yeah.
 10         Q. Okay. All right. Let's talk            10            And I'm asking you about your
 11    about one more principle of teratology.        11   Teratology Society and the principles. When
 12             You know that the Teratology          12   you render an opinion as a member of that
 13    Society about 15 years ago published           13   society, it's supposed to be
 14    guidelines for considering causation in        14   outcome-specific, right?
 15    litigation, right?                             15       A. Just to clarify, that position
 16         A. I mean, if you're asking me if         16   paper, which, you know, if we're going to
 17    there's a publication about that, I'm aware    17   talk about it, we should -- we should have it
 18    that there's a publication about it.           18   in front of us, but I am familiar with it, in
 19         Q. Right.                                 19   as much as the correspondence on that's Tony
 20             You've seen it before. It's           20   Scialli, and that position is not a position
 21    been shown to you before in litigation,        21   of the Teratology Society as a whole. I
 22    right?                                         22   believe that was part of the public affairs
 23         A. I have seen it before.                 23   committee.
 24         Q. Okay. Did you look at it               24       Q. Okay. What it means -- well,
 25    before rendering your opinions here?           25   do you -- did you disagree that you should be


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  1   looking at evidence that refers to the            1   you're a member of the Teratology Society.
  2   outcome you are opining about?                    2        A. I wouldn't take it upon myself
  3        A. You should absolutely look                3   to memorize anything Tony Scialli said.
  4   at -- look at the outcome.                        4        Q. Okay. So I'm just asking you
  5        Q. Right.                                    5   then, do you think that that's what you
  6            And here, the outcome is ASD or          6   should consider in rendering a causation
  7   ADHD. You have two outcomes you're looking        7   opinion?
  8   at, correct?                                      8        A. You should consider the
  9        A. I did look at those two                   9   totality of data. We already talked about
 10   outcomes, yes.                                   10   that.
 11        Q. Those are the two outcomes that          11        Q. And the totality of data
 12   you were asked to look at, correct?              12   specific to the outcome, correct?
 13        A. I was asked to look at ASD,              13        A. We should -- we should consider
 14   ADHD and -- as specific outcomes, yes.           14   those outcomes and also intermediates of
 15        Q. Okay. And so according to that           15   those and then parallel outcomes with those.
 16   principle, the evidence on which you base        16        Q. Okay. Well, you testified in a
 17   your causation opinion should be ASD and ADHD    17   litigation attributing mental retardation in
 18   data, correct?                                   18   a patient to trichloroethylene exposure,
 19        A. Well, I'm not going to say that          19   correct?
 20   those principles are the -- are definitive or    20        A. I'd have to see the particular
 21   even authoritative in that regard, but if you    21   case you're referring to.
 22   want to talk about those -- what the             22        Q. Okay. You don't remember that?
 23   publication says, then we should have it in      23        A. I'm -- I would have to see the
 24   front of us specifically.                        24   particular case you're referring to.
 25        Q. Well, you don't know? It's --            25        Q. How many cases have you

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  1    testified in for plaintiffs?                     1       case that is sealed, I'm not at
  2         A. I would have to see the                  2       liberty to discuss.
  3    particular case --                               3   QUESTIONS BY MR. MURDICA:
  4         Q. Too many to remember, right?             4       Q. It's not sealed.
  5         A. I have a list of them.                   5       A. So...
  6         Q. Where is it? You didn't                  6       Q. Do you remember a plaintiff
  7    provide it to us. Where's the list?              7   Trujillo, Trujillo?
  8         A. I was told that the information          8       A. I'm familiar with Trujillo.
  9    that I was to provide was within the last few    9       Q. Okay. Do you remember now
 10    years.                                          10   what you were alleging the outcome was?
 11         Q. Okay.                                   11       A. I mean, if you want to provide
 12         A. And that's what I did provide.          12   case-specific stuff, we can review it.
 13         Q. Do you have -- do you have a            13       Q. Well, what I'm asking you is,
 14    list of all of your testimony you've ever       14   mental retardation is a different outcome
 15    done?                                           15   than autism or ADHD, correct?
 16         A. Of course.                              16       A. It is.
 17         Q. Okay. And where is that?                17       Q. Okay. So are you going to rely
 18         A. On my computer.                         18   on the outcome of mental retardation in
 19         Q. Okay. Okay. So you don't                19   rendering a causation opinion on autism or
 20    remember attributing mental retardation to      20   ASD?
 21    TCE exposure?                                   21       A. As a different outcome, unless
 22         A. I'm --                                  22   they have overlapping pathology, I would not
 23              MR. TRACEY: Objection. Form.          23   include it in part of my analysis.
 24              THE WITNESS: No. If it's --           24       Q. Okay. How about learning
 25         if you're referring to a particular        25   disabilities?


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  1       A. So inasmuch as there are some             1   some patients or some animals, you included
  2   cases with ADHD and ASD that also include        2   that in your analysis?
  3   learning disabilities, they would be part of     3        A. I tried to include the totality
  4   an analysis.                                     4   of data so that I would be fair in that
  5       Q. But not all -- I mean, we                 5   regard.
  6   talked earlier, right? Someone autistic can      6        Q. In your mind, in Dr. Cabrera's
  7   be a savant and they don't have a learning       7   mind, is it -- is it reliable to use
  8   disability, correct?                             8   symptomatic outcomes rather than the target
  9       A. That is a possibility.                    9   outcome of ASD or ADHD?
 10       Q. So you're going to use, and you          10        A. It could be informative if
 11   did use, outcomes that were not the target      11   it -- if it is occurring with other outcomes
 12   outcome as reliance for your causation          12   that are core behaviors of ADHD or ASD.
 13   opinion?                                        13              If it -- if it's occurring as
 14       A. If there's overlap in the                14   an endpoint specifically and without overlap
 15   presentation as part of what's understood       15   of ADHD or ASD, then I would not consider
 16   about -- particularly with autism itself or     16   that.
 17   animal models of autism is not every case of    17        Q. Right.
 18   autism is the same, and some of them have       18              But in Dr. Cabrera's opinion,
 19   overlap with other pathologies.                 19   any study where the outcome was learning
 20            And so if those other                  20   disability counts towards autism, correct?
 21   pathologies included -- were included, then I   21        A. Is not correct.
 22   would -- then I would often include them as     22        Q. Why not?
 23   part of the analysis.                           23        A. Because there are some impacts,
 24       Q. Is it fair to say that if an             24   and it's even referenced in the -- in the AOP
 25   outcome in a study was a symptom of autism in   25   where they indicate that some indications of

                                       Page 187                                            Page 188
  1   learning disability can be core symptoms of      1      Q.       Right.
  2   autism or of ADHD.                               2             But not -- all neurotoxicity
  3        Q. Right.                                   3   does not equate to ASD or ADHD, correct?
  4            And that's why you think that           4       A. That's correct. The --
  5   AOP speaks to autism, correct?                   5   particularly for ASD or ADHD, it would be
  6        A. Well, that's -- not just the             6   developmental neurotoxicity that would be
  7   AOP, but those are part of the OECD              7   more specific for those outcomes, but I did
  8   guidelines for testing, that some learning       8   consider neurotoxicity generally as well.
  9   and behavioral effects overlap with autism       9       Q. And even if you, Dr. Cabrera,
 10   and ADHD core behaviors.                        10   considered only developmental neurotoxicity,
 11        Q. Okay. And according to                  11   that's still a larger pool than ASD and ADHD,
 12   Dr. Cabrera, that AOP also speaks directly to   12   correct?
 13   autism and that -- the pathway, correct?        13       A. There are other endpoints with
 14        A. Yes, because the -- some of the         14   developmental neurotoxicity such as neural
 15   learning and developmental endpoints do         15   tube defects would be evidence of
 16   overlap with autism, and that's even in the     16   developmental neurotoxicity that's not ADHD
 17   OECD guidelines. Not just the AOP, the OECD     17   or ASD.
 18   guidelines.                                     18       Q. Right.
 19        Q. Okay. And according to                  19             I think we agreed earlier,
 20   Dr. Cabrera, any neurodevelopmental toxicity    20   neural tube defects are something totally and
 21   also is an outcome that you're looking at to    21   profoundly different than ASD or ADHD,
 22   attribute causation for ASD and ADHD,           22   correct?
 23   correct?                                        23       A. Well, I don't know about
 24        A. I did include in my analysis            24   totally different because inasmuch as there
 25   any neurotoxicity.                              25   appears to be some overlap in the molecular


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  1    pathways, but certainly the -- one is a         1       A. I look for developmental
  2    phenotypic presentation, and one is a           2   toxicity generally, yes.
  3    diagnostic determination based on clinical      3       Q. You included in your review
  4    diagnostics.                                    4   articles that really had anything to do with
  5        Q. The appearance and the outcome           5   toxicity in a -- in a mouse embryo, right?
  6    are profoundly different, correct?              6       A. So my approach as a
  7        A. I agree with that.                       7   teratologist was to look at what Wilson
  8        Q. Okay. Before the break, we               8   referred to as the four manifestations of
  9    were talking about different levels of          9   deviant development, and those include
 10    evidence that are available, and we were       10   congenital malformations in addition to
 11    talking about evidence that could be           11   functional deficit.
 12    available in humans.                           12             And it may also include death
 13             I'm going to ask you -- you           13   as a potential outcome, which would be the
 14    focused a lot in your report on animals,       14   most severe form of that -- of toxicity.
 15    right?                                         15       Q. For ASD and ADHD in particular,
 16        A. That's correct.                         16   what outcomes were you looking for in the
 17        Q. And you work with animals?              17   mouse model?
 18        A. I work with people, too, but,           18       A. Well, part of looking for these
 19    yes.                                           19   outcomes is understanding the study designs
 20        Q. And the animals you work with           20   and what information is available in there.
 21    are -- do you work with rats or just mice?     21             As an example, you have to
 22        A. Mice.                                   22   examine also maternal toxicity. So you have
 23        Q. The outcomes that you looked at         23   to consider maternal toxicity, even though
 24    in mice is any developmental toxicity,         24   your -- your question may be, What's the
 25    correct?                                       25   outcome in the offspring, ADHD or ASD, you

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  1   also have to consider maternal toxicity as       1   that are consistent -- what's referred to as
  2   one of those factors.                            2   consistent with ADHD in the animal model.
  3            So there are -- there are               3       Q. You look -- right.
  4   different levels of toxicity because the         4            You have -- you have guidelines
  5   maternal system is providing the environment,    5   that you believe are behaviors consistent
  6   so you have to consider other types of           6   with those, but you can't diagnose a mouse
  7   toxicity when you're looking at a particular     7   with ADHD or autism, correct?
  8   outcome.                                         8       A. Right. So clinical diagnosis
  9       Q. What specifically are you                 9   of ADHD or autism requires a clinical
 10   looking for in the mouse to look for autism?    10   diagnosis, and we don't do that type of
 11       A. So typically we do                       11   assessment on the animals. We do
 12   neurobehavioral testing in the mouse to look    12   neurobehavioral, behavioral testing on them.
 13   for what's referred to as core autistic         13       Q. Right.
 14   behaviors.                                      14            And those are different
 15       Q. And in the mouse, since they             15   techniques developed over time that
 16   can't talk to us, you can't actually            16   researchers like yourself believe are
 17   diagnosis a mouse with autism, correct?         17   consistent with neurodevelopmental behaviors,
 18       A. They do vocalize, but it's               18   right?
 19   supersonic, so we can't hear them, but we do    19       A. I'd say they're generally
 20   not use that as part of our diagnosis like      20   accepted that these behaviors parallel what
 21   you would with a human patient.                 21   we see in the human with similar exposures.
 22       Q. And it's the same thing with             22       Q. Well, in fairness, humans
 23   ADHD, right?                                    23   aren't burying marbles in tanks, correct?
 24       A. So we do neurobehavioral                 24       A. They could, but it -- as a
 25   testing on them, and we look for behaviors      25   normal behavior, burying is perhaps something


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  1   that people and animals may have shared in        1   visual, the mouse uses smells in order to
  2   the past, but not something that we commonly      2   recognize where it belongs and new people --
  3   engage in anymore.                                3   or new mice, in this case. As we might
  4       Q. You're not looking at human                4   recognize somebody visually, they recognize
  5   beings who are repetitively -- repetitively       5   it as smell.
  6   grooming or nest-seeking or burying marbles,      6            So it's part of an assessment
  7   correct?                                          7   for their social behavior, which would be an
  8       A. So we do look at repetitive                8   important core behavior for the -- for the
  9   behaviors in humans. That's part of a             9   mouse.
 10   clinical diagnosis. So that is part of it,       10        Q. That answer was about
 11   actually.                                        11   nest-seeking?
 12            But in regards to specific              12        A. Yes, in order for them to --
 13   behaviors of nest-seeking or marble burying,     13        Q. So according to Dr. Cabrera,
 14   that's not part of the human clinical            14   nest-seeking is a relevant behavior in the
 15   diagnosis.                                       15   mouse model for autism and ADHD, right?
 16       Q. Right.                                    16        A. Well, it assesses a behavior in
 17            And, by the way, is                     17   the mouse that's part of social -- a social
 18   nest-seeking in the rodent model a measure       18   behavior. So you're testing a social
 19   for ASD or ADHD?                                 19   behavior of the mouse.
 20       A. In their recognition of                   20        Q. So if you have a litter of mice
 21   things -- so, like, socialization is part of     21   that are more nest -- are nest-seeking more
 22   the ASD or core behaviors. And so disruption     22   than normal, you would say that's an autistic
 23   in what is partially thought as the olfactory    23   or ADHD signalling behavior or something like
 24   system is -- can be related to that, in that     24   that?
 25   the mouse, unlike the human, which is largely    25        A. So you could go either way. So

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  1    if they spent too much time there, this could    1   better question, because that was a good
  2    be associated with anxiety. If they didn't       2   point.
  3    spend any time there, then this could be a       3             Our hypothesis, your
  4    problem with their social behavior. So you       4   hypothesis, is that those behaviors translate
  5    have to interpret the data as it comes.          5   in some way to neurodevelopmental outcomes --
  6         Q. And when you first started               6   neurodevelopmental behaviors in human beings,
  7    doing these experiments on mice, did these       7   right?
  8    behavioral beliefs and tests in mice exist?      8       A. So what we do in -- what I've
  9         A. They've evolved over time.               9   done for the majority of my career is to make
 10         Q. And do you agree that those             10   animal models of human disease. And part of
 11    behavioral observations are really theories     11   making those models of human disease is to
 12    because you can't diagnose and talk to the      12   see if the animal behaviors any way parallel
 13    mice?                                           13   what we would find in human behaviors, and we
 14         A. Well, just to clarify, a theory         14   do find some parallels in that regard.
 15    is a very strong word in science, and I would   15       Q. Right.
 16    say that there -- our understanding of those    16             But the behaviors that the
 17    behaviors, that they are part of the social     17   animals exhibit are not identical behaviors
 18    behaviors in the animals. And I don't think     18   that are -- that human beings exhibit,
 19    that's theoretical. I think that's part of      19   correct?
 20    just the reality that they -- that they exist   20       A. Neither -- the diagnosis
 21    in.                                             21   criteria is not the same as would be used
 22              Our interpretation of those is        22   clinically for a clinical diagnosis in
 23    certainly open as far as what that means and    23   humans. It does -- it is different with the
 24    how we interpret their behaviors.               24   animals.
 25         Q. I guess that -- let me ask a            25       Q. And you agree that the animal


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  1   model, in all aspects, not just                   1   strength that a similar outcome will also
  2   neurodevelopment, does not translate directly     2   occur in humans.
  3   to humans in many cases, right?                   3       Q. Okay. So if you're looking at
  4        A. There are -- there can be                 4   an outcome in an animal model for ASD or
  5   differences, both by differences in species.      5   ADHD, what is the most -- most direct, best
  6   Thalidomide is the classic example inasmuch       6   evidence you can come up with in an animal
  7   as it had a profound effect in humans, but it     7   model?
  8   was initially missed in animals. It was only      8       A. Well, there's two parts to that
  9   after they retested in a sensitive rabbit         9   in my work. And so one is that to look at
 10   species that they found -- they found the        10   the behavior, so we have the behavior
 11   same effect.                                     11   analysis, then we compare to what's
 12             So there can even be                   12   considered as kind of a core set.
 13   species-specific differences that have to be     13           And in my work, it's typically
 14   considered, and they can be different between    14   compared to valproic acid. So we would
 15   different species.                               15   compare the core behaviors to valproic acid
 16        Q. One does not assume that what            16   exposures in the animal.
 17   happens in an animal is going to happen in a     17           And then we would also do
 18   human or vice versa, correct?                    18   pathology on the brains of the animals in
 19        A. Yeah, you can't just assume              19   addition to, if available, functional
 20   based on a singular dataset. You need to         20   genomics, that is gene expression studies, or
 21   look at the totality of the data, and you        21   metabolomics to look at the particular active
 22   build strength when you start to see effects     22   molecules in the brain.
 23   across multiple species, or particularly even    23       Q. And the behaviors you would be
 24   across multiple kingdoms in biology when you     24   looking for in an autism model are what?
 25   start to see similar effects. This builds        25       A. So the same core behaviors that

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  1    we might see in humans. So differences in        1   behavior on an outcome, like ASD and ADHD,
  2    social interactions, repetitive behaviors.       2   after an exposure in a pregnant mouse,
  3    And so we're looking for this core set of --     3   studies that are examining effects on adult
  4    referred to as autism behaviors in the mouse,    4   mice are not directly on point, correct?
  5    and there are representative tests for that.     5         A. They may be informative on
  6        Q. They're very specific in the              6   concentrations or mechanism, but they're not
  7    mouse, though, right?                            7   going to be necessarily informative on the
  8             One is -- the repetitive                8   outcome, the specific ASD or ADHD outcome.
  9    behavior is grooming, the social behavior is     9         Q. Okay. Let's talk now about
 10    either being around other mice or not.          10   human studies and acetaminophen.
 11    Right?                                          11             In order for an in utero
 12        A. So one example of a social               12   exposure to happen in a human, the exposure
 13    behavior would be referred to as a              13   has to first be -- the mother has to take
 14    three-chamber test, or what we call the         14   acetaminophen, right? You agree?
 15    Jackie box, where the animal -- we see if it    15             There's, like, four steps here.
 16    prefers or doesn't prefer to be around other    16   I'll see if you agree with them.
 17    animals, which would be a social behavior.      17         A. So there is some background of
 18    And there are different types of social         18   acetaminophen exposure in the general
 19    behavior.                                       19   population, and it has to do with
 20             And what's currently                   20   environmental exposure. And so there's an
 21    recommended is to use multiple tests per        21   underlying exposure initially.
 22    behavior -- or per core behavior to             22         Q. Dr. Cabrera, your causation
 23    strengthen the information you have about       23   opinion here is focused on women who actually
 24    those behaviors.                                24   ingest pharmaceutical acetaminophen, correct?
 25        Q. And if you're trying to gather           25         A. That is correct.


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  1        Q. Okay. So the pregnant woman               1        Q. Then it goes to liver, correct,
  2   first takes acetaminophen, right? In the          2   in the mother?
  3   mouth?                                            3        A. Well, in -- yeah, as far as
  4        A. Predominantly. There is also              4   metabolism goes, it goes into a particle,
  5   IV indications, but, yes, predominantly.          5   it's referred to as a chylomicron, and then
  6        Q. Your opinion is about pill                6   that would end up in the liver.
  7   ingestion predominantly, correct?                 7        Q. Okay. Whatever is not
  8        A. I haven't been asked for                  8   metabolized by the liver is now in the blood
  9   case-specific as far as exposures, but            9   in the mother, right?
 10   we're -- the exposure happens, and there are     10        A. Fair enough. It -- yeah. So
 11   currently two routes of exposure commonly. I     11   it's going to go into circulation as well.
 12   think there's also a rectal exposure as well,    12        Q. Into circulation.
 13   but the majority of them, the vast majority      13             And in circulation, that is the
 14   of them, would be an oral exposure.              14   first time it has access to the placenta,
 15        Q. The human exposure studies               15   right?
 16   where it specified what it was, it was pill      16        A. So within circulation, yes, it
 17   ingestion, correct?                              17   would have access to the placenta.
 18        A. Predominantly, yeah, it's going          18        Q. Okay. It has to cross the
 19   to be pill ingestion.                            19   placenta, right?
 20        Q. Okay. The first stop is --               20        A. In order to have access, which
 21   where the body takes on any acetaminophen is     21   we refer to as access in teratology, it would
 22   in the small intestine, correct?                 22   have to cross the placenta.
 23        A. As far as absorption, yes.               23        Q. In order to have access to the
 24        Q. Absorption.                              24   baby, we're through the mouth, small
 25        A. Yes.                                     25   intestine, metabolized by the liver, into the

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  1    bloodstream, it has to cross into the            1       A. I have looked at fetal brain
  2    placenta, correct?                               2   exposure in the animal models, and I have
  3        A. No. I'd say as far as first or            3   cited that in my report.
  4    second-pass metabolism, I have to look           4       Q. I was talking about human.
  5    specifically at that, but that's at least in     5       A. As we've already indicated,
  6    part correct, yes.                               6   those studies would be unethical.
  7        Q. Okay. And then next to                    7       Q. And all I'm doing, for the
  8    actually access the baby, it -- the brain,       8   record, is clarifying what we have and what
  9    right, which is what you're talking about in     9   we don't.
 10    this opinion, it has to cross the blood-brain   10            We don't have any study or data
 11    barrier, right?                                 11   that shows the availability in the fetal
 12        A. Acetaminophen readily crosses            12   brain at this -- at this point in time
 13    the blood-brain barrier. So if it has access    13   because of ethics and things like that, fair?
 14    to the baby, it will have access to the         14       A. Yeah. Just to be clear, I'm
 15    brain.                                          15   fairly sure that's, like, even against the
 16        Q. Right.                                   16   law in Texas. But with that being said, that
 17              All of those things have to           17   data doesn't exist.
 18    happen before it makes it to the fetal brain,   18       Q. Right.
 19    correct?                                        19       A. For any drug.
 20        A. That is correct.                         20       Q. But we have it in the mouse
 21        Q. Okay. And you haven't --                 21   model.
 22    you've cited various studies, but you haven't   22       A. We do have it in animal models.
 23    cited anything that directly measures the       23       Q. Right.
 24    availability of acetaminophen following that    24            All right. I'm going to stick
 25    exposure route in the fetal brain, correct?     25   with humans for a while.


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  1             One of the database studies you        1   that you already formulated an opinion that
  2    cite is Avella-Garcia. And that's an autism     2   acetaminophen could cause autism and ADHD,
  3    study, right?                                   3   right?
  4        A. Yes, it is.                              4       A. As I indicated, there was
  5        Q. Okay. And you rely on this to            5   growing evidence of that since 2015.
  6    support your causation opinion, right?          6       Q. I think you said earlier
  7        A. I have, yes.                             7   that -- well, correct me if I am wrong. I
  8             MR. MURDICA: We'll mark it as          8   thought you -- your causation of -- you
  9        Exhibit 9.                                  9   believed that it was causal as of 2016, I
 10             (Cabrera Exhibit 9 marked for         10   thought you said.
 11        identification.)                           11            Is that not right?
 12    QUESTIONS BY MR. MURDICA:                      12       A. I hadn't done this research in
 13        Q. Okay. This one was from --              13   2016.
 14    well, you have in front of you Exhibit 9,      14       Q. Okay. So sitting here today,
 15    right, Dr. Cabrera?                            15   you can't say when, in Dr. Cabrera's mind,
 16        A. Yes, I do.                              16   this became causal until -- except for 2023,
 17        Q. Okay. And that's the                    17   right?
 18    Avella-Garcia study, right?                    18       A. That's when I did the causation
 19        A. It is.                                  19   analysis. So I couldn't say I had determined
 20        Q. This is the one you cited in            20   causality before then because I hadn't done
 21    your opinions, fair?                           21   that analysis.
 22        A. I believe so, yes.                      22       Q. And you couldn't say anybody
 23        Q. From 2016?                              23   could have determined causation before then
 24        A. Looks correct.                          24   because you didn't do that analysis, right?
 25        Q. Okay. So this was at the point          25       A. Well, I can't offer my opinion

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  1   about what other people did because I'm not      1    do what we knew and when we knew it?
  2   other people.                                    2         MR. MURDICA: I'm not doing
  3       Q. But you, Dr. Cabrera, when I              3    that. I'm -- Sean, I'm asking him
  4   asked you, you -- based on the totality of       4    questions about general causation.
  5   the evidence that you've reviewed, you can't     5         MR. TRACEY: No, you're not.
  6   say there was enough there in 2022, right?       6    You're asking him questions about when
  7       A. 2022?                                     7    anybody could have known that Tylenol
  8       Q. Yeah.                                     8    caused autism.
  9       A. I wasn't looking at the                   9         I'm happy to play that game
 10   question in 2022.                               10    with your experts, if you want, but I
 11       Q. Right.                                   11    thought this was a general causation
 12            But based on what you know             12    deposition.
 13   today, you -- you're not going to sit here      13         MR. MURDICA: Okay. I'm not
 14   and say there was enough evidence in 2022 for   14    going to argue on the record with you,
 15   this to be causal, right?                       15    but all I asked him to say is he's not
 16            MR. TRACEY: Jim, let me just           16    going to say when somebody could have
 17       interrupt you for a second.                 17    known it, and he didn't answer that
 18            Are we doing liability                 18    question.
 19       depositions? Because if we are, I'm         19         MR. TRACEY: Well, I know,
 20       happy to join with your experts, but I      20    because he hasn't been asked that
 21       thought this was a general causation        21    question, and he hasn't developed that
 22       deposition.                                 22    opinion. That's a phase II opinion.
 23            MR. MURDICA: It is. And                23    He may very well have that opinion
 24       that's not what --                          24    when we finish depositions.
 25            MR. TRACEY: So we're going to          25         MR. MURDICA: Okay. Well, let


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  1       me try and --                                 1   1,300 participants?
  2            MR. TRACEY: I just -- it just            2       A. So there was 2,644 mother-child
  3       feels like it's part of the phase I.          3   pairs. So as a -- as a child outcome, there
  4   QUESTIONS BY MR. MURDICA:                         4   would be 1,300.
  5       Q. Sitting here today,                        5       Q. Okay. And if you look at
  6   Dr. Cabrera, do you have any opinion on when      6   Table 3, which is on page 1992 in the
  7   the relationship, in your view, was causal,       7   journal, these are the outcomes. And what
  8   one way or another?                               8   you cite in your report is for males --
  9       A. I only have my personal                    9            Are you on Table 3?
 10   experience in that when I conducted the          10       A. Yes, I am.
 11   analysis, I found it to be causal. I can't       11       Q. Okay.
 12   say when other people should or shouldn't        12            -- for males with persistent --
 13   have found it.                                   13   that were exposed to persistent acetaminophen
 14       Q. In 2023, correct?                         14   exposure which was defined in this study as
 15       A. That's correct.                           15   the mother saying that acetaminophen was used
 16       Q. Okay. Now, on Exhibit 9, so               16   during both interviews, I believe. The score
 17   this was a database study in human beings,       17   in the right column is a 1.91 from .44 to
 18   right?                                           18   3.38, right?
 19       A. I'm not sure what you mean by             19       A. Could you repeat the question?
 20   "a database study."                              20       Q. Sure.
 21       Q. Okay. There were maternal                 21            If you look under males --
 22   interviews at 12 and 32 weeks during             22   well, let's start with all participants.
 23   pregnancy, correct?                              23            Do you see that part, where it
 24       A. That is correct.                          24   says "All participants, never sporadic,
 25       Q. Okay. And there were about                25   persistent," Dr. Cabrera?

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  1         A. Yes, I do.                               1   1,300 children that are behind that score,
  2         Q. So if you look at any of those           2   correct?
  3    for all participants, the total score is         3       A. You may want to ask that
  4    never positive and statistically significant,    4   question again.
  5    correct?                                         5       Q. Sure.
  6         A. So that's part of the data.              6            You're looking under males --
  7    There is significant effects in regards to       7       A. Yes.
  8    omission of errors. The total score is not       8       Q. -- with persistent use?
  9    significant.                                     9       A. (Witness nods head.)
 10         Q. Okay. And if you look -- then           10       Q. And is 21. That's 21 boys,
 11    they break it down by sex, right, between       11   correct?
 12    male and female children?                       12       A. That's correct.
 13         A. They do.                                13       Q. And then you're looking at the
 14         Q. Okay. And if you look at males          14   omissions and errors column, and you just
 15    with persistent use, it is -- the effect        15   cited to use the 1.56 from 1.09 to 2.24,
 16    is -- the score is 1.91, and it's               16   correct?
 17    significant, correct?                           17       A. Sorry. That's correct.
 18         A. To be clear, it's 1.91, and the         18       Q. Okay. And the -- that data is
 19    odds ratio crosses -- crosses 1. So that        19   based on 21 children of the 1,300
 20    would not be reported as significant,           20   participants, correct?
 21    although in the omission errors, the risk is    21       A. That is what it says, yes.
 22    1.56 and that is statistically significant.     22       Q. Okay. That's about, what, 1,
 23    It does not cross 1 with the confidence         23   1 and a half percent of the study population?
 24    interval of 1.09 to 2.24.                       24       A. Approximately.
 25         Q. Okay. And that's for 21 of the          25       Q. When Dr. Cabrera decided how to


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  1   weigh, quote/unquote, evidence like this, did    1      Q.      -- that row?
  2   Dr. Cabrera consider miniscule population        2             And we look at the total score,
  3   sizes within a larger study to give credit or    3   for 287 female children, the score is -- you
  4   discredit to a result like this?                 4   didn't like when I used the word
  5       A. I did not discredit the study             5   "protective," so you could use your own. But
  6   based on a small number of participants. I       6   it's protective and statistically
  7   considered the totality of data.                 7   significant, correct?
  8       Q. Okay. And the totality, with              8        A. It was deemed to be
  9   the total score, for all participants, as we     9   statistically significant and with a reduced
 10   saw above, was not significant, right?          10   risk.
 11       A. In regard to the CAST total              11        Q. Right.
 12   score, it was still an increased risk at        12             So if we were blindly
 13   1.91, but it was not significant based on the   13   practicing medicine and relying only on this
 14   confidence interval.                            14   study and we knew that our patient was going
 15       Q. Okay. And that's for males,              15   to have a girl, this would indicate we should
 16   but with all participants, when you consider    16   give sporadic dosing of acetaminophen
 17   males and females, it would -- it would be      17   throughout pregnancy to protect from autism,
 18   even more attenuated, right?                    18   correct?
 19       A. It was.                                  19        A. I would not practice medicine
 20       Q. Okay. And then if we look at             20   like that. And I hope no one else does
 21   females, and we look at -- let's take, for      21   either.
 22   example, sporadic use of acetaminophen during   22        Q. Doctor, based on this study and
 23   pregnancy.                                      23   this study alone, in this population, the
 24            Are you with me --                     24   mothers who were having girls who took
 25       A. Yes, I am.                               25   acetaminophen actually protected their

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  1   daughters from autism, according to this         1            And, in fact, when we look at
  2   dataset, correct?                                2   most of the human data that we have on
  3        A. There was a decreased risk with          3   acetaminophen and pregnancy, it was not
  4   sporadic use.                                    4   collected for that purpose at all, right?
  5        Q. And you just said if you could           5        A. I'm --
  6   prescribe medicine, you would not prescribe      6        Q. Did you say right?
  7   acetaminophen based on this one number, and      7        A. I don't understand the
  8   that you would agree that applies to any         8   question.
  9   number in any study, right?                      9        Q. Okay. Sure. Let me lay a
 10        A. I wouldn't propose that                 10   little more foundation for you.
 11   sporadic use should be used protectively        11            You cited and looked at several
 12   outside of its use to treat fevers, and in      12   ADHD, in particular, but some autism,
 13   which case it very well could provide a         13   database studies that looked at pregnancy
 14   protective effect.                              14   databases particularly in Norway and the
 15        Q. And you don't -- you don't make         15   Scandinavian countries, correct?
 16   a decision based on one of many findings        16        A. So maybe that's just a
 17   statistically in a study, correct?              17   difference in definition, but I think of
 18        A. To be clear, the expectation is         18   these as -- they're cohort studies.
 19   that none of the findings will be significant   19        Q. Okay. Cohort studies.
 20   or, if any, that they would only be whatever    20        A. Right. Database makes it sound
 21   the alpha is. So you would expect a false       21   like their virtual.
 22   discovery of, say, 5 percent of that data.      22        Q. Okay. Well, there's a dataset
 23            And so we consider all of the          23   that's based on -- in those countries, it's
 24   data under that -- under those understanding.   24   based on health registries because of
 25        Q. Right.                                  25   national -- you know, public insurance,


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  1    right?                                         1   and -- but the samples themselves are both
  2         A. I'm familiar, yeah.                    2   archived and analyzed because I've been part
  3         Q. Okay.                                  3   of the analysis for those samples as well.
  4         A. I've done some work with those         4       Q. Right.
  5    studies.                                       5            My point is, right now someone
  6         Q. Okay. So that data was                 6   could be running comparisons and studies
  7    collected by the -- by the government of       7   across that data for tons of outcomes, and we
  8    those countries not to study acetaminophen,    8   will never hear about them because they turn
  9    right?                                         9   out to not be anything, right?
 10         A. Similar to what we do here with       10       A. Well, you're saying if they're
 11    National Birth Defects Prevention Study,      11   negative results -- encouraged to also
 12    which we're also a part of, it's a            12   publish the negative results, but I couldn't
 13    surveillance. It's to surveil a population    13   say whether they would or wouldn't publish
 14    for adverse outcomes.                         14   them.
 15         Q. And they run and other                15       Q. Right.
 16    researchers run tons and tons of analysis     16            But by and large what gets
 17    across that data because it collects it for   17   published are -- even if there's negative
 18    everybody because it's a national insurance   18   results with them, it's the positive results
 19    program, right?                               19   that people find interesting and that make it
 20         A. I don't know that it collects         20   into the journals most likely, right, most
 21    it for everyone, but it does collect it for   21   often I should say?
 22    everyone that's part of the national health   22       A. Most often. I think it's
 23    care system.                                  23   common to like headlines, unfortunately.
 24             And it then goes into the            24       Q. Right.
 25    system that can be queried in that regard     25            And there's a name for that,

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  1   right?                                          1   was "yes," and then you gave me another
  2        A. What is the name for that?              2   example of clinical studies, right?
  3   Does it say it here?                            3        A. I -- that was my answer, so...
  4        Q. Publication bias, right,                4        Q. Okay. Fine, then I'll ask it
  5   Doctor? There's a name you -- people who do     5   again.
  6   this use, and it's called publication bias      6             Another example of publication
  7   for what we just discussed?                     7   bias is that if you have a study finding a
  8        A. Ah, in regards to being more            8   positive association and then a second one
  9   likely to publish positive findings, that       9   comes out, that first author sometimes might
 10   there's potential publication bias there. In   10   do a meta-analysis of the two and republish
 11   addition, there's potential publication bias   11   the same thing.
 12   for repackaging results to pile the            12             And they'll get published
 13   literature with a particular outcome.          13   again, and now it looks like there's three
 14        Q. And we see that sometimes with         14   studies and a meta-analysis when really it's
 15   meta-analyses of one or two studies that       15   just still just two studies, correct?
 16   really just repeat the same thing, but now     16        A. Is this a hypothetical?
 17   they're a meta-analysis, right?                17        Q. Yeah.
 18        A. Well, a specific example we see        18        A. If that happened
 19   quite often with clinical studies to try to    19   hypothetically, then it could create some
 20   promote the use of particular medications,     20   bias in the literature.
 21   this packing of the literature, but there is   21        Q. Okay. Let's go back to
 22   the potential for it in meta-analysis if you   22   literature.
 23   don't consider the same group publishing       23             How important was Exhibit 9 to
 24   multiple times.                                24   your causation opinion?
 25        Q. So the answer to my question           25        A. I'd say it was a study I


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  1    considered as part of -- part of the             1            So if you only had this paper,
  2    analysis, so...                                  2   Exhibit 9, would you say that acetaminophen
  3        Q. Which number in Table 3 is most           3   causes autism in human children?
  4    significant to you for your causation            4        A. I would say it was still
  5    opinion?                                         5   unclear.
  6        A. So my general question is, are            6            (Cabrera Exhibit 10 marked for
  7    there findings of increased risk in these        7        identification.)
  8    tables? And I see that there are increased       8   QUESTIONS BY MR. MURDICA:
  9    risks, particularly with persistent use in       9        Q. Let's take a look at another
 10    omission errors.                                10   one.
 11             So that would be a finding             11            Okay. Dr. Cabrera, I've marked
 12    that's consistent in the different groups in    12   and put in front of you Exhibit 10, and I'm
 13    omission errors.                                13   going to represent to you that it's a
 14        Q. And how do you balance that              14   Ji study from 2020.
 15    with the lack of findings in several of these   15            Do you have it?
 16    results and the opposite findings, the          16        A. I do, yes.
 17    protective findings?                            17        Q. Are you familiar with it?
 18        A. So in regards to the CAST score          18        A. Yes, I am.
 19    in particular, it's simply a matter of is --    19        Q. Do you rely on it in your
 20    are we consistently finding negative or         20   report?
 21    decreased risk in multiple studies, if you      21        A. Yes, I do.
 22    wanted to say that there was a protective       22        Q. Okay. Now, in Dr. Cabrera's
 23    effect. We could look for the same thing,       23   world, how important are cord blood studies?
 24    and so to consider that also, so...             24        A. It can be very important.
 25        Q. Right.                                   25        Q. Okay. And where do they fall

                                        Page 223                                            Page 224
  1    in your hierarchy of evidence?                   1      Q.       Preceding delivery, okay.
  2         A. If supportive, they provide              2             But immediately or close to
  3    strong evidence.                                 3   that preceding delivery depending on the
  4         Q. Okay. And do all cord blood              4   half-life of whatever is being studied,
  5    studies only capture the peripartum period of    5   right?
  6    time?                                            6       A. As a function of the half-life.
  7         A. Well, it could be pre or peri            7       Q. Okay. And you looked at the
  8    in regards to cord blood, depending on when      8   study already, right?
  9    the medication was administered.                 9       A. Yes, I have.
 10         Q. The cord blood studies that             10       Q. Okay. And was the cord blood
 11    you're aware of are taken around the time of    11   in this study collected specifically to study
 12    birth, though. This is not like a genetic       12   acetaminophen?
 13    testing in the first 15 weeks tests we're       13       A. Well, initially -- I don't know
 14    talking about, correct?                         14   that they were initially. I'm looking for
 15         A. So the collection of the cord           15   that, so...
 16    blood itself is perinatally, during delivery.   16       Q. Okay. Do you know how often
 17         Q. That's what I was asking you            17   the mother's exposure to acetaminophen during
 18    originally.                                     18   the pregnancies that resulted in the cord
 19             Okay. So what would be in the          19   were collected?
 20    cord blood would reflect -- depending on the    20       A. Could you repeat that question,
 21    half-life of whatever we're looking for, it     21   please?
 22    would reflect what was in the cord -- or what   22       Q. Sure.
 23    the cord was exposed to around the time of      23             Ultimately for however many --
 24    delivery, correct?                              24   so not everyone who was enrolled in this
 25         A. Preceding delivery.                     25   dataset ended up having harvested cord blood,


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  1   correct?                                          1   stratification, but I don't see specific
  2       A. That is correct.                           2   indication about other medication.
  3       Q. Okay. Only about a third                   3       Q. Right.
  4   actually had their cord blood harvested that      4            Dr. Cabrera, they never asked
  5   had been enrolled, correct, a little less         5   the mothers who -- whose cord blood was
  6   than a third?                                     6   sampled here whether they -- whether they
  7       A. To be clear, the math again is             7   took acetaminophen ever once or how often,
  8   mother-infant dyads at 3,163, so...               8   correct?
  9       Q. You're right. It's more like               9       A. I -- my understanding is, as
 10   two-thirds, not one-third, fair?                 10   indicated in my report, they did not ask.
 11       A. I -- yes, that's -- closer to             11   They measured for acetaminophen in the cord
 12   two-thirds, yes.                                 12   blood but didn't correlate that with a
 13       Q. Okay. And what measurements               13   recall.
 14   were taken throughout the pregnancy as to        14       Q. Right.
 15   exposures to different medications?              15            And another way -- so they
 16       A. So the information that they              16   didn't ask the mothers if they were exposed
 17   include in the study includes maternal age of    17   to acetaminophen. They also didn't ask them
 18   delivery, maternal race and ethnicity,           18   when they were exposed to acetaminophen,
 19   maternal education level, maternal status,       19   correct?
 20   stress during pregnancy, smoking before or       20       A. That is my understanding.
 21   during pregnancy, alcohol use before and         21       Q. Okay. So the only thing we
 22   during pregnancy, maternal BMI, parity, child    22   have from Exhibit 10 is this one snapshot of
 23   sex, delivery type, preterm birth and low        23   time right before delivery, correct?
 24   birth weight.                                    24       A. Well, we have acetaminophen
 25            And then there's additional             25   exposure or documented acetaminophen

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  1    exposure.                                        1   that came out of this study, but you know
  2         Q. Only at this one period, small           2   that many other things were studied other
  3    window of time at the very last hour of          3   than acetaminophen, right?
  4    pregnancy, correct?                              4        A. They did study other things --
  5         A. I disagree with that. It's not           5        Q. Okay.
  6    the very last hour --                            6        A. -- in this cohort.
  7         Q. Okay.                                    7        Q. And you just said, you know,
  8         A. -- but preceding pregnancy               8   it's probably a snapshot of the -- of the
  9    based on the half-life, which is a few hours.    9   half a day before delivery.
 10         Q. Okay.                                   10            They didn't ask the mothers
 11         A. And so the expectation is               11   whether they took acetaminophen for the
 12    within -- it would be reasonable to say half    12   initial pains of labor, right?
 13    a day of an exposure beforehand.                13        A. As far as I know, there -- they
 14         Q. Okay. And I asked you before            14   didn't ask the mom about medication usage in
 15    if this was intentionally -- if this study      15   regards to acetaminophen.
 16    was intentionally done to study                 16        Q. And you know that -- well, you
 17    acetaminophen.                                  17   haven't experienced personally, I assume, but
 18              Do you now -- do you now agree        18   you know that labor is painful, right?
 19    that it was just done to study any              19        A. I -- I've been told.
 20    metabolites in cord blood?                      20        Q. You know that one indication
 21         A. Based on the study criteria             21   for acetaminophen is pain, right?
 22    initially, it was to look at metabolites        22        A. I'm aware of that.
 23    in cord blood.                                  23        Q. Okay. Wouldn't you expect,
 24         Q. Right.                                  24   based on those two facts, that some women
 25              So this is -- this is one paper       25   would have acetaminophen in their cord blood


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  1   because they took acetaminophen shortly          1   the way to the hospital, what scientifically
  2   before they went to the hospital or on their     2   does that tell you about days in their
  3   way to the hospital until they got proper        3   pregnancy that they took acetaminophen for
  4   pain management?                                 4   other reasons?
  5       A. To be clear, if it was a --               5       A. Scientifically you can only
  6   that would be something similar to a random      6   draw assumptions about their behavior prior
  7   effect error. You wouldn't expect to find a      7   to that.
  8   dose-response with an outcome.                   8       Q. Right.
  9       Q. Well, I just --                           9            We really know nothing other
 10       A. Something like a random effect           10   than this one snapshot, right?
 11   error. A random exposure.                       11       A. Quantitatively, we don't know
 12       Q. Sure.                                    12   behaviors prior to that.
 13            Oh, and we're going to get to          13       Q. Okay. By the way, we're
 14   that. I'm just asking you as a                  14   talking about cord blood now, but on your --
 15   logical-thinking, breathing human being who     15   on Dr. Cabrera's hierarchy, is a cord blood
 16   knows a little something about the real         16   study better or less good than a meconium
 17   world, would it surprise you if mothers were    17   study for looking for pregnancy outcomes like
 18   taking acetaminophen for the pains of labor     18   this?
 19   before were properly treated as a -- at a       19       A. The, I think, meconium study is
 20   hospital?                                       20   better.
 21       A. If they didn't know the                  21       Q. Okay. All right. Let's get
 22   potential risks, then I could understand them   22   into this a little bit.
 23   taking it to help with the pain.                23            On Table 1, which is on journal
 24       Q. And if somebody takes                    24   page 184. Let me know when you're there.
 25   acetaminophen because of the pain of labor on   25       A. I'm -- Table 1, yes, I'm there.

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  1      Q.     Yeah.                                  1   issue, right?
  2            So what this is showing is for          2       A. Yes.
  3   the 998 mothers who had their cord blood         3       Q. Okay. So no developmental
  4   taken, this is some of that background           4   issue, only 8.9 percent of them were born
  5   information on basically demographics, right?    5   preterm, right?
  6        A. Yes. So it's -- Table 1 is               6       A. That's what it says, yes.
  7   titled "Maternal and child characteristics       7       Q. And then for developmental
  8   according to child physician-diagnosed           8   issues, for ADHD and ASD in particular, you
  9   conditions."                                     9   know, one is double, ADHD is double the
 10        Q. Right.                                  10   amount of the percentage of preterm birth,
 11            And for -- let's look at               11   and ASD is triple, correct?
 12   something like preterm birth.                   12       A. Approximately.
 13            Are you there?                         13       Q. Right.
 14        A. Yes.                                    14            And you'd expect that, wouldn't
 15        Q. Okay. So the babies who were            15   you? Because you know that preterm birth is
 16   born preterm have more than double rate --      16   one risk of developing ADHD and autism,
 17   actually, sorry.                                17   right?
 18            The babies who were born               18       A. There are potentially
 19   preterm, about 20 percent of them had ADHD      19   neurodevelopmental impacts from a preterm
 20   and 28 percent had autism, right?               20   birth.
 21        A. So 28.8 percent had ASD,                21       Q. Okay. And in Dr. Cabrera's
 22   autism, and 20.6 percent had ADHD.              22   opinion, are those causal, or are those still
 23        Q. All right. And that's                   23   under investigation?
 24   increased over the first column, right? The     24       A. In what capacity?
 25   first column is what? It's no developmental     25       Q. Is preterm birth something that


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  1   can be causally associated with ADHD and         1        Q. So smokers had a significant
  2   autism?                                          2   increase in ADHD and ASD as a proportion --
  3        A. I'd say those are associated.            3   as a percentage, right?
  4   I don't know that one causes the other.          4        A. There was a significant
  5        Q. Okay. Is that because you                5   difference in regards to smoking --
  6   haven't done a full Dr. Cabrera analysis on      6        Q. And --
  7   it yet?                                          7        A. -- and the outcomes.
  8        A. Because as far as I know in the          8        Q. And that's not a surprise to
  9   literature, there's association, and I           9   you because you know that ADHD and autism are
 10   haven't done the analysis either.               10   caused by smoking, right?
 11        Q. Okay. And association is not            11        A. I would say that there's --
 12   causation, right?                               12   there is an association with smoking and
 13        A. Association in itself is not            13   autism.
 14   sufficient for a causation.                     14        Q. Okay. So it's the same answer.
 15        Q. Okay. Let's look at maternal            15   There's an association, but you don't know
 16   smoking during -- before or during pregnancy.   16   for sure that a mom smoking throughout
 17            Do you see that? It's about            17   pregnancy causes autism or ADHD?
 18   halfway down the column.                        18        A. I haven't personally done a
 19        A. Yes, I do.                              19   Bradford Hill on that, but in regards to
 20        Q. Okay. And for a continuous              20   smoking, smoking has been contraindicated
 21   smoker, somebody who smoked throughout          21   during pregnancy as associated with various
 22   pregnancy, do you see that about 4 percent      22   neurodevelopmental and congenital outcomes.
 23   had no neurodevelopmental issue, 9 percent      23        Q. Okay. But you're not ready to
 24   had ADHD, and 10.6 percent had autism, right?   24   attribute causation yet, right?
 25        A. That is correct.                        25        A. Well, I would say it's a risk


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  1   factor.                                          1             I haven't -- I haven't asked,
  2       Q.    Okay. It's a risk factor.              2   and so I can't answer that question.
  3            In Dr. Cabrera's opinion, is            3       Q. But that's not defending war
  4   acetaminophen more likely to induce autism in    4   criminals, right?
  5   a pregnancy than continuous maternal smoking?    5       A. So Philip Morris isn't in the
  6       A. I would say if you wanted to              6   room, so that's -- it depends on who you ask.
  7   analyze the risk of autism, you should adjust    7       Q. All right. Let's go on to
  8   for maternal smoking as another risk factor      8   Table 2.
  9   because you wouldn't want to influence the       9             Let me know when you're there.
 10   outcome.                                        10       A. I'm there.
 11            So independently, I haven't            11       Q. Okay. So what Ji did is took
 12   compared them quantitatively with each other.   12   that -- took the acetaminophen metabolite
 13       Q. But you're going to -- you will          13   level in the cord blood from that one
 14   stand up and you will tell the judge in this    14   snapshot in time at delivery, correct?
 15   case that acetaminophen causes autism, but      15       A. They're analyzing the cord
 16   you won't stand up and say that continuous      16   blood that was collected during delivery.
 17   smoking during pregnancy causes autism?         17       Q. And in particular, they're
 18       A. I would say that there --                18   analyzing it for acetaminophen, right?
 19   they -- you have to modify as -- is it a risk   19       A. Acetaminophen and metabolites
 20   factor for causing ADHD and ASD if you're       20   of acetaminophen.
 21   analyzing autism. And I'm simply saying I       21       Q. Right. Right.
 22   haven't -- I haven't done, nor have I seen, a   22             They're using the metabolite as
 23   Bradford Hill on smoking and autism or ADHD     23   a proxy for acetaminophen, right?
 24   as an outcome. I'd have to look at that         24       A. Yes. And it's important to
 25   specifically.                                   25   note the metabolites also have a longer


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  1   half-life than just acetaminophen as well.       1             But they were even groups.
  2        Q. Okay. How much longer? Are we            2   It's not like there was a threshold for one
  3   talking days?                                    3   group and a threshold for another. They just
  4        A. Days.                                    4   broke it into three groups, right?
  5        Q. Weeks?                                   5        A. Well, it's a -- how
  6        A. Weeks is probably farther out            6   distributions work, you can just apply a
  7   than the metabolites would be expected, but      7   cutoff, and you end up with thirds based on
  8   some of them may be within weeks, not longer     8   the distribution of a normal distribution.
  9   than that.                                       9        Q. Right.
 10        Q. Okay. And then what Ji did is,          10             But it wasn't like we're going
 11   depending on the measurement of the cord        11   to ignore this group that has -- that has the
 12   blood acetaminophen metabolites, broke it       12   low level or anything like that. It was just
 13   into three groupings. Basically took            13   three even groups, right?
 14   every -- all 998 measurements, and not          14        A. So the group defines what a low
 15   everyone had acetaminophen, right?              15   level is.
 16        A. Yes.                                    16        Q. Okay. And it was broken up
 17        Q. Okay. Took the ones that did,           17   into three levels, right? The third tertile
 18   put them all in order, right, from least to     18   just meant the high -- the grouping of the
 19   most or vice versa, and broke it into three     19   highest levels of cord blood acetaminophen
 20   groups, right?                                  20   metabolite, right?
 21        A. So it's referred to as                  21        A. Yeah. So they're grouping
 22   tertiles. They've done an analysis and split    22   based on the tertiles, and the third group
 23   the group into three based on where they fell   23   appears to have the highest exposure.
 24   within the group.                               24        Q. In terms of the cord blood
 25        Q. Right.                                  25   measurement, right?

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  1        A. Yes.                                     1       Q. And that alone, even
  2        Q. Okay. So the third group had             2   Dr. Cabrera would not say that that is
  3   the highest exposure for whatever snapshot in    3   evidence that you would rely on that ADHD
  4   time the cord blood was able to capture          4   causes -- or sorry, that acetaminophen causes
  5   around -- right before delivery, right?          5   ADHD, correct?
  6        A. Yes.                                     6       A. Well, to be clear, that's one
  7        Q. Okay. And so then if we look             7   part of this data.
  8   at some measurements, the first tertile, that    8       Q. Yeah.
  9   ended up being our control, right?               9       A. And so if that was the only
 10        A. Yeah, they're giving that a             10   part, I would say that it would still be
 11   measure or odds ratio of 1, so that's our --    11   unclear. But that's -- it's not the only
 12   becomes our control.                            12   part. There's also the third tertile where
 13        Q. Right. And then so then we              13   there's -- where the risk continues to go up,
 14   look at the second and third tertile.           14   and that's where we see this
 15            And so let's look at, for              15   concentration-dependent effect or a
 16   example, the first piece of data in here.       16   dose-effect with risk.
 17   It's ADHD and -- in the second tertile for      17       Q. Yeah.
 18   unchanged acetaminophen.                        18            And so I said that alone, and
 19            And that is not statistically          19   you wouldn't rely on that alone. And don't
 20   significant, correct?                           20   worry, we're going to go through all of
 21        A. It's an increased risk, 1.48,           21   these.
 22   but it does cross -- it does cross 1.           22            So back to that second tertile
 23        Q. Okay.                                   23   number. The .92, the way statistics works is
 24        A. In regards to the confidence            24   it could very well be that the actual data
 25   interval.                                       25   there is that the risk effect is .92 below


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  1    the null, correct?                               1   acetaminophen in the second tertile, we see
  2         A. There's a miniscule possibility          2   something similar, right? 1.32, but not
  3    that it could be 0.92 based on the variation     3   statistically significant, correct?
  4    of the point estimate.                           4        A. I see 1.33 for the adjusted
  5         Q. Well, these are statistics. So           5   odds ratio.
  6    define "miniscule."                              6        Q. Oh, I have a pen mark over
  7         A. Well, the distribution is the            7   mine. So thank you.
  8    point estimate of 1.48 is the central            8             So then if we go down to -- and
  9    tendency. So that's where you would expect       9   then there's -- Dr. Cabrera, there's other
 10    it to be.                                       10   measures for the metabolites, right?
 11         Q. Right.                                  11        A. Yes, there are.
 12         A. The further you get away from           12        Q. And there's data reported for
 13    that, the less is the likelihood that those     13   each of those, right?
 14    numbers represent what the point estimate is;   14        A. Yes, there are.
 15    that the point estimate is the central          15        Q. So, for example, under
 16    tendency.                                       16   glucuronide, one of the metabolites, if there
 17         Q. Right.                                  17   was -- if it was detected -- and it was only
 18              And it very well could be             18   detected in 192 of them, right?
 19    there's a -- there's a small possibility that   19        A. Yes. Any detection, 192.
 20    it's 2.39, but there's an equally small         20        Q. They didn't break this down
 21    possibility that it's 0.92, correct?            21   into tertiles because the numbers were too
 22         A. Within the variation, those are         22   low, right?
 23    possibilities.                                  23        A. Well, because there's -- there
 24         Q. Okay. And if we look over to            24   was a no detection and any detection, and so
 25    the next column, for autism, and unchanged      25   they broke it down that way.

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  1       Q. Because only 192 had any                   1   but it was -- it could be considered not
  2   detection. So they didn't break it up             2   statistically significant.
  3   because the numerosity wasn't high enough,        3        Q. Right.
  4   right?                                            4             And, Dr. Cabrera, just to make
  5       A. Oh, in regards to tertiles?                5   this easier, the plaintiffs' counsel is going
  6       Q. Yeah.                                      6   to have an opportunity to ask you questions
  7       A. I can't say the decision on why            7   after I'm done, so you're going to get to
  8   they didn't break it into tertiles other than     8   talk about all the things that you think
  9   the fact that they had a what's referred to       9   support your opinion, if I forget to ask you
 10   as an unexposed group that was no detection.     10   about them or choose not to.
 11       Q. Okay. And if you look across              11             Okay?
 12   to -- they also measured ADHD and ASD            12             If you go down to cord
 13   together in the same patient, right?             13   acetaminophen burden, you understand that to
 14       A. They did group them.                      14   be a measure of the unchanged acetaminophen,
 15       Q. So in the third column for                15   the glucuronide and the acetyl cysteine
 16   that, when there's some detection of this        16   metabolite as well, right? The three that
 17   metabolite, it was, again, 1.55 from .053 to     17   they measured?
 18   4.15, not statistically significant, right?      18        A. The N-acetyl cysteine
 19       A. So to be fair, the adjusted               19   metabolite?
 20   odds ratio for ADHD was significant with an      20        Q. Yeah.
 21   increased risk of 2.25.                          21        A. Okay. I'm looking at that. Do
 22            And the adjusted odds ratio for         22   you have a question about it?
 23   ASD was also significant for 2.29, but ADHD      23        Q. So -- sorry. We're down in the
 24   and ASD, the adjusted odds ratio was 1.55,       24   last section of rows where it says "cord
 25   and it did cross 1. Also an increased risk,      25   acetaminophen burden"?


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  1        A. Okay. Yeah. So you're --                 1   increased risk for ADHD of 2.26, that's
  2   okay. We're skipping over N-acetyl cysteine?     2   significant statistically; an increased risk
  3        Q. Yeah. Yeah, my -- I mean, we             3   or odds ratio of 2.14, that is not
  4   can -- we can do it if you want, or you could    4   statistically significant; and then for ADHD
  5   do it with your counsel later, but I was just    5   and ASD, the odds ratio is 2.1, and it would
  6   going to ask you about the total                 6   be considered not statistically significant.
  7   acetaminophen burden.                            7        Q. Okay. And in the third
  8             And my question for you, and I         8   tertile, if we look over to ADHD and ASD
  9   think we got a little confused there, is the     9   together, the point estimate is positive, but
 10   total cord acetaminophen burden is all of --    10   that one is not statistically significant,
 11   it's the two metabolites they measured plus     11   correct?
 12   pure acetaminophen, right?                      12        A. And, again, for -- to cover all
 13        A. My understanding, they are              13   of the data --
 14   looking at all of the metabolites of            14        Q. Doctor, your counsel --
 15   acetaminophen in that regard. Total burden.     15        A. -- the third tertile --
 16        Q. Okay. And if we look in the             16        Q. Your counsel's going to --
 17   second tertile for autism and autism and ADHD   17        A. -- in the ADHD is 2.86, and
 18   together, we have positive point estimates      18   it's statistically significant. For ASD,
 19   that are not statistically significant,         19   it's 3.62, and it's statistically
 20   right?                                          20   significant. But for ADHD and ASD, it is
 21        A. In the second tertile?                  21   also an increase odds ratio, but it was not
 22        Q. Yes. For ASD and ADHD with              22   statistically significant. But it was an
 23   ASD.                                            23   increased odds ratio of 2.44.
 24        A. Okay. So just to be clear, the          24        Q. Okay. And, Doctor, when you
 25   points there for ADHD, there's a significant    25   were looking at this, did you -- were you

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  1   able to figure out the percentage of the cord    1       Q. Didn't you wonder what changed,
  2   acetaminophen burden that was the metabolites    2   which metabolite -- what was the burden of
  3   versus the unchanged acetaminophen?              3   the other two metabolites?
  4        A. As far as I know, I didn't see           4       A. Inasmuch as we can see that
  5   a -- quantitative values for them.               5   both of the other metabolites showed an
  6        Q. It's not reported, right?                6   increased risk when they were detected, or an
  7        A. I haven't seen that data.                7   increased odds ratio when they were detected
  8        Q. Okay. So you don't know, for             8   for ADHD, it appears that they were
  9   example, for ADHD in the second tertile for      9   driving -- that is, those longer-lived
 10   unchanged acetaminophen, it wasn't              10   metabolites are -- were driving that
 11   statistically significant, but when             11   increased risk.
 12   considering the total burden, it was,           12       Q. On a very -- on a comparatively
 13   correct?                                        13   small number of patients, right, compared to
 14        A. Can you repeat the question,            14   the unchanged acetaminophen?
 15   please?                                         15       A. Well, it's still the total
 16        Q. Sure.                                   16   number in the second tertile with the cord
 17             For ADHD -- for the outcome of        17   acetaminophen burden, but it appears to be
 18   ADHD --                                         18   enough to move the odds ratio to an increased
 19        A. Okay.                                   19   risk.
 20        Q. -- looking at the second                20       Q. Have you -- have you talked
 21   tertile, for unchanged acetaminophen, there     21   to -- do you know Yuelong Ji?
 22   was no statistically significant effect, but    22       A. I do not.
 23   for total acetaminophen burden for the second   23       Q. You've never communicated with
 24   tertile and ADHD, there was, right?             24   Yuelong Ji?
 25        A. That is correct.                        25       A. I did not.


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  1       Q. Okay. So you didn't ask any               1   metabolites, including the glucuronide and
  2   questions about this study, I take it?           2   the N-acetyl cysteine, which is, at least in
  3       A. I have not asked -- I have not            3   specific cases, would be indicating that it
  4   been in communication with the authors.          4   interacted with glutathione and that it's
  5       Q. Okay. Did you presume,                    5   actually -- you're detecting acetaminophen
  6   Dr. Cabrera, that this -- that the               6   and glutathione in the newborn's cord blood.
  7   acetaminophen present in the cord blood at       7       Q. Did Ji say that in the study?
  8   the time of birth, did you extrapolate that      8       A. I'm familiar enough with the
  9   in your causation analysis to the entire         9   biochemistry to understand that.
 10   pregnancy of this dataset?                      10       Q. You've testified before that
 11       A. To be clear, I took it at face           11   weeks 2 to 4 of the human pregnancy are the
 12   value in that it shows a                        12   most sensitive to neurodevelopmental outcomes
 13   concentration-dependent or referred to as a     13   like autism and ADHD.
 14   dose-dependent increase in risk.                14            Do you recall that?
 15       Q. Which could be eliminated,               15       A. Specifically for neural tube
 16   corrupted or completely attenuated in the       16   defects, those are the sensitive window for
 17   circumstance I described where a woman was      17   neural tube defects.
 18   taking acetaminophen for the pains of labor,    18       Q. Okay. You have no idea for
 19   right?                                          19   this dataset what acetaminophen, if any, each
 20       A. Well, you wouldn't expect that           20   of the 998 mothers took during weeks 2 to 4
 21   to result in an increased risk that was         21   of their pregnancy, correct?
 22   dose-responsive in that regard.                 22       A. Can you clarify what
 23            Moreover, the fact that there's        23   acetaminophen, if any?
 24   also increased risks associated with the        24       Q. Well, yes. I'll rephrase.
 25   longer-lived half-lives of the other            25            Dr. Cabrera, for each of the

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  1   998 women whose cord blood were measured in      1   have a longer half-life, and those wouldn't
  2   the study, you don't know if they took           2   be on the order of hours. It would be days.
  3   acetaminophen in weeks 2 to 4 of their           3       Q. Right.
  4   pregnancies at all, correct?                     4             And if they -- if the exposure
  5       A. I have no way of determining              5   was days for the longer half-life, it would
  6   whether they took medication during the first    6   be at a very low dose because days before it
  7   trimester of pregnancy.                          7   would be depleting as the half-lives went,
  8       Q. You don't know if they were               8   right?
  9   exposed to acetaminophen during any of the --    9       A. Not necessarily inasmuch as
 10   of the relevant periods of brain development    10   there's evidence and -- not yet in humans,
 11   that even you would testify to, other than      11   but in, I believe, the ewe, which is a --
 12   this one day before they gave birth, correct?   12   lamb studies, that showed that these
 13       A. I would say this data is                 13   metabolites may actually be circulating in
 14   actually most consistent with a third           14   the uterine environment and swallowed and
 15   trimester exposure. I wouldn't be               15   then recirculated by the -- by the developing
 16   comfortable saying that it included any         16   fetus.
 17   exposures before that.                          17             They can actually by and large
 18       Q. You only know that they were             18   accumulate there.
 19   exposed one time within six to eight hours      19       Q. That's a -- that's a
 20   before the cord blood was taken, right?         20   hypothesis, correct, Dr. Cabrera?
 21       A. In regards to the unchanged              21       A. That's -- it hasn't been shown
 22   acetaminophen, that is the correct              22   in humans, but it has -- it has been shown
 23   assumption.                                     23   that those metabolites are found in lambs.
 24            In regards to the metabolites,         24       Q. Okay. Understanding that
 25   as I've already indicated, the metabolites      25   they've been found in lambs, Dr. Cabrera,


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  1   you're not going to testify in front of this      1   for metabolite -- metabolism of
  2   Court that that's a mechanism of action here      2   acetaminophen.
  3   that you could say with certainty, correct?       3            And you don't disagree with
  4        A. I can't say that it works just            4   that, right?
  5   like that in humans. There's a study on it        5       A. The predominant -- the majority
  6   in lambs.                                         6   of acetaminophen one consumes would be
  7        Q. All right. If you turn to                 7   metabolized by the liver, which is why
  8   page 187 of this, we're under Limitations.        8   there's increased risk for hepatotoxicity.
  9             You see the Ji identified what          9       Q. Okay. And one more question on
 10   we're just talking about, that a limitation      10   this, and then we can move on.
 11   is that it was only a one-time measurement of    11            Yeah, we can take a break.
 12   acetaminophen, and it at most reflects           12            Back on page 181, Ji notes in
 13   maternal use -- may at most reflect maternal     13   here -- and this is in 2020 he's noting this.
 14   use of acetaminophen during the peripartum       14   The American Academy of Pediatrics grand
 15   period.                                          15   rounds concluded there's no definitive causal
 16             You agree with that, right?            16   link between acetaminophen exposure and ADHD.
 17        A. As I indicated for free                  17   That was in 2020.
 18   acetaminophen, that's -- that is correct.        18            I take it you disagree now with
 19        Q. Okay. And Ji doesn't say                 19   the American Academy of Pediatrics, right?
 20   anything else about the metabolites, other       20       A. You didn't tell me exactly
 21   than what I just read to you, right?             21   where you're reading that from.
 22        A. Not that I've read in the                22       Q. Oh, I apologize, Dr. Cabrera.
 23   study.                                           23   I use my finger-pointing right here.
 24        Q. Okay. And one other thing that           24       A. Okay. All right.
 25   Ji says is that liver is the primary location    25       Q. My question to you is, you


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  1    disagree with the American Academy of            1            MS. KING: How's that?
  2    Pediatrics as reported by Dr. Ji here, right?    2            MR. TRACEY: Yeah, that's good.
  3        A. I -- inasmuch as this is part             3       It was nothing. Now it's something.
  4    of the introduction, they're saying prior to     4            MR. MURDICA: I tried. Didn't
  5    this study that the American Academy of          5       work.
  6    Pediatrics grand rounds concluded that there     6   QUESTIONS BY MR. MURDICA:
  7    was no definitive causal link between            7       Q. All right. Dr. Cabrera, are
  8    acetaminophen exposure and ADHD.                 8   you ready to proceed?
  9             MR. MURDICA: Okay. We can               9       A. Yes, I am.
 10        take a break. Thank you, Dr. Cabrera.       10       Q. Okay. Earlier this morning
 11             VIDEOGRAPHER: Off the record,          11   when we talked about the various reports
 12        2:21.                                       12   you've submitted, two of them were your
 13         (Off the record at 2:21 p.m.)              13   original report, and then the amended report
 14             VIDEOGRAPHER: The time is              14   you submitted a week later.
 15        2:41 p.m. Back on the record,               15            Do you remember those
 16        beginning of Media 5.                       16   questions?
 17    QUESTIONS BY MR. MURDICA:                       17       A. Yes, I do.
 18        Q. Welcome back, Dr. Cabrera.               18       Q. Okay. And your testimony was
 19             Are you ready to proceed?              19   that you made some typographical changes but
 20        A. Yes, I am.                               20   nothing substantive, right?
 21        Q. Okay.                                    21       A. That's correct.
 22             MR. TRACEY: How about sound?           22            (Cabrera Exhibits 11 and 12
 23        I need the sound on.                        23       marked for identification.)
 24             MR. MURDICA: Oh, I'm muted.            24   QUESTIONS BY MR. MURDICA:
 25        All right.                                  25       Q. Okay. Marked as Exhibit 11 and


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  1   12 are your original report and your amended     1       A. Yes.
  2   report.                                          2       Q. Okay. In the chart on the
  3            Do you have those in front of           3   amended report, is the Saunders study in
  4   you now, Doctor?                                 4   there?
  5        A. Yes, I do.                               5       A. I do not see it.
  6        Q. Okay. What I'd like you to do            6       Q. Is it on the original?
  7   is turn to page 135 in the original report,      7       A. I -- yes, it is.
  8   which is the taller stack.                       8       Q. And in the original, it's in
  9        A. Okay.                                    9   the chart, and then if you look at the text
 10        Q. Okay. Let me know when you're           10   following it, turn -- if you turn the page --
 11   there.                                          11       A. Oh, yeah.
 12        A. I'm there.                              12       Q. -- there's a description of
 13        Q. Okay. You have a section,               13   Saunders as well, right?
 14   weight of evidence for the APAP, ASD studies?   14       A. Yeah, I think it was a -- it
 15        A. Yes.                                    15   was a typo because there's not a description
 16        Q. Okay. And then you have a               16   of Saunders.
 17   chart on the next page.                         17       Q. Okay. Dr. Cabrera, Saunders
 18        A. Yes.                                    18   didn't help you, right?
 19        Q. Do you see that?                        19            Saunders found no correlation
 20        A. Yes.                                    20   between acetaminophen exposure and autism,
 21        Q. Okay. Now, I want you to open           21   correct?
 22   the amended report to the same section --       22       A. Well, it's two different
 23        A. Okay.                                   23   questions. Which one do you want me to
 24        Q. -- which I think is -- you got          24   answer?
 25   it?                                             25       Q. Okay. How about this? I'll

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  1   start over.                                      1       A. Yes, exactly.
  2            Saunders found no correlation           2       Q. You weren't cherry-picking data
  3   between acetaminophen exposure in utero and      3   and realized you didn't like it?
  4   autism, correct?                                 4       A. It wasn't about cherry-picking
  5       A. They did not.                             5   data. It was just that the -- when I was
  6       Q. Okay. And you had it in your              6   formatting the table, that should have been a
  7   original report, correct?                        7   Liew citation with a hyperkinetic syndrome,
  8       A. Yes, it was.                              8   and it ended up being a Saunders.
  9       Q. And then it is -- it is not in            9       Q. And somehow the word "Saunders"
 10   your current report, correct?                   10   just showed up there?
 11       A. That's correct.                          11       A. Well, I was reviewing the
 12       Q. Okay. And you only made                  12   Saunders work as well, and that's how it
 13   typographical changes in your amended report,   13   ended up in the table.
 14   correct?                                        14       Q. So it turns out Saunders is not
 15       A. Yes. And to clarify, the                 15   considered in your weight of evidence,
 16   information that's listed there with Saunders   16   correct?
 17   is not the correct Saunders information, so     17       A. It was part of my analysis.
 18   that's why it was removed. That is, the         18       Q. It was?
 19   information that follows Saunders is not        19       A. Yes.
 20   Saunders information.                           20       Q. But now it's no longer in the
 21       Q. Okay. What is it?                        21   section on weight of evidence?
 22       A. I believe that's actually a              22       A. Well, no longer in that they
 23   spillover from Liew.                            23   didn't have a significant increase in risk in
 24       Q. Okay. So Saunders 2019                   24   that section.
 25   shouldn't have been in there from the start?    25       Q. So because they didn't have a


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  1   significant increase in risk, it wasn't         1   name was referencing the wrong study or the
  2   included in your weight of evidence?            2   study didn't match the reference, those had
  3       A. It was part of the weight of             3   to be corrected. There were, you know,
  4   evidence.                                       4   editorial changes because it -- basically I
  5            In regards to that particular          5   typed the wrong name there.
  6   study, it was referencing the wrong study,      6       Q. And now I'm asking you about
  7   and so that's the reason why Saunders was       7   something different now, Dr. Cabrera. You
  8   removed.                                        8   also made changes, additions, substantive
  9       Q. Do you recall any other                  9   additions, in your description of the
 10   substantive changes you made in your amended   10   meconium study, right?
 11   report?                                        11       A. I mean, if we want to look at
 12       A. That wasn't substantive --              12   those particularly, we can discuss them.
 13            MR. TRACEY: Objection to form.        13       Q. I'm asking if you remember.
 14            THE WITNESS: It was the fact          14            Do you remember that?
 15       that it wasn't referencing the right       15       A. I did make some other changes
 16       material too.                              16   in regards to similar problems with the
 17   QUESTIONS BY MR. MURDICA:                      17   tables that I had to correct.
 18       Q. Do you recall changing your             18       Q. Okay. You don't recall making
 19   description of Baker 2020?                     19   any other changes than to two tables?
 20       A. There -- for the tables,                20       A. I just said I had to make
 21   there were other editorial typos in the        21   similar changes to tables that --
 22   tables that I had to correct as well.          22       Q. Right. Sorry. You know what,
 23       Q. Okay. But it included                   23   that was a poor question.
 24   substance, right?                              24            Other than changes to tables,
 25       A. Well, you know, inasmuch as the         25   you don't recall making any other substantive

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  1    changes in your amended report.                1   description, right above results, you don't
  2             Is that fair?                         2   have anything -- or sorry.
  3        A. I didn't make substantive               3            Do you see the limitation
  4    changes. It was -- these were typos on my      4   section?
  5    part where I had referenced the wrong study    5       A. On 138?
  6    with the wrong data.                           6       Q. Yeah, in your original report.
  7        Q. Okay. You can put those aside           7       A. Yes.
  8    for now.                                       8       Q. Okay. Compare that to your
  9             Oh, you know what, while you          9   amended report.
 10    have it, turn to page 136 in the original     10       A. I did add additional
 11    report. Where's the current report? This is   11   information regarding the meconium.
 12    the original. Where's the current? This is    12       Q. Okay. So that was -- that was
 13    the current?                                  13   not an adjustment to a table, right? That
 14             Okay. If you -- in your              14   was a substantive change, Doctor.
 15    description -- in your original report,       15       A. Well, I don't know about
 16    Exhibit 11, on page 138, you have a           16   substantive. It was just to define what the
 17    description of Baker, right?                  17   exposure in meconium represents.
 18        A. Yes.                                   18       Q. It would also offer as an
 19        Q. Okay. And then in your amended         19   opinion about what meconium can capture,
 20    report, on page 138, you have a description   20   correct?
 21    of Baker.                                     21       A. Well, it's more or less by
 22             Right?                               22   definition of what meconium has been reported
 23        A. Yes.                                   23   to capture, but I didn't include a reference
 24        Q. Okay. Now, if you look at the          24   in that regard. It's just generally
 25    third paragraph from the bottom of your       25   understood.


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  1        Q. It's not -- was not -- was not           1   exposure. The other would not have. And you
  2   a typo and was not fixing a table with a         2   see if they end up having the same or
  3   typo, correct?                                   3   different outcomes, right?
  4        A. That is correct.                         4       A. So based on what's referred to
  5        Q. Okay. All right. Let's move              5   as discordant siblings, you can perform an
  6   on.                                              6   analysis that way.
  7            In study design, one thing that         7       Q. Yeah.
  8   can account for something like genetics,         8            And you looked at a study that
  9   which here is -- well, you agree that for ASD    9   did just that with respect to human beings
 10   and ADHD, genetics is, even you'd agree, the    10   and ADHD, correct?
 11   predominant influence on the outcome, right?    11       A. I did.
 12        A. It depends on the case.                 12       Q. And what's it called?
 13        Q. Okay. It has 80 to 90 percent           13       A. It was -- I assume you're
 14   inheritability, right, both ASD and ADHD?       14   referring to the Gustavson study.
 15        A. In twinning studies, there have         15       Q. I am.
 16   been some studies that have reported            16            MR. MURDICA: We'll take --
 17   inheritability as high as 80 or 90 percent.     17       we'll mark it as Exhibit 13.
 18        Q. Okay. One way in a study                18            MR. TRACEY: What exhibit
 19   design to account in a situation like this      19       number?
 20   where you'd expect a large genetic component    20            MR. MURDICA: 13.
 21   is to have sibling controlling, right?          21            (Cabrera Exhibit 13 marked for
 22        A. That is a potential study               22       identification.)
 23   design for controlling such things.             23   QUESTIONS BY MR. MURDICA:
 24        Q. And one sibling would have been         24       Q. Now, Dr. Cabrera, this dataset,
 25   exposed to an outcome -- sorry, to an           25   the same dataset had previously been examined

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  1   by the same authors and found an association     1   an adjusted hazard ratio of 2.77, was
  2   between ADHD and acetaminophen exposure in       2   statistically significant.
  3   the Norwegian health care database, right?       3            At the between family level,
  4       A. Yes, they have.                           4   the -- and adjusted hazard ratio of 1.06,
  5       Q. And this Gustavson study                  5   which was not statistically significant, the
  6   incorporated a sibling control design like we    6   confidence interval was 0.51 to 2.05 at the
  7   just discussed, right?                           7   within family level.
  8       A. This study did, as did the                8       Q. Right.
  9   previous study.                                  9            And you agree that a sibling --
 10       Q. And when -- and the previous             10   a sibling -- a controlled study is better
 11   study, you're referring to Ystrom, right?       11   than an uncontrolled study, right?
 12       A. Yes.                                     12       A. I generally teach the
 13       Q. Okay. And in Gustavson, when             13   controls -- having controls is important for
 14   the sibling control was looked at, the effect   14   studies.
 15   of acetaminophen in correlation with the        15       Q. And sibling control in
 16   outcome of ADHD was completely attenuated or    16   pregnancy outcomes is one manner of control,
 17   went away in layman's terms, right?             17   right?
 18       A. So to be clear, under the --             18       A. That is an approach to doing
 19   long-term exposure was associated with a        19   these studies.
 20   twofold increased risk of ADHD diagnosis, and   20       Q. Okay. And that result, even to
 21   the adjusted hazard ratio is 2.02,              21   the authors here, was surprising, right?
 22   statistically significant.                      22            MR. TRACEY: Object to form.
 23            In the sibling control model,          23            THE WITNESS: What do you mean
 24   the association between long-term               24       by that result?
 25   acetaminophen use and ADHD in the child was     25


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  1   QUESTIONS BY MR. MURDICA:                        1   Table 2 on page 7 of 10 of Exhibit 13, you
  2       Q. Did the -- when sibling control           2   would see that when you look at acetaminophen
  3   was applied, even though in Ystrom, it didn't    3   use of 29 days or more and its correlation
  4   attenuate the effect. In Gustavson in the        4   with ADHD, it was 2.02, and it was
  5   same database on the same data with it just      5   significant, right? That would be the fourth
  6   more updated, it did, right?                     6   column over.
  7            Would you like me to --                 7            Model 2 -- you can look at
  8       A. My reading of this is they                8   model 1 unadjusted or model 2 adjusted. Both
  9   indicate that these results must be              9   found a positive correlation or an
 10   interpreted with caution and need to be         10   association that was significant, right?
 11   replicated in other studies.                    11       A. They're both reporting a
 12       Q. And while we're on that topic,           12   significant increase --
 13   replication is one of the most important        13       Q. Right.
 14   things you can have when trying to determine    14       A. -- in the hazard ratio.
 15   a causation of an effect to an exposure,        15       Q. And then if you look at the --
 16   correct?                                        16   when sibling control was applied in the next
 17       A. Just to clarify, replication             17   column over, regardless of the number of days
 18   is important, yes.                              18   acetaminophen was used during pregnancy,
 19       Q. Okay. Isn't that one of the              19   the -- there's no effect, and it's not
 20   things you most try to do in order to prove     20   significant, right?
 21   an effect?                                      21       A. When they controlled for family
 22       A. Generally in science you expect          22   effect, the hazard ratio was 1.06 and was not
 23   results to be repeatable.                       23   significant.
 24       Q. Right.                                   24       Q. And if you look at the two rows
 25            Okay. And so if you look at            25   above that, for lower durations of use of

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  1    acetaminophen in the pregnancy, it's the        1       Q. Well, we know of siblings,
  2    same, right? There's not a positive effect,     2   right -- if you look at a pair of siblings,
  3    and it's not significant, right?                3   or a dyad or triad or whatever you want to
  4        A. That is correct.                         4   call it, we know in this study what was
  5        Q. Okay. And that, to a                     5   looked at was one that was -- the same
  6    geneticist or somebody who speaks about         6   mother, right? This was not an adoption
  7    genetics like yourself, when you have a         7   study?
  8    complete attenuation of a large -- a            8       A. (Witness nods head.)
  9    statistically significant effect by applying    9       Q. They both had the same mother,
 10    sibling control, that speaks to this being a   10   correct?
 11    genetic -- a genetic cause, does it not?       11             You've got to say it for the
 12        A. It does not specifically speak          12   transcript.
 13    to that. And there's multiple reasons for      13       A. Yes. My understanding is
 14    that.                                          14   they both have the same mother at least.
 15             To begin with, when adjusting         15       Q. One was exposed to
 16    for these sibling control, you're only         16   acetaminophen during the pregnancy, and one
 17    adjusting for those factors that are shared.   17   was not, correct?
 18    You're not adjusting for those factors that    18       A. So to be clear, that's based on
 19    may be unshared, and it's one of the           19   the reporting. Even that is a problem with
 20    weaknesses with these studies.                 20   the sib-pair design in that it's more likely
 21        Q. Okay.                                   21   that the exposure would be both, but they're
 22        A. So unshared environmental               22   reported as discordant. And that's potential
 23    factors between the two individuals that are   23   grounds for error as well in these studies.
 24    discordant is a problem because you're         24       Q. Every study that you rely on in
 25    missing them.                                  25   your analysis, Dr. Cabrera, relies on


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  1   reported acetaminophen usage, does it not?       1   through 28 days together and then more than
  2       A. That is correct, and that                 2   29 days together.
  3   generally biases towards the null. And so        3       Q. And you, Dr. Cabrera, as a
  4   the criticism there is actually that that        4   teratologist, would be much more interested
  5   would bias the study toward the null. In all     5   in data that actually identified the days and
  6   of those studies as well.                        6   the lengths of exposure for each particular
  7       Q. According to Dr. Cabrera.                 7   day in pregnancy, correct?
  8       A. According to statistics and               8       A. The -- I would like -- I would
  9   epidemiology.                                    9   like data that showed the particular time
 10       Q. Everybody who reported                   10   during pregnancy and what's also referred to
 11   acetaminophen usage in the studies was doing    11   as dose and duration as well. And so --
 12   so based on memory, correct?                    12       Q. It would be much more -- oh,
 13       A. I mean, could have been an app           13   sorry, go ahead.
 14   on their phone. I don't know exactly what       14       A. And so this is showing duration
 15   their recollection was based upon. A lot of     15   but not necessarily the dose during that
 16   them are referred to as recall. So however      16   duration.
 17   manner of recall that they used to recall       17       Q. And most -- if we looked at
 18   what they had taken previously.                 18   every study in your report that evaluated
 19       Q. And like this study, they                19   human data, most of them -- not all of them,
 20   generally lump the days together into the       20   but most of them did just this, right?
 21   number of days' use without regard for          21       A. That is to say other studies
 22   whether it was at day 47 or day 90 of           22   also reported dose based on duration.
 23   pregnancy, right, or later?                     23       Q. Right.
 24       A. As far as the exposures go,              24            And it would be much more
 25   they lump, you know, 1 through 7 days and 8     25   illuminating for you as a teratologist to see

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  1   exactly what the pregnancy was exposed to at     1   potential problem as well, and inasmuch as in
  2   the exact morphological time of the embryo,      2   their unadjusted model and their adjusted
  3   correct?                                         3   model, there's increased risk -- there's
  4       A. I would say it would be more              4   cause for concern that they may be
  5   informative to have both dose and duration,      5   overadjusting, as I already mentioned, in
  6   but duration is -- can also be considered a      6   regards to unshared environment variables.
  7   dose in that it's a longer period of             7       Q. Unless Dr. Chung is right and
  8   exposure.                                        8   this is a genetic disease, right,
  9       Q. Right.                                    9   Dr. Cabrera?
 10            But seven days, Dr. Cabrera, if        10       A. There's no data to show that
 11   it was, you know, pregnancy day 3 to 4 and      11   this is strictly a genetically caused
 12   then not again for four months for one day      12   disease.
 13   and not again for three months for one day,     13       Q. Okay. Did you rely on any
 14   that's not really meaningful to you as a        14   other sibling-controlled studies?
 15   teratologist, right?                            15       A. I did review the previous
 16       A. When the seven -- or one to              16   Gustavson study, the group that preceded this
 17   seven-day exposure occurs would also be         17   one.
 18   informative.                                    18       Q. Yeah. It was Brandlistuen. I
 19       Q. Right.                                   19   said it wrong before. Brandlistuen, not --
 20            Okay. So back to the sibling           20       A. Yes. And I also reviewed
 21   control. You are criticizing the sibling        21   Brandlistuen as well.
 22   control design, but it's better than no         22       Q. Okay. And this could not -- on
 23   control, right?                                 23   the same dataset, this didn't replicate
 24       A. Well, if you're overcorrecting           24   Brandlistuen on sibling control, right?
 25   and you're biasing towards the null, that's a   25       A. Well, to be clear, Brandlistuen


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  1   actually looked at different endpoints. And      1   sibling-based designs.
  2   so there were some overlapping endpoints, but    2       Q. Yeah, I didn't say which were
  3   they also looked at different endpoints.         3   the best. I said, you are aware that
  4        Q. Okay. And Gustavson explains             4   regulatory bodies recognize sibling-control
  5   why the outcome was different this time,         5   as superior to not using sibling-controlled,
  6   right?                                           6   correct?
  7        A. They do have some -- they                7       A. I'm not aware of that.
  8   propose some reasons why they may have been      8       Q. Okay. And did you find any
  9   different, and one of them was also loss of      9   adoptive studies that evaluated acetaminophen
 10   power because it's based on the discordant      10   exposure?
 11   siblings that have the particular outcomes.     11       A. I did not.
 12        Q. And the passage of time and the         12       Q. Did you read Dr. Chung's
 13   improvement of monitoring and things like       13   report?
 14   that, right?                                    14       A. I have.
 15        A. Potentially.                            15       Q. Okay. Did you see her citation
 16        Q. Okay. Even though you                   16   to an adoption study?
 17   criticize sibling control, regulatory           17       A. I -- if I did, I hadn't --
 18   authorities recognize it as a -- something      18   didn't notice she had a reference to an
 19   that is positive for trying to find a real      19   adoption study.
 20   association versus a non-real association,      20       Q. Okay. In your work, Doctor, on
 21   correct?                                        21   SSRIs for the plaintiff's Bar, did you
 22        A. I don't agree with that.                22   encounter what the European regulatory
 23   Typically, it's actually the adoption studies   23   authorities said about the association or
 24   that carry the most weight in regards to        24   lack thereof between SSRIs and autism?
 25   separating gene environment interactions, not   25       A. I'm not familiar with the

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  1   European statement on that regard.               1   it's 27 of the document on the bottom. It
  2       Q. Okay. Did you ever render an              2   says 27 of 140. They agreed that sibling
  3   opinion that SSRIs cause autism?                 3   study design to be the most appropriate to
  4       A. I have not.                               4   examine such risks in relation to exposure
  5       Q. Okay. Did you ever render an              5   during pregnancy.
  6   opinion that SSRIs cause ADHD?                   6             And I take it you dis -- you've
  7       A. I have not.                               7   just testified you disagree with that, right?
  8           (Cabrera Exhibit 14 marked for           8        A. As I indicated, there is risk
  9       identification.)                             9   for biasing towards a null with those study
 10   QUESTIONS BY MR. MURDICA:                       10   designs.
 11       Q. Doctor, I've marked as                   11        Q. Okay. You don't have better
 12   Exhibit 14 a PRAC document. You may not be      12   data that's better controlled than what we
 13   familiar with what PRAC is, but it's a risk     13   just looked at in Gustavson, correct?
 14   assessment committee from the European          14        A. Is this a quality assessment?
 15   Regulatory Authority.                           15   I don't have other sib-paired data in that
 16           And do you have that in front           16   regard. I think as far as dose effects, we
 17   of you?                                         17   can look at Baker and Ji, and they provide
 18       A. Yes, I do.                               18   very strong data in regards to those types of
 19       Q. And I only marked it because             19   interactions.
 20   they were looking -- and I know you've opined   20        Q. Right.
 21   on SSRIs before. They were looking at           21             But just in a human study like
 22   whether SSRIs can cause autism, and they        22   Gustavson, you don't have better control than
 23   determined that it -- the evidence does not.    23   the sibling control present in Gustavson,
 24           But in the context of a drug            24   right?
 25   exposure and autism, they suggest on page --    25             If you do, point me to it.


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  1        A. Well, I think the unmatched               1   undertaken and what happened when they
  2    control in Gustavson itself speaks for itself    2   applied the model. And so that is a concern
  3    in regards to that it demonstrates that          3   with sib-pair design that's understood,
  4    there's an increased risk. The application       4   generally, as in reference to my report as
  5    of the sib-pair, or particularly the             5   well.
  6    in-family design, as I've already indicated,     6        Q. All right. Did you call on
  7    can bias towards the null, and that's a --       7   that group at all? Did you contact them in
  8    that's a cause for concern.                      8   any way?
  9        Q. And your testimony here is that           9        A. I have not.
 10    you believe it did bias towards the null, so    10        Q. Okay. Did you let them know
 11    you do not accept it in your analysis,          11   your feelings that what it reflects instead
 12    correct?                                        12   is bias?
 13        A. Oh, I accept it, but I accept            13        A. I wasn't opining about my
 14    it with the understanding that that's one of    14   feelings.
 15    the risks of doing the sib-pairing design.      15        Q. Okay. Well, I mean, if you're
 16        Q. Okay. That it is your                    16   genuinely concerned about what you think is
 17    belief -- Dr. Cabrera believes that a           17   causation, wouldn't you go try to tell
 18    sib-pair design has a risk that it biases       18   people, talk to the -- talk to the scientists
 19    towards the null, right?                        19   who found the opposite?
 20        A. That's correct.                          20        A. If I thought they had an error
 21        Q. And did Dr. Cabrera do any               21   in the study, then I may reach out to them,
 22    analysis whether that, in fact, happened in     22   if not the editor; more likely the authors
 23    Gustavson?                                      23   first. But it's not that it's an error, I
 24        A. Simply I went over their data            24   think it's even understood by the people
 25    analysis and noticed the design that they've    25   conducting the study that that is a risk.

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  1         Q. Okay. You have no specific               1   of it.
  2    facts based on Gustavson to challenge the        2       Q. And you came to the opposite
  3    sibling control. You just have concerns          3   conclusion of what Gustavson came to in your
  4    generally about the methodology and bias,        4   final analysis, correct?
  5    right?                                           5       A. My --
  6         A. No. Gustavson, I think,                  6            MR. TRACEY: Object to the
  7    identifies that that's a potential risk in       7       form.
  8    the study itself, and I'm happy to find that     8            Robert, read him the conclusion
  9    for you.                                         9       of the authors so we can disaviews
 10         Q. Potential risk, right?                  10       {sic} everybody of what they actually
 11         A. Potential risk, yes.                    11       said instead of Murdica's version.
 12         Q. Okay. So how did you -- how             12            MR. MURDICA: Hey, Sean, if you
 13    did that factor into your analysis, something   13       want to testify, I'll put you under
 14    that powerful? Did you write it off?            14       oath. But you can't tell the witness
 15         A. I wrote up the Gustavson study.         15       where to go and what to do in the
 16    It's in my report.                              16       middle of an examination whether
 17         Q. You wrote it up, or you wrote           17       you're here or not. I'm sorry, but
 18    it off?                                         18       you can't.
 19         A. No, I wrote the study up in my          19            MR. TRACEY: Okay. Then I'll
 20    report.                                         20       object to the form. You're
 21         Q. Okay. Okay. But then you                21       misrepresenting what the authors said.
 22    discredited the findings.                       22       And the easiest way to do this is to
 23         A. I didn't discredit them. I              23       look at what they said.
 24    weighed them based on my understanding of       24            MR. MURDICA: Okay. Thank you,
 25    that study design and potential limitations     25       Sean. I appreciate the advice. Send


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  1         me a bill.                                  1        A. I calculated an animal
  2    QUESTIONS BY MR. MURDICA:                        2   equivalent dose.
  3         Q. All right. Dr. Cabrera, where            3        Q. Right.
  4    publicly have you ever espoused your view        4        A. And I also calculated a human
  5    that sibling-control design is not a good way    5   equivalent dose.
  6    to control a study because of the risk of        6        Q. Right.
  7    bias?                                            7            And I saw in your rebuttal
  8         A. I haven't performed a sib-pair           8   report that you acknowledged, I believe --
  9    design myself, and so that's not something I     9   well, let me ask you this.
 10    needed to voice publicly. But there's           10            Do you acknowledge that the
 11    literature in that, both in the reference       11   guidance that you cited was for calculating
 12    literature and in the published literature,     12   an initial safe dose for a first-in-human
 13    about limitations, and I reference that in      13   trial --
 14    my report as well.                              14        A. That --
 15         Q. Okay.                                   15        Q. -- where there's only animal
 16         A. My supplemental report.                 16   evidence available?
 17         Q. You, Dr. Cabrera, haven't               17        A. That is one application of that
 18    published any such thing, correct?              18   calculation.
 19         A. Not specifically in that                19        Q. Well, it's the very title of
 20    regard, I have not published on that.           20   the document. That's what it says it's for,
 21         Q. All right. Let's talk a little          21   right?
 22    bit about dose.                                 22        A. As I indicated, it is the title
 23             You, Dr. Cabrera, used FDA             23   of the document.
 24    guidance to calculate an animal equivalent of   24        Q. Okay. And you, Dr. Cabrera,
 25    a human equivalent dose, correct?               25   then took, even though there's human data,

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  1   you reverse-engineered it back to mouse dose      1   not because it's abused or taken with
  2   to determine what a safe dose was, right?         2   something else?
  3        A. There's no reverse-engineering.           3       A. Because even at clinically
  4   It's simply math. You can multiply or you         4   recommended dosages, there's been reports of
  5   can divide, and you can then use the scaling      5   increase in liver enzymes consistent with
  6   between animals and humans to determine           6   liver damage.
  7   whether it's a human equivalent dose or an        7       Q. Dr. Cabrera, regardless of what
  8   animal-equivalent dose.                           8   you think of the approved dose -- and I agree
  9        Q. Right.                                    9   every regulator in the world disagrees with
 10            But in this instance,                   10   you, and you're entitled to your opinions,
 11   acetaminophen has been -- we're not doing        11   but I'm entitled to ask about them.
 12   first-in-human trials, right?                    12            There is an approved, safe
 13        A. It was not a first-in-human              13   human dose, correct?
 14   trial.                                           14       A. There is a recommended dose.
 15        Q. We know what a safe human dose           15       Q. Okay. And the guidance that
 16   is, right?                                       16   you're using is for when there's not a
 17        A. That's open for debate.                  17   recommended human dose, correct?
 18        Q. Okay. Well, for 60-plus years,           18       A. The title of that document is
 19   our regulatory authorities have told us what     19   in regards to selecting a dose using
 20   a safe human dose is, right?                     20   allometric scaling between an animal and a
 21        A. And they apparently got that             21   human.
 22   wrong, but that's the reason why it's the        22       Q. Okay. So when you already know
 23   most frequently caused cases of acute liver      23   the human dose, why not -- why are you still
 24   failure.                                         24   using the model for calculating a safe dose
 25        Q. Because the dose is wrong and            25   for a first-in-human trial?


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  1        A. Because allometric scaling               1            What else do you have over
  2   still applies.                                   2   there?
  3        Q. Okay. Is this -- is this FDA             3       A. I've already showed you. This
  4   guidance? Have you used it ever outside the      4   is my documents that I've already referenced
  5   context of litigation?                           5   in my report.
  6        A. I mean -- just using as an               6       Q. Okay.
  7   example, this is -- actually, it's not even      7       A. I gave you the ones that you
  8   open for debate. If you look at the label in     8   don't have. And you have that label.
  9   the Ofirmev, which I've also referenced, and     9       Q. Okay. So this is -- you're
 10   I think we would all agree that at this time,   10   referencing a label for acetaminophen that
 11   they understood what a recommended dose was.    11   doesn't get processed by the liver?
 12   They used the example here in mice of 357 mgs   12       A. It's a IV acetaminophen.
 13   per kg per day, 715 mgs per kgs per day, and    13       Q. Right.
 14   1,430 mgs per kgs per day.                      14       A. And part of the utility in that
 15            And then they report that as,          15   calculation would also include an injection
 16   "These doses are approximately 0.43, 0.87 and   16   volume, if you wanted to do the calculation
 17   1.7 times the maximum human daily dose          17   that way.
 18   respectively based on a body surface area       18       Q. Doctor, you can use whatever
 19   comparison."                                    19   tortured method you want. I just got to get
 20            That is allometric scaling.            20   a record on it.
 21        Q. Okay. Did I ask you about               21            So you just showed me an IV
 22   that, whatever you're reading?                  22   application, right?
 23        A. That's exactly what you just            23       A. So to be clear, the dosing
 24   asked me about.                                 24   there is an oral dose that's using allometric
 25        Q. Okay. Can I have that folder?           25   scaling.

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  1            The label is for an IV drug.            1       A. Yes. That is -- this is the
  2   The maximum recommended human dose is based      2   standard. As it was written into that label,
  3   on oral exposure, and the data that they're      3   that is what is used.
  4   studying is at animal oral exposure --           4       Q. Okay. When have you used this
  5       Q. I --                                      5   guidance that we're talking about to
  6       A. -- based on a NTP guideline               6   calculate a first-in-human dose?
  7   study.                                           7       A. Well, not a first-in-human
  8       Q. I agree it's based on oral                8   dose. I use the table for allometric
  9   exposure.                                        9   scaling. It's literally posted on my wall at
 10            IV medication does not first           10   work, and we use it to adjust doses. It's
 11   get processed through the small intestine and   11   based on human exposures to convert them to
 12   absorbed into the liver -- absorbed through     12   animal dosages.
 13   the small intestine and processed first in      13       Q. Okay. And you don't look at
 14   the liver, correct?                             14   the recommended -- what do you look at, the
 15       A. Yes, that is correct.                    15   recommended human dose --
 16       Q. Okay.                                    16       A. Yes.
 17       A. That had nothing to do with              17       Q. -- of an approved drug?
 18   allometric scaling.                             18       A. Yes.
 19       Q. Have -- do you know of -- my             19       Q. Okay. You've never used it in
 20   original question was whether, outside of the   20   the way that the guidance is spelled out; in
 21   context of litigation, you've used this FDA     21   other words, for first-in-human?
 22   guidance to calculate either a human dose or    22       A. We use the allometric scaling
 23   an animal dose. And I don't think -- I don't    23   table, which is consistent with the way it's
 24   think you answered that.                        24   used in the literature, which is consistent
 25            What's your answer?                    25   with the way it's used in other labels, if


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  1   you go and you look through the literature.      1   per meter square metabolism differences
  2             Even for the acetaminophen             2   between humans and animals.
  3   label, they're using allometric scaling to       3        Q. Right.
  4   determine the maximum human daily dose and       4            So you skipped the safety
  5   then convert that to an animal equivalent        5   factor part, right?
  6   dose.                                            6        A. You don't -- you don't -- the
  7        Q. And you saw that all of our --           7   safety factor part is part of first-in-human
  8   all of the defense experts criticized your --    8   dosing. The allometric scaling is not only
  9   the way you calculated the animal dose and       9   used there, but it's also used in EPA
 10   said that you're essentially giving them        10   guidance in regards to power calculations for
 11   toxic doses, right? You just disagree?          11   converting for animal to human dosage.
 12        A. Well, they suggested that               12            It's used throughout the
 13   applying a safety factor would be required      13   literature. It's used throughout labels. If
 14   for just the allometric scaling, and you        14   you pull out any label, you'll see the type
 15   don't need an allometric scaling.               15   of calculation that I did.
 16             The whole idea to find a              16        Q. Okay. So you just disagree
 17   safe-in-human dose would be if you've already   17   with the defense experts' criticism of the
 18   tested in animals and you know the NOAEL,       18   way you calculated that?
 19   then you could then calculate a human dose,     19        A. I think they're
 20   apply tenfold less. That's your tenfold         20   misinterpreting.
 21   safety factor, and then apply that for          21        Q. Okay. Well, you just mentioned
 22   first-in-human studies.                         22   EPA. So let's look at EPA guidance -- or not
 23             That's how that safety factor         23   EPA guidance.
 24   applies. That's not specific to the             24            AOP 20, which we were talking
 25   allometric scaling, which is based on mixed     25   about before, which your counsel now has a

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  1    copy of, is marked as -- I believe it's         1   groups including sulfhydryl groups of
  2    marked as Exhibit 1.                            2   proteins involved in the protection against
  3              If you turn to --                     3   oxidative stress.
  4    unfortunately, Doctor, these pages are not      4       Q. Right.
  5    numbered the way they appear.                   5            And so it goes from the MIE to
  6              So -- well, I have it, but I --       6   the key event to the adverse outcome, right?
  7    if you're able to turn to Appendix 1. It's a    7   That's how you get an adverse outcome
  8    little after that. It's maybe 20 --             8   pathway, fair?
  9         A. There's pages at the top.               9       A. Well, each one of the key
 10         Q. Okay.                                  10   events is indicated by biological
 11         A. Maybe yours is stapled. Under          11   organization, and -- but, yeah, you would --
 12    your staple. Under your binder.                12   you would generally follow the key events
 13         Q. Oh, they're on that side.              13   towards an adverse outcome.
 14              26, Doctor. Okay. You see it         14       Q. Right.
 15    says Appendix 1, and it talks about the MIE    15            And the MIE is what you start
 16    and KE and AO, right?                          16   with, right?
 17         A. Yes.                                   17       A. In this example, they're
 18         Q. Okay. The MIEs are listed              18   described here as molecular-initiating
 19    first, right?                                  19   events.
 20         A. Yes, they are.                         20       Q. All right. And then
 21         Q. And that is the binding of             21   molecular-initiating event here is the
 22    essentially glutathione, right?                22   binding of the thiols by methylmercury
 23         A. Well, this is sulfhydryl               23   chloride, mercury chloride and acrylamide,
 24    groups, so it doesn't necessarily mean         24   right?
 25    glutathione per se, but it's sulfhydryl        25       A. Those are three -- three


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  1   examples of stressors that can initiate these    1   in my question?
  2   events.                                          2        A. I'm just clarifying.
  3        Q. Right.                                   3        Q. Okay. And there's three
  4             And it doesn't say                     4   stressors listed here. One is acetaminophen,
  5   acetaminophen is one of the MIEs here to         5   one is chloroform, and one is furan, right?
  6   initiate the event with the -- with binding      6        A. That's correct.
  7   of thiol, right?                                 7        Q. Okay. And do you know how
  8        A. It's listed as a stressor later          8   chloroform works?
  9   in this study.                                   9        A. In what capacity?
 10        Q. Not for this MIE, correct?              10        Q. As a stressor.
 11        A. It's not -- it's not under this         11        A. I haven't looked into it
 12   MIE.                                            12   specifically.
 13        Q. Okay. So if you -- if you now           13        Q. Okay. Did you look at the
 14   turn to the page with the top 42. Now, this     14   references underlying this key event in the
 15   is -- this is the next step in the cascade.     15   AOP?
 16   This is the key event, right?                   16        A. Yes, I did.
 17        A. It's oxidative stress. So it's          17        Q. Okay. And do you remember what
 18   a key event in this pathway.                    18   it showed?
 19        Q. Right.                                  19        A. I'd have to look at them
 20             First you have the MIE, right?        20   specifically.
 21   So the thiols were bound. Now, you have the     21            (Cabrera Exhibit 15 marked for
 22   key event of oxidative stress, right?           22        identification.)
 23        A. This is a key event that occurs         23   QUESTIONS BY MR. MURDICA:
 24   in the pathway.                                 24        Q. Let's take a look. This is
 25        Q. Okay. Did I say anything wrong          25   Exhibit 15.

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  1            Doctor, you now have in front           1   right, in -- on page 42 of the pathway?
  2   of you Exhibit 15. This, I'll represent to       2        A. It is not.
  3   you, and I can show you if you need to, is       3        Q. But chloroform is?
  4   one of the references for this section of the    4        A. That's correct.
  5   AOP.                                             5        Q. And in your report, you have
  6            And it's what's specifically            6   lots of drawings of molecules,
  7   referenced for acetaminophen, chloroform and     7   representations of them.
  8   furan as stressors, and you can see it's         8            Do you know the difference
  9   listed in the references.                        9   between chloroform and carbon tetrachloride?
 10            Have you seen this before?             10        A. Not off the top of my head.
 11        A. I believe I did see this                11        Q. Do you know what chloroform
 12   reference when I was going through the AOP.     12   looks like molecularly?
 13        Q. Okay. And do you consider               13        A. I couldn't draw it for you
 14   ethanol an oxidative stressor?                  14   right now if you asked.
 15        A. It can produce oxidative                15        Q. Okay. Do you have a chemistry
 16   stress.                                         16   degree?
 17        Q. Okay. And when I asked you              17        A. I have a background in
 18   before about carbon tetrachloride as an         18   chemistry.
 19   oxidative stressor, do you remember your        19        Q. Okay. The things in your
 20   answer?                                         20   report that are drawings of molecules, did
 21        A. You had asked me if it was in           21   you copy those from somewhere?
 22   the pathway. I told you I wasn't sure I had     22        A. If I referenced them, then
 23   seen that in the pathway previously.            23   there would be reference for those studies.
 24        Q. I think you said yes, but               24        Q. If the pictorial representation
 25   regardless, it's not -- it's not listed here,   25   is in the report, you didn't draw those,


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  1    right?                                           1            So in any event, going back to
  2        A. It's likely I'm referencing in            2   Exhibit 15, if you turn to the second page
  3    the studies.                                     3   which has 64 on the top -- sorry, we're back
  4        Q. Okay. So if I asked you to                4   on this. Sorry.
  5    draw a carbon tetrachloride right now, you       5        A. Oh, we're going back.
  6    couldn't?                                        6        Q. Did I give you the wrong one?
  7        A. Carbon tetrachloride I could              7   It's Jackson. I believe it's 15.
  8    draw.                                            8        A. What -- which reference are we?
  9        Q. Okay.                                     9        Q. Jackson.
 10        A. That's a simple compound.                10        A. What number?
 11        Q. Okay. But chloroform you                 11        Q. 15, I believe.
 12    couldn't?                                       12        A. 15. Okay.
 13        A. I might not get it right. If             13        Q. Flip the page.
 14    this is a -- I don't study chloroforms, so --   14        A. Yes.
 15        Q. Okay.                                    15        Q. It's the second page.
 16        A. -- how different it is from              16            I'm going to represent to you
 17    carbon tetrachloride, I'm not sure.             17   that this is -- the only mention of
 18        Q. It's very similar.                       18   acetaminophen in any of the references is
 19        A. Okay.                                    19   right here for why it's included as a
 20        Q. It's only one small difference.          20   stressor.
 21        A. And that, I'm not sure about.            21            Do you see in that paragraph it
 22        Q. Okay. One of the -- one of the           22   says low-molecular-weight ligands including
 23    chlorines are replaced with hydrogen.           23   ethanol, acetaminophen, carbon tetrachloride,
 24        A. Okay. I could draw that.                 24   chloroform, furan, increase CYP2E's --
 25        Q. Yep. Okay.                               25   CYP2E1's half-life from 7 to 32 hours?

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  1         A. I do see that statement, but it          1   non-hepatocarcinogens.
  2    also specifically mentions acetaminophen,        2       Q. All right. It's not about
  3    particularly in Figure 2, in regards to          3   oxidative stress, right? It's about the
  4    interactions.                                    4   half-life and the hepatocarcinogenicity?
  5         Q. All right. Well, I apologize             5       A. Well, to be clear, CYP2E1 is an
  6    if I missed that.                                6   oxidation pathway, so it is actually about
  7             Figure 2?                               7   oxidation, yes.
  8         A. Yes.                                     8       Q. Right.
  9             It's listed as APAP multiple            9            But nowhere in here does it
 10    times.                                          10   come to the conclusion that acetaminophen is
 11         Q. Okay. You're looking at the             11   an oxidative stressor in this article, right?
 12    first and third line?                           12       A. Well, by simply saying it is
 13         A. Multiple times. It's listed             13   oxidized by CYP2E1, it becomes an oxidative
 14    both under the CYP2E1 ligands based on          14   stressor. It's -- that's -- that pathway is
 15    clustering analysis, if we're looking at risk   15   called oxidation.
 16    of cancer generation and inflammation.          16       Q. And you see in this -- in
 17         Q. Right.                                  17   Figure 2 where it's CYP2E1 ligands, it's
 18             And this is listing the                18   talking about six-hour half-life, right?
 19    lengthening of the half-life, right? That's     19   That's how it's labeled, 300 milligrams
 20    what this figure is about?                      20   per kilogram, six hours?
 21         A. This looks like it's comparing          21       A. In that example, there's a
 22    gene expression that results from these         22   12-hour. There's 24-hour, and then there's
 23    exposures that reflect liver cancer, liver      23   also a six-hour, and my --
 24    regeneration or CYP2E1 ligand interactions      24       Q. Oh, you're looking above?
 25    and hepatocarcinogens and                       25       A. -- understanding is there's


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  1   clustering -- that's right.                      1        A. That -- that's the product of
  2        Q. You're looking above. Okay.              2   the oxidation of acetaminophen is NAPQI.
  3   Okay.                                            3        Q. And we'll talk about this
  4             So you think on the basis of           4   later, but NAPQI is bound by glutathione if
  5   the presence in that figure is why it's          5   it's produced in the liver, correct?
  6   listed as a stressor in this adverse outcome     6        A. Not entirely, but that is the
  7   pathway?                                         7   primary antioxidant that normally would
  8        A. The fact that it's metabolized           8   absorb.
  9   by CYP2E1 and then consumes glutathione in       9        Q. And in this -- in this --
 10   the production of NAPQI is why it's listed      10        A. NAPQI.
 11   there as being part of an oxidative stressor.   11        Q. In this AOP, the first event
 12   Quite literally, that pathway of CYP2E1, it's   12   was binding the thiols, and then you're
 13   an oxidation pathway.                           13   stressing it with acetaminophen or some other
 14        Q. But, Doctor, this doesn't say           14   stressor as listed here, right? So the
 15   NAPQI anywhere in this article or in this       15   thiols are already gone?
 16   chart, right? That's your -- that's what you    16        A. So the -- this stressor as
 17   were saying, separate and apart from this       17   listed is oxidation, and so acetaminophen can
 18   article, right?                                 18   produce oxidation, and it produces oxidation
 19        A. CYP2E1 is an oxidation pathway,         19   through being oxidized by CYP2E1, so it
 20   so being metabolized by CYP2E1, the process     20   itself becomes a stressor.
 21   is called oxidation. That's why it's part of    21        Q. In this pathway, the stressor
 22   this pathway.                                   22   is applied after the first event, which was
 23        Q. Yes.                                    23   the heavy metal, correct?
 24             And I just asked you if NAPQI         24        A. If you -- if you wanted to
 25   is anywhere in this article.                    25   start with a mercury exposure, then

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  1   acetaminophen could be a risk factor in          1            Otherwise it wouldn't be in the
  2   regards to the outcome for heavy metal           2   fetus.
  3   exposure.                                        3       Q. In the cord blood?
  4            What I've done is shown that            4       A. In the -- in the -- yeah, in
  5   acetaminophen is also reducing the amount of     5   the cord blood of the fetus.
  6   glutathione, even at clinical levels in          6       Q. Okay. Just because of its
  7   humans, and that that's an oxidative stressor    7   mere -- because of its presence, which could
  8   consistent with the AOP 20.                      8   have appeared just before the time of
  9       Q. And you've shown that not in              9   sampling, that's your theory?
 10   your own work, right?                           10       A. It's not a theory. It's there.
 11       A. I've shown that --                       11       Q. Oh, Doctor, I know -- I believe
 12       Q. You mean in your report?                 12   that you believe all of the opinions that
 13       A. -- in this report.                       13   nobody else agrees with in the entire world.
 14       Q. Okay. And you saw the -- every           14   I believe you believe them. I'm just trying
 15   defense expert who works on this stuff          15   to get a record.
 16   disagrees with you because they say that        16            MR. TRACEY: Objection.
 17   there's plenty of glutathione to process the    17       Argumentative.
 18   maximum recommended dose with a 90 percent      18            MR. MURDICA: There's not a
 19   margin of excess glutathione, right?            19       pending question, Mr. Tracey.
 20       A. Well, to be clear, we just               20   QUESTIONS BY MR. MURDICA:
 21   looked at a study, if you recall, and they      21       Q. Okay. So the ultimate part of
 22   had N-acetyl cysteine APAP detected in the      22   this pathway is the outcome, and the outcome
 23   cord blood, and so clearly there's not enough   23   here is something you attribute to autism,
 24   glutathione to soak up all of the               24   right?
 25   acetaminophen or the NAPQI.                     25       A. It's not just a -- what I


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  1   attribute. It's consistent with the OECD         1   models and regarding the oxidative stress
  2   guidelines as I indicated in my report.          2   that caused neurodevelopment disorders, the
  3        Q. Okay. So the outcome of this             3   AOP indicates oxidative stress, and I'll
  4   pathway is, in part, autism according to         4   quote, "Has also been linked to
  5   Dr. Cabrera, correct?                            5   neurodevelopmental diseases and deficits like
  6        A. The -- no. As the pathway                6   autism spectrum disorder and postnatal
  7   reads, it's an impairment of learning and        7   coordination motor deficits."
  8   memory in the AOP, but the AOP also offers       8       Q. And you rely on this AOP for
  9   guidance in what that means.                     9   your causation opinion on autism, right?
 10             And that guidance, which I'll         10       A. So I apply that AOP to see if
 11   be happy to read into the record, has also      11   there's any gaps in the mechanism for
 12   been linked to neurodevelopmental diseases      12   understanding whether there's a biological
 13   and deficits like autism spectrum disorder      13   plausibility.
 14   and postnatal motor coordination deficits.      14       Q. Right.
 15        Q. Okay. So you would link it to           15            And the outcome here is
 16   autism through this AOP, correct, and you do    16   learning disability, right?
 17   in your report; is that fair?                   17       A. Impairment of learning and
 18        A. So those are based on the OECD          18   memory.
 19   guidelines.                                     19       Q. Impairment of learning and
 20        Q. Do you agree, yes or no? You            20   memory.
 21   would link this -- you would link this AOP to   21            And you use this outcome and
 22   autism, and you do in your report, correct?     22   extrapolate it to autism and ADHD, correct?
 23        A. Consistent with the OECD                23       A. So to be clear, it's not just
 24   guidelines, I would say that impairments in     24   my extrapolation. It's consistent with OECD
 25   learning and in memory in children and animal   25   guidelines on what have also been linked

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  1   with these -- with these outcomes.               1   plausibility.
  2       Q. I understand that.                        2       Q. Okay. Are you -- is there some
  3            But you also -- you you can             3   reason you can't give a direct answer to my
  4   read what you read, but you also --              4   question? Do you find this compelling for
  5   Dr. Cabrera extrapolates it to autism as well    5   autism as an outcome in this pathway or not?
  6   in your report, right?                           6       A. As indicated, these -- and I'm
  7       A. I -- the testing that is used,            7   happy to, you know, speak specifically to
  8   some of those also measure the same              8   that. The testing in the animals, they
  9   developmental neurotoxicity guideline testing    9   produce core behaviors that are consistent
 10   that are also -- that are also included in      10   with what we refer to as autism core
 11   autism core behaviors and in animals as well.   11   behaviors in the animal. So that's part of
 12       Q. Right.                                   12   the animal impacts.
 13            So you took all of that, and           13            Those parallel to human. And
 14   you extrapolated this AOP to autism for your    14   so there is a parallel there. I'm not
 15   causation opinion, right?                       15   extrapolating. It's just a parallel.
 16       A. I used it to see if there                16       Q. Okay. And that parallel is why
 17   was -- to identify whether there was deficits   17   you used AOP 20 for your causation opinion as
 18   in the mechanistic cascade as part of           18   to autism, right, among other things?
 19   biological plausibility for my causality        19       A. Among other things.
 20   analysis.                                       20            MR. MURDICA: Okay. Let's mark
 21       Q. And you found this compelling            21       this as 16.
 22   for your causality analysis for autism,         22            (Cabrera Exhibit 16 marked for
 23   correct?                                        23       identification.)
 24       A. I found that there weren't gaps          24   QUESTIONS BY MR. MURDICA:
 25   in the data in regards to a biological          25       Q. Doctor, did you know that this


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  1   was -- that AOP 20 was rejected with respect     1       Let's go off the record and handle
  2   to autism before its publication?                2       that.
  3       A. I have not seen this --                   3             VIDEOGRAPHER: Off the record,
  4       Q. Okay. So --                               4       3:40.
  5       A. -- internal review.                       5        (Off the record at 3:40 p.m.)
  6       Q. So this is new to you; that               6             VIDEOGRAPHER: The time is
  7   they specifically rejected connecting it to      7       3:56 p.m., back on the record.
  8   autism?                                          8       Beginning of Media 6.
  9       A. I haven't seen this document              9   QUESTIONS BY MR. MURDICA:
 10   that you've just given me.                      10       Q. Dr. Cabrera, are you ready to
 11       Q. Okay. Do you want to take some           11   proceed?
 12   time to look at it? Because I'll represent      12       A. Yes, I am.
 13   to you that AOP 20 originally had an outcome    13       Q. Okay. Welcome back.
 14   of autism, and it was rejected for lack of      14             Dr. Cabrera, what's in front of
 15   validity.                                       15   you is marked Exhibit 16, and before we get
 16            MS. KING: Do you have a copy?          16   into it, I have some questions for you.
 17            MR. MURDICA: I don't. I only           17   You -- we've talked a lot about AOPs today.
 18       have my copy.                               18             Have you ever been part of an
 19            THE WITNESS: Do you want to go         19   AOP review?
 20       off the record? We can make copies          20       A. I have not.
 21       and --                                      21       Q. Okay. Have you ever submitted
 22            MR. TRACEY: Yeah, make a copy          22   an AOP yourself for review?
 23       of it and read it, Robert. And              23       A. I have not.
 24       somebody send me a copy.                    24       Q. Okay. Is the -- are you
 25            MS. JOHNSTON: No problem.              25   familiar with the review process that AOPs go

                                       Page 315                                             Page 316
  1   through?                                         1            Do you know if that's someone
  2       A. Yes, I am.                                2   in the Canadian government?
  3       Q. Okay. Is it from reading this             3       A. It looks like they might be,
  4   document, or did you know beforehand?            4   that canada.ca, or is that -- yes.
  5       A. I actually -- there was a                 5       Q. It may -- it may be
  6   presentation on it this year at Birth Defects    6   governmental, right, Doctor?
  7   Research Prevention, and I had lunch with the    7       A. Maybe.
  8   person that had just submitted an AOP, so we     8       Q. Okay. And the secondary
  9   talked about it extensively.                     9   reviewer, number 1, is someone who appears to
 10       Q. So in other words, you were at           10   be from some regulatory body in the
 11   a conference and somebody -- another attendee   11   Netherlands potentially?
 12   explained to you the process because they       12       A. I'm not sure what rivm is
 13   were going through it?                          13   related to.
 14       A. Well, I was already familiar             14       Q. Okay. But the third reviewer,
 15   with it, but then he also gave me a firsthand   15   the secondary reviewer, number 2, you know
 16   account.                                        16   where that person is from, right?
 17       Q. Okay. And you see on the first           17       A. Yes.
 18   page of Exhibit 16, there are reviewers,        18       Q. And where is that?
 19   right?                                          19       A. Their domain is epa.gov.
 20       A. Yes.                                     20       Q. Okay. And I take it you've had
 21       Q. And there's a primary reviewer           21   a chance to review this document now --
 22   and two secondary reviewers, correct?           22       A. Yes, I have.
 23       A. That's what I see, yes.                  23       Q. -- on the break?
 24       Q. Okay. And the first one has an           24            Okay. And you understand it to
 25   e-mail extension of @canada.ca.                 25   be the review of AOP 20, correct?


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  1       A. I do.                                     1   should not be autism, correct?
  2       Q. And this was a prepublication             2        A. I think the, you know -- my
  3   review, right?                                   3   reading, we can do particular quotes if you
  4       A. Yes.                                      4   want, but my reading of it is that if it's
  5       Q. Okay. And one of the things we            5   going to be autism, they need to state that
  6   see is that AOP 20 had been copied from          6   it's autism. If it's going to be as
  7   another AOP, correct? Based on your review,      7   endpoints in impairment to learning and
  8   does that -- what it appears to have been?       8   memory, then they need to make it impairment
  9       A. It sounds like it was modified            9   to learning and memory, to pick one.
 10   from an existing one.                           10        Q. And they need to have the data
 11       Q. Right.                                   11   to back it up if they're going to keep autism
 12            It was essentially copied,             12   in, correct?
 13   pasted and then modified, right, with a         13        A. Yeah, there was some
 14   different MIE?                                  14   conversation in regards to what it would
 15       A. Potentially. I didn't get the            15   mean -- what changes would be required if it
 16   specifics of that in my reading, but it         16   was autism as opposed to learning and memory.
 17   sounded like at least part of it was used in    17        Q. And, in fact, the author's
 18   this AOP.                                       18   response was, quote, "We can totally remove
 19       Q. And one of the -- and you                19   the autism aspect and consider only learning
 20   correct me where I'm wrong here, but I'm just   20   and memory impairment, for which there is
 21   trying to make it easier so we can get          21   enough experimental support."
 22   through it.                                     22             Correct? Do you see that?
 23            One of the main points of              23        A. If you're doing a quote, I'm
 24   feedback from all reviewers is that the         24   not sure what page you're on.
 25   outcome in this pathway that's explained        25        Q. I wish I could tell you.

                                       Page 319                                             Page 320
  1   They're not numbered. I can show you my          1       know.
  2   copy. It's right there.                          2             MR. MURDICA: Okay. You're
  3            So my question is, the author           3       defending the deposition in person?
  4   of AOP 20 in response to the feedback on         4             MS. KING: Yes.
  5   removing autism from the three reviewers         5             MR. MURDICA: Okay. Is Sean
  6   said, quote, "We can totally remove the          6       okay?
  7   autism aspect and consider only learning and     7             MS. KING: It's okay. It's
  8   impairment for which there is enough             8       okay. I'm sorry to interrupt. I just
  9   experimental support."                           9       wanted to -- everybody to know if I
 10            Did I read that correctly?             10       start talking, that's why.
 11       A. That is a correct reading.               11             MR. MURDICA: Okay. All right.
 12       Q. Okay. Did you know before we             12       We can take a break at any time if
 13   sat here today that AOP 20 didn't have enough   13       necessary, and we're all fine with
 14   experimental support to include autism as an    14       that.
 15   outcome?                                        15             MS. KING: It's okay. I'm
 16       A. I hadn't seen this study prior           16       good.
 17   to you showing this internal review. I          17   QUESTIONS BY MR. MURDICA:
 18   hadn't seen this internal review.               18       Q. Okay. I believe you would put
 19       Q. Okay. All right. We can put              19   them all in the categories of biologic
 20   that aside.                                     20   plausibility, but you proposed several
 21            In your report, you have               21   mechanisms, I would say, by which
 22   numerous potential proposed pathways?           22   acetaminophen could affect neurologic
 23            MS. KING: I'm sorry, I just            23   outcomes in your report, right?
 24       got that text. So I'm taking over           24             Let me give you some examples.
 25       now, if that's okay. Just letting you       25             You proposed that


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  1    acetaminophen, as we just talked about with      1      Q.     Right.
  2    the AOP, could cause oxidative stress via        2            And the effect on the cells in
  3    depletion of glutathione and generation of       3   your theory would be the exact right way to
  4    excess NAPQI that the glutathione can't          4   induce ADHD or autism, right?
  5    process, right?                                  5       A. You --
  6        A. I've seen in studies that                 6            (Discussion held off the
  7    acetaminophen can lower glutathione levels       7       record.)
  8    and cause oxidative stress.                      8   QUESTIONS BY MR. MURDICA:
  9        Q. Right.                                    9       Q. I can do that again, if you'd
 10              And then your theory goes that        10   like.
 11    the oxidative stress can happen not just in     11       A. Please.
 12    the liver, it can happen in the fetal brain,    12       Q. Okay. That the proposed
 13    and that stress -- right -- am I with you so    13   oxidative stress in the fetal brain can cause
 14    far?                                            14   some sort of neurologic damage that's the
 15        A. I'm following you.                       15   exact type of cellular damage necessary to
 16        Q. Yep. And you say that, right?            16   create the presentation of ADHD or autism,
 17    The oxidative stress can happen in the fetal    17   correct?
 18    brain, right?                                   18       A. So there's a lot there in that
 19        A. Yes.                                     19   interaction inasmuch as changing the redox --
 20        Q. Okay. And then the outcome of            20   the redox potential of cells changes their
 21    that from oxidative stress in the fetal brain   21   behavior. So it can influence the behavior
 22    is some sort of neurological damage, right?     22   of cells during the developing nervous
 23        A. Well, it influences the                  23   system, and that can produce adverse outcomes
 24    behavior of cells by changing the oxidation     24   specific with increased risk of autism --
 25    in the -- in the cells.                         25   autistic core behaviors.

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  1       Q.    Right.                                  1   endocannabinoid pathway, right? That's one?
  2            And in the section of your               2       A. I did mention, yes,
  3   report that discusses that mechanism, most of     3   endocannabinoids.
  4   the endpoints are just neurologic toxicity,       4       Q. Okay. You gave me a paper
  5   not autism and ADHD themselves, correct?          5   today that talks about notch signalling and
  6       A. Well, it works through there               6   SOX2, right?
  7   sequentially. So at a molecular level, you        7       A. That's correct.
  8   don't see autism or autistic core behaviors       8       Q. Are you adding that as a
  9   neither at a cellular or a tissue level, per      9   proposed mechanism?
 10   se. You would only see those at an organism      10       A. Not currently, other than the
 11   level.                                           11   fact that they did acetaminophen exposure and
 12       Q. Right.                                    12   they're looking at particular changes in that
 13            But the pathway that I just             13   signalling pathway. So that's a proposed
 14   described is your -- it's your oxidative         14   signalling pathway for impacts on the
 15   stress proposed pathway to get from ingestion    15   hippocampus, but I'm not -- I haven't started
 16   of acetaminophen to autism in a human baby,      16   drafting anything about that as a pathway.
 17   right?                                           17       Q. Right.
 18       A. That is one application, yes.             18            And I'm just asking you today,
 19       Q. Right.                                    19   regardless of whether you started drafting
 20            Now, you included, I think,             20   something, are you -- are you going to
 21   five or six other potential pathways in your     21   propose that as a biologically plausible
 22   report as well, right?                           22   pathway based on the -- on the Xie article
 23       A. I reference interactions,                 23   that you handed me today?
 24   things that happen in parallel with that.        24       A. In and of itself, there is some
 25       Q. Yeah. Antagonism of the                   25   other hippocampal data and impacts, but I --


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  1   that's not something I currently plan to do.     1   to fill in those gaps.
  2        Q. Okay. Ultimately, when you               2        Q. So Dr. Cabrera, for his
  3   came to your causation conclusion in this        3   causation opinion, is going on oxidative
  4   case, which pathway -- because you proposed      4   stress and endocannabinoid antagonism, right,
  5   many others, which pathway did you pick?         5   as pathways?
  6        A. So the two that I found                  6        A. Well, I don't know about
  7   evidence for when applying the AOP model was     7   antagonism inasmuch as increasing agonist
  8   the oxidative stress and the endocannabinoid     8   signal through an anandamide would also be --
  9   pathways.                                        9   would also be an interaction. So not
 10        Q. Okay. And the rest of them you          10   strictly just antagonism because there's also
 11   included as background, essentially?            11   some agonism going on there.
 12        A. Well, just in regards to there          12        Q. But that's still an -- the
 13   are other things that happen -- biological      13   endocannabinoid pathway?
 14   systems that can interact with those            14        A. It's still the endocannabinoid
 15   pathways, but those are the core pathways.      15   pathway.
 16        Q. Right.                                  16        Q. Okay. And now that you've seen
 17            The other ones outside of the          17   that AOP 20 was not intended to be used for
 18   endocannabinoid and the oxidative stress you    18   the outcome of autism, are you going to stand
 19   agree are not -- they either don't make it      19   by your opinions here?
 20   all the way along the pathway or they're not    20        A. So I use the same methodology
 21   specific to autism or ADHD, correct?            21   as described in -- as I had already
 22        A. So specifically applying the            22   mentioned, the same methodology that was
 23   AOP, there would be gaps in the data that       23   described in AOP, to come to the similar
 24   would leave a gap in the biological             24   adverse events, which include impairment of
 25   plausibility that would need additional data    25   learning and memory, which overlap with core

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  1   autism behaviors.                                1   glutathione and that can increase risk for
  2        Q. Right.                                   2   oxidative stress. It's been shown in humans,
  3            Some autistic patients have             3   even in regards to modeling in pregnant
  4   impairment of learning as a symptom. Some,       4   mothers. There's NAPQI there.
  5   but not all, correct?                            5            And you can look at that
  6        A. That is correct.                         6   effect. In particular, if you want to look
  7        Q. Okay. So you're going to rely            7   at embryos or fetuses, you have to look at
  8   on a pathway that leads to a symptom for some    8   animal models. But we've seen that there's
  9   autistic patients to apply to ADHD and autism    9   changes in glutathione in the animal models,
 10   for all patients, correct?                      10   the presence of acetaminophen in those animal
 11        A. Not for all patients. It would          11   models, and we've seen the adverse events
 12   have to be -- I mean, if we're talking about    12   that are produced in those animal models.
 13   case-specific, you have to consider both        13   And those parallel what we see in the
 14   genetic and environment interactions. This      14   literature in regards to epidemiological
 15   is simply looking at the biological             15   studies.
 16   plausibility of those interactions.             16            So that's a totality of data
 17        Q. Right.                                  17   there when we -- when we apply this model to
 18            So according to Dr. Cabrera on         18   those experiments.
 19   the AOP 20 pathway, it's biologically           19        Q. Right.
 20   plausible to get to impaired learning,          20            And the impaired learning that
 21   correct?                                        21   you get to from AOP 20, because it's a
 22        A. So using the AOP 20 as a                22   symptom of one of your two outcomes, because
 23   framework, we can move from -- and I can walk   23   it's a symptom of autism, you're
 24   through that.                                   24   extrapolating it to the -- to the entire
 25            Acetaminophen can reduce               25   autism population as a possible causal factor


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  1   and to ADHD, correct?                             1   finding NAPQI?
  2        A. Well, it's not just impairment            2       A. It is, but it doesn't need to
  3   in learning because we also see some other        3   be a complete depletion in order to change
  4   autistic core behaviors in the animals that       4   the cell behavior of stem cells or neuro stem
  5   are exposed to acetaminophen.                     5   cells.
  6        Q. Okay. And your theory, without            6       Q. Is it your testimony that NAPQI
  7   human evidence for legal and ethical reasons,     7   that's bound with glutathione -- to
  8   is that acetaminophen can make it across the      8   glutathione can still change stem cells?
  9   fetal blood-brain barrier in enough quantity      9       A. Changing the reduction
 10   to deplete all the glutathione in the fetal      10   potential in a stem cell population will
 11   brain and generate enough NAPQI in the fetal     11   change the behavior of the cells as indicated
 12   brain to cause oxidative stress and cause        12   in my report.
 13   neurologic changes during development,           13       Q. Okay. Even if -- does that
 14   correct?                                         14   apply, according to Dr. Cabrera, even if only
 15        A. It doesn't need to be a                  15   10 percent of the glutathione is needed to
 16   complete depletion of glutathione. So that's     16   bind all of the present NAPQI?
 17   not correct.                                     17       A. As has been shown, the --
 18        Q. Okay. Anything else about what           18   that's not a true statement because there's
 19   I just said wrong? Is there anything else        19   already N-acetyl cysteine bound to
 20   wrong with what I just said?                     20   glutathione found in the cord blood. So it's
 21        A. Well, just to clarify, it                21   not enough in order to bind all of it.
 22   doesn't need to be a complete depletion of       22            So some of it is getting to the
 23   glutathione.                                     23   fetus, and some of it is being metabolized by
 24        Q. Is glutathione not -- in the             24   glutathione in the fetal compartment.
 25   opinion of Dr. Cabrera, not effective at         25       Q. So now you're relying today,

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  1    Dr. Cabrera, on the 118 patients in the 2020     1   now have in front of you what's been marked
  2    Ji study that had acetyl cysteine metabolite     2   as Exhibit 17.
  3    in their cord blood to substantiate your         3            Do you have that?
  4    theory?                                          4        A. Yes, I do.
  5         A. That also supports the                   5        Q. All right. And these are
  6    biological plausibility and the causality.       6   documents that you reviewed before, right?
  7    It's in totality. You can look at the            7        A. I've seen them.
  8    breadth and the depth of the data, and it        8        Q. They're on -- they're in your
  9    supports this interaction and this causality.    9   reliance materials?
 10         Q. I believe that you believe              10        A. I believe they are, yes.
 11    that, Dr. Cabrera. I do. I can tell you're      11        Q. Okay. And they're -- you can
 12    earnest.                                        12   tell from the appearance of the first page,
 13              All right. Let's take a look          13   can you not, that these are documents
 14    at -- one of the things I think you said you    14   authored by the United States Food and Drug
 15    looked at, Dr. Cabrera, is the documents        15   Administration?
 16    produced about FDA's own analysis of this,      16        A. Yes.
 17    right?                                          17        Q. Okay. Doctor, you have never
 18         A. Yes.                                    18   been asked by FDA to weigh in on a drug
 19         Q. I take it you didn't bring it           19   label, have you?
 20    with you?                                       20        A. I'm not a labeling expert.
 21         A. I did not.                              21        Q. Okay.
 22              (Cabrera Exhibit 17 marked for        22        A. I've not been asked.
 23         identification.)                           23        Q. Okay. In your report and at
 24    QUESTIONS BY MR. MURDICA:                       24   your deposition today, you've offered
 25         Q. Okay. Dr. Cabrera, you should           25   opinions about what warnings or what labeling


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  1   is present on acetaminophen.                     1   it, but I'm not a labeling expert, so I
  2            Do you remember saying that?            2   wouldn't be offering my expert opinion on
  3       A. I don't know about                        3   that.
  4   specifically, but we did have a conversation     4        Q. Okay. And you do know, though,
  5   about that.                                      5   what the FDA to date has said about whether
  6       Q. Let me -- let me -- let me ask            6   or not the label should say anything about
  7   you a question.                                  7   the risk of autism or ASD or any neurologic
  8            Are you intending to offer an           8   defect during pregnancy with the use of
  9   opinion on what the acetaminophen packaging      9   acetaminophen, right?
 10   or labeling should say?                         10        A. I'm aware that they're planning
 11       A. I'm not.                                 11   on continuing studying this matter and that
 12       Q. Okay. So the section in your             12   it's still open for debate.
 13   report criticizing the labeling, should that    13        Q. And that they have been looking
 14   even be in there?                               14   at it for -- since at least 2014, right?
 15       A. I didn't -- I didn't know that           15        A. At least since 2015, in their
 16   I had a specific criticism of the label. I      16   report, so I assume it started somewhere
 17   would need to see the specific reference        17   before then.
 18   you're referring to.                            18        Q. Uh-huh.
 19       Q. Okay. In any event, is it                19              And even though they're looking
 20   accurate that you're not here today to offer    20   at it, they've had opportunities for -- you
 21   any opinion, expert or otherwise, as to what    21   know, since that period of time to come out
 22   the label should or should not say with         22   and say that the label should be changed, and
 23   respect to pregnancy with respect to            23   that has never happened.
 24   acetaminophen?                                  24              They've stuck by the advice
 25       A. I mean, I have an opinion on             25   that women should contact their physicians

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  1   before taking any medication, right?             1   QUESTIONS BY MR. MURDICA:
  2            MS. KING: Objection. Form.              2       Q. Right.
  3            THE WITNESS: I think that's             3            And you don't know one way or
  4       good advice. That being said,                4   the other because you don't know what every
  5       unfortunately, even in the absence of        5   physician in the country knows or believes or
  6       evidence, it has been widely assumed         6   thinks, right?
  7       to be safe during pregnancy.                 7       A. I do not know what every
  8   QUESTIONS BY MR. MURDICA:                        8   physician in the country knows or believes or
  9       Q. Right.                                    9   thinks.
 10            And it's up to the physician to        10       Q. And even though you don't
 11   advise if a patient follows the current         11   prescribe medicine, it's a risk-benefit
 12   labeling and calls a physician, it's up to      12   analysis no matter what, right?
 13   the physician to offer his or her               13       A. I'm familiar with risk-benefit
 14   recommendation on whether, for that             14   analysis and, yes, that would apply here.
 15   particular patient in that particular           15       Q. You know there are women with
 16   circumstance, acetaminophen is an appropriate   16   epilepsy who stay on antiepileptic
 17   treatment, correct?                             17   medications during pregnancy, despite known
 18            MS. KING: Objection. Form.             18   risk of birth defects with the medication
 19            THE WITNESS: If it says to             19   they may be taking, right?
 20       contact your physician during               20       A. I'm aware of that.
 21       pregnancy, and the physician could          21       Q. And you don't doubt that that's
 22       make that opinion, but I guess the          22   a better gamble than the woman and the child
 23       concern is whether they're fully            23   dying if, for example, in a motor vehicle
 24       informed on making that opinion.            24   accident due to an epileptic seizure, right?
 25                                                   25            MS. KING: Objection to form.


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  1            THE WITNESS: To be clear,                1   you see in your review that revising a label
  2       the -- I -- I've spoken about this            2   was something FDA put a red X on when they
  3       with treating physicians, and they've         3   reviewed the data that we're going to -- the
  4       indicated they would normally switch          4   pregnancy data we're going to review here?
  5       to medications that have not been --          5            Had you seen this before today?
  6       such as away from valproic acid, to           6            MS. KING: Objection. Form.
  7       switch to medications that have not           7            THE WITNESS: So my read of
  8       been associated with adverse outcomes.        8       this document was there was some
  9            And then try to stabilize the            9       questions raised in regards to
 10       epilepsy prior to pregnancy would be         10       reviewing the label, but I do see the
 11       the preferable route.                        11       red X that you've indicated on the
 12   QUESTIONS BY MR. MURDICA:                        12       page.
 13       Q. Yeah. If they can, but that's             13            MR. WATTS: What's the exhibit
 14   not always a possibility. You know that,         14       number?
 15   right?                                           15            MR. MURDICA: It's 17.
 16       A. I'm aware of that.                        16   QUESTIONS BY MR. MURDICA:
 17       Q. Okay. Back to Exhibit 17, if              17       Q. Okay. Do you recall reading --
 18   you turn to Bates label 158. So you've never     18   you know FDA did their own epidemiologic
 19   looked at FDA's internal regulatory documents    19   analysis with their own science -- scientists
 20   before, I take it, unless it was in the          20   at various points in '14, '15, '18, '20 and
 21   context of litigation?                           21   '22, right?
 22       A. In the context of litigation, I           22            MS. KING: Objection. Form.
 23   have.                                            23            THE WITNESS: I -- I'm aware
 24       Q. Okay. And I know you're not               24       that they've had ongoing analysis. I
 25   going to offer a labeling opinion, but did       25       have to look specifically in regards

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  1        to the years that you've mentioned.          1   yes.
  2    QUESTIONS BY MR. MURDICA:                        2       Q. And did you see -- and that's
  3        Q. Okay. Without reference to the            3   called nonclinical review, right?
  4    years, did you see that they review many of      4       A. Well, we generally refer to it
  5    the human studies that you reviewed in your      5   as preclinical.
  6    report?                                          6       Q. Preclinical?
  7        A. They've reviewed some of them,            7            In their pre -- their
  8    not all of them.                                 8   preclinical reviewers came to a conclusion
  9        Q. Okay. Yeah, I said many.                  9   that additional animal data was not likely to
 10             So it depends on when you look,        10   be informative.
 11    right? The most recent review that we have,     11            Did you see that?
 12    I believe, is in 2022, so it would be missing   12            MS. KING: Objection. Form.
 13    whatever came out in the rest of '22 and '23.   13            THE WITNESS: I read some
 14             Is that what you're referring          14       correspondence where the findings were
 15    to?                                             15       of concern, but in regards to
 16        A. In part, yes.                            16       conclusions, there was, to me, some
 17        Q. Okay. Did you compare your               17       mixed signals. In the epidemiology,
 18    review of the studies to FDA's review of the    18       they needed some more mechanism data
 19    studies before you finalized your report?       19       which can be found in the animal
 20        A. I was already familiar with the          20       models.
 21    FDA's review of the studies, the past.          21            And in the animal models, they
 22        Q. Okay. You know FDA review --             22       wanted more specific information on
 23    reviewed animal studies about in utero          23       outcomes, which is found in the human
 24    acetaminophen exposure, right?                  24       studies. So you really need to look
 25        A. I did see some of that as well,          25       at those together.


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  1    QUESTIONS BY MR. MURDICA:                        1       Q. Yeah.
  2        Q. Dr. Cabrera, the preclinical              2       A. The applicability, as I
  3    reviewers, what they were really saying is       3   mentioned, because these are animal models,
  4    that the outcomes in animal models aren't        4   whether that was informative on a human
  5    close enough, predictive enough to ASD and       5   outcome.
  6    ADHD in humans for further studies to            6       Q. Right.
  7    elucidate the issue, right?                      7            Because animal outcomes like we
  8             MS. KING: Objection. Form.              8   were talking about earlier, where you're
  9    QUESTIONS BY MR. MURDICA:                        9   looking at marbles and socialization and
 10        Q. Whether you agree with it or             10   everything, the FDA reviewer didn't see those
 11    not, that's what they -- you know that's what   11   as being relevant enough to human symptoms in
 12    they said, right?                               12   autism and ADHD, correct?
 13             MS. KING: Objection. Form.             13            MS. KING: Objection. Form.
 14             THE WITNESS: Well, if you want         14            THE WITNESS: I can't say. You
 15        to find a particular quote, we can --       15       know, I can't read the person's mind,
 16        we can look at that, but...                 16       per se, but the -- my takeaway from
 17    QUESTIONS BY MR. MURDICA:                       17       this information was that there were
 18        Q. Okay. I'm just asking -- let             18       some reservations in regards to the
 19    me ask it this way.                             19       utility of the animal data for
 20             Do you remember them -- do you         20       application in the clinical outcomes.
 21    remember that being their rationale for         21            The clinical outcomes claim the
 22    saying that additional animal studies are not   22       same deficiency, that they needed more
 23    likely to be informative?                       23       mechanistic data, which is provided
 24        A. For their rationale behind               24       with the animal studies, which really
 25    that?                                           25       you have to look at that data in total

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  1        to understand what's going on.               1   you've got the animal model better than they
  2   QUESTIONS BY MR. MURDICA:                         2   do, right?
  3        Q. And, Dr. Cabrera, that -- as              3       A. I haven't done my own
  4   somebody who works on animals every day, that     4   acetaminophen studies in my laboratory.
  5   must have jumped out to you, that they didn't     5       Q. Okay. So you just review the
  6   think any additional animal data would be --      6   existing studies differently than the FDA
  7   would provide more information, right?            7   reviewers do, right?
  8        A. It's -- it's not the first time           8            MS. KING: Objection. Form.
  9   I've heard something like that.                   9            THE WITNESS: I don't -- I
 10        Q. I take it you disagree since             10       don't know that I review them
 11   you work on animals.                             11       differently inasmuch as I just
 12            Is that fair?                           12       performed a systematic review, but I'm
 13        A. That's a -- I think that's               13       considering the totality of data, not
 14   partially correct inasmuch as we do develop      14       just siloed data.
 15   animal models of human disease. We do            15   QUESTIONS BY MR. MURDICA:
 16   appreciate, as I've already mentioned,           16       Q. Okay. In other words, you
 17   there's differences in species, and that         17   don't know what FDA reviewed or didn't
 18   those are models of human disease.               18   review; is that what you're saying?
 19            And I think that inasmuch as we         19       A. Not in total.
 20   can do experiments on them that we couldn't      20       Q. Okay. So if you were to -- I
 21   do on humans, they serve their purpose in        21   know you haven't done any studies on
 22   that regard.                                     22   acetaminophen.
 23        Q. All right. If it -- I take               23            If you were to do one, what
 24   it -- I may have asked you this before. You      24   would you do in your lab or -- well, you
 25   haven't attempted to tell FDA that you think     25   can't do one in your lab. If you were to do


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  1   one in a lab, what would you do?                 1   up beforehand blindly between what their
  2       A. Are you just asking me to                 2   exposure was or non-exposure into different
  3   design an acetaminophen study?                   3   testing groups, and those would go then
  4       Q. Yeah.                                     4   downstairs into the behavioral testing
  5            Have you thought about it?              5   facility for analysis.
  6       A. I have.                                   6       Q. And you would give them the
  7       Q. Okay. And what would you do?              7   same behavioral tests that we talked about
  8       A. So our normal study design, we            8   earlier, the three-chamber test, for example?
  9   would -- we would actually follow guidelines.    9       A. That is one test that we could
 10   We do guideline studies predominantly in my     10   run, yes.
 11   laboratory, so we would follow study            11       Q. Okay. You don't have any
 12   guidelines in regard to animal models and the   12   additional or special tests compared to
 13   number of animals required.                     13   what's in the literature?
 14            We would do exposures. Our             14       A. I don't know about special. A
 15   exposures, we would include a dose-response     15   lot of -- our strength is that it's -- our
 16   in regards to exposures, typically at the       16   system has largely been automated, so we can
 17   minimum, two-dose, but typically three          17   do tracking that doesn't require an
 18   dosages.                                        18   attendant. You can review the data, but it's
 19            And we would determine changes         19   largely automated to remove any potential
 20   in maternal weight to make sure there's not     20   bias.
 21   maternal toxicity per se, and then we would     21             So you're blinded to the
 22   look at the weight of the dam throughout        22   treatment of the animals and the groups, and
 23   pregnancy. We would look at the weight of       23   the machines do the -- do the data
 24   the pups when they're born.                     24   collection.
 25            And then we would divide them          25       Q. And the data you collect in

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  1   your hypothetical study would only be as good    1   "nonclinical data"?
  2   as the model is in terms of measuring those      2       A. Can you give me the Bates
  3   behaviors that you associate to human autism     3   number on that?
  4   and ADHD outcomes, correct?                      4       Q. Sure. It's 147 at the bottom.
  5             MS. KING: Objection. Form.             5   The top of the page, second paragraph.
  6             THE WITNESS: If -- I mean, in          6       A. Okay.
  7        turn, the model is as good as the           7       Q. So, Dr. Cabrera, you know,
  8        model can be, and as a potential            8   because we talked about it earlier and you
  9        comparison, we could do a valproic          9   volunteered, that around this time, FDA came
 10        acid exposure as a -- as a control in      10   out with a statement about ADHD and
 11        addition to treatment with                 11   acetaminophen, right?
 12        acetaminophen.                             12       A. Could you repeat the question?
 13   QUESTIONS BY MR. MURDICA:                       13       Q. FDA issued a statement -- a
 14        Q. But even valproic acid doesn't          14   guidance online about ADHD and acetaminophen
 15   induce autism or ADHD in every exposure,        15   and said they would continue to monitor the
 16   right?                                          16   data, but essentially recommendations on use
 17        A. It produces autism core                 17   haven't changed?
 18   behaviors in a majority of animals, but not     18       A. I'm familiar with that
 19   in every animal.                                19   statement.
 20        Q. If you turn to 147, which is            20       Q. Okay. And you see here the
 21   like the third page in on this, and you look    21   conclusions that led to it internally, right?
 22   at the second paragraph down.                   22   Oh, sorry.
 23             Now, this is -- this is talking       23       A. I see specifically the
 24   about 2016.                                     24   paragraph, their comments in regards to the
 25             Do you see where it says              25   animal studies.


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  1      Q.      Right.                                1   there was also human data reviewed, and this
  2            Okay. And this is what I                2   was later. This was a year later.
  3   was -- this is what I relayed to you before,     3            And the reviewers said,
  4   right, that behavioral responses in animals      4   "Although we have more studies, we do not
  5   that are most likely predictive of an ADHD       5   have higher quality data to better inform
  6   response in humans are uncertain and,            6   drug causality, and with these findings being
  7   therefore, additional animal studies are not     7   in clinical practice, all of these studies
  8   likely to be informative.                        8   had significant limitations, uncertainty and
  9            That was their view, right?             9   critical missing information that precludes
 10       A. That is a quote in this                  10   reliable inference of drug attribution."
 11   document.                                       11            Do you see that?
 12       Q. Okay. And then the next                  12        A. So I -- just to be fair, the
 13   paragraph on March 1st of 2016, whoever was     13   statement begins with "We acknowledge the
 14   doing this review at FDA agreed, the data did   14   consistency of findings of positive
 15   not support a causal association between        15   association between APAP and adverse
 16   acetaminophen and ADHD at the time, and the     16   neurodevelopmental outcomes in the majority
 17   TSI would be closed?                            17   of published observational studies reviewed
 18       A. I see that as well.                      18   to date."
 19       Q. Yeah.                                    19            And then it follows, "Although
 20            And you know you disagree with         20   we have more studies, we do not have higher
 21   that today, but you don't know if you would     21   quality data to better inform drug causality
 22   have disagreed with that in 2016, right?        22   and what these findings mean in clinical
 23       A. I do not know.                           23   studies. All of these studied has
 24       Q. Okay. All right. And then if             24   significant limitations, uncertainties and
 25   you look down at the bottom of the page,        25   critical missing information that precede --

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  1   preclude reliable inference of drug              1   questionnaires in order to collect the data
  2   attribution."                                    2   based on maternal recall.
  3        Q. Right.                                   3            And just to reiterate,
  4            And you're familiar with the            4   generally maternal recall would bias towards
  5   ADHD studies that existed as of February         5   the null, not away from.
  6   2017, right?                                     6       Q. Well, that's -- I understand
  7        A. I've reviewed them.                      7   you're saying that generally, but in the case
  8        Q. Yeah.                                    8   of surveying for mothers for children with
  9            And we haven't gone through all         9   neurodevelopmental issues, you know it's the
 10   of them, and it would -- it would take a        10   opposite, right? The -- there is a bias for
 11   while to do so, and we're not going to do       11   responders for children that actually have
 12   that today.                                     12   the condition, right?
 13            But you know that many of them         13       A. Well, if -- that would assume
 14   were -- they were data collected essentially    14   that they were developing a bias based on
 15   by surveys, right?                              15   they're not sure what they're supposed to be
 16        A. Several of them were survey             16   recalling in regards to that bias.
 17   data.                                           17       Q. Well, did you see, Dr. Cabrera,
 18        Q. Yeah.                                   18   that in some of the studies -- some of the
 19            And they relied on maternal            19   surveys, the questionnaires, large
 20   memory sometimes years after the pregnancy,     20   percentages of the respondents were lost to
 21   right?                                          21   follow-up over the years because some of
 22        A. I -- I'm not going to comment           22   these went to, you know, age 7 of the
 23   generally on how close temporality --           23   children, right?
 24   temporally they were to when they collected     24       A. That does happen.
 25   the data, but several of the studies did use    25       Q. Right.


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  1             And it happened in the studies.         1        (Off the record at 4:36 p.m.)
  2    You saw that, right?                             2            VIDEOGRAPHER: The time is
  3        A. It does happen.                           3       4:56 p.m., back on the record. The
  4        Q. Yeah.                                     4       beginning of Media 7.
  5             And the people who were still           5   QUESTIONS BY MR. MURDICA:
  6    responding at year 7 are biased towards          6       Q. All right. Dr. Cabrera, are
  7    mothers who are concerned about their            7   you ready to proceed?
  8    children that actually have problems, right?     8       A. Yes, I am.
  9             MS. KING: Objection. Form.              9       Q. Okay. Doctor, we're going to
 10             THE WITNESS: I don't know that         10   talk about some things that Dr. Cabrera
 11        that's a bias in that regard, but           11   believes acetaminophen can and cannot cause.
 12        there may be -- and I'd have to look        12            Okay?
 13        specifically at that, whether that          13            Can acetaminophen, in the
 14        was -- there was a correlation between      14   opinion of Dr. Cabrera, cause neural tube
 15        having an affected child and not being      15   defects?
 16        lost to follow-up.                          16       A. Only at doses that wouldn't --
 17             MR. MURDICA: Okay. Why don't           17   that would be outside the normal intake.
 18        we take a break at this point. I need       18       Q. Okay. So I'm -- that's a good
 19        about five minutes, just figure out         19   point. I'm going to limit my questions to
 20        what the last bit we're going to do         20   therapeutic -- normal therapeutic doses in
 21        is.                                         21   line with the labeling.
 22             Does that work for you, Doctor?        22            For a normal therapeutic dose,
 23             THE WITNESS: I can do that.            23   does Dr. Cabrera believe that acetaminophen
 24             VIDEOGRAPHER: Off the record,          24   causes major congenital malformations in
 25        4:36.                                       25   human beings?

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  1        A. I've only seen one study that             1   patients taking acetaminophen?
  2    would support that in regards to the National    2        A. I've seen data that supports
  3    Birth Defects Prevention Study, and that         3   that. I haven't done a causality analysis in
  4    wouldn't be enough data to draw that             4   that regard, but I would say there's data
  5    conclusion.                                      5   that's consistent with causality. But I
  6        Q. Okay. Does Dr. Cabrera believe            6   haven't performed a causality analysis for
  7    that acetaminophen at a therapeutic dose can     7   that.
  8    cause trisomy in an offspring?                   8        Q. Okay. And the data that you've
  9        A. I haven't seen any data that              9   seen that you say is consistent with
 10    would support that it would cause a trisomy.    10   causality relies on induced de novo
 11        Q. Okay. Does Dr. Cabrera believe           11   mutations, essentially, from acetaminophen as
 12    that acetaminophen at a therapeutic dose in     12   a pathway, correct?
 13    any human, not just during pregnancy, can       13        A. It's oxidative damage that can
 14    cause hard cancers?                             14   increase the risk of de novo mutations.
 15        A. Solid tumors, is that --                 15        Q. Right.
 16        Q. Solid tumors.                            16            And --
 17        A. I've only seen data, as I've             17        A. And chromosome breaks.
 18    indicated in my report, consistent with         18        Q. -- and Dr. Cabrera knows that
 19    leukemias, not solid tumors.                    19   if that was true, you'd also see solid tumors
 20        Q. Okay. So the answer on solid             20   as well as blood cancers, correct?
 21    tumors would be no, right?                      21        A. Not necessarily, as solid
 22        A. Correct.                                 22   tumors weren't found in the animal models,
 23        Q. Has Dr. Cabrera seen enough              23   nor have I seen reports in humans for solid
 24    data to say that acetaminophen at therapeutic   24   tumors in that regard.
 25    doses can cause and does cause leukemia in      25        Q. Okay.


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  1        A. And I'll add that it,                    1        Q. Yeah, let's talk about human
  2   oftentimes, particularly may affect highly       2   studies.
  3   proliferative cells. And that may be why         3             What confounders should be
  4   it's leukemias as opposed to other solid         4   taken into account?
  5   tumors.                                          5        A. So some of the things that have
  6        Q. In any event, as of today,               6   also been determined as risk factors, and
  7   Dr. Cabrera hasn't seen enough to say and put    7   we've talked about earlier, so potentially
  8   out for the world that you believe               8   smoking or the use of other medications. And
  9   acetaminophen in therapeutic doses causes        9   that would include things like valproic acid,
 10   blood cancers, do you?                          10   exposures to heavy metals, whether those are
 11        A. I haven't conducted a causality         11   environmental or occupational exposures.
 12   analysis on that, so I would not be willing     12             And as a more general
 13   to make that opinion.                           13   statement, you need to consider -- those are
 14        Q. Okay. What confounders should           14   just known risk factors in that regard. You
 15   we be accounting for in assessing causality     15   need to consider all the various factors in
 16   between acetaminophen exposure and the          16   order to do a weighted analysis for that.
 17   pregnancy outcomes of discussion ASD and        17        Q. How about maternal or paternal
 18   ADHD?                                           18   ADHD?
 19        A. So to be clear, our animal              19        A. You have to consider this as a
 20   models remove those confounders. That's one     20   potential risk in that there may be some
 21   of the strengths of them. And so we don't       21   genetic liability as well if there's maternal
 22   have to worry about environmental or genetic    22   or paternal ADHD or ASD, even, for that
 23   confounders in our animal models. But I can     23   matter, present on the mother or father.
 24   also speak specifically in regards to human     24   It's a potential genetic component.
 25   studies as well, if you'd like.                 25        Q. Particularly if the offspring

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  1   ends up with ADHD and the parents or parent      1   well. So you could have two rare mutations
  2   have ADHD, even Dr. Cabrera would be             2   come together in the offspring and that could
  3   suspicious of a genetic cause there, right?      3   increase disease risk, or you could have de
  4        A. I don't know about "even                 4   novo mutations that could also increase
  5   Dr. Cabrera," but actually one of the first      5   disease risk as potential genetic factors.
  6   things we do is normally conduct a genetic       6       Q. Okay. Back to confounding in
  7   analysis.                                        7   human data that Dr. Cabrera believes we need
  8        Q. Okay. Because you would be               8   to account for here.
  9   suspicious for genetics as a cause there,        9            Is impulsivity in the mother a
 10   right?                                          10   risk factor?
 11        A. Well, it's because it's one of          11       A. I haven't seen specifically
 12   the tools we have in the laboratory. We like    12   impulsivity as a -- as a risk factor for
 13   to apply the tool to see if there is a          13   autism.
 14   genetic cause. It's --                          14       Q. How about anxiety?
 15        Q. Right.                                  15       A. I think there's some overlap in
 16        A. -- an open question that we             16   regards to anxiety and autism or ADHD
 17   normally apply upfront.                         17   behaviors, and so there -- that could be a
 18        Q. And if the parents have the             18   facet of the presentation that should be
 19   condition, you're not doing it for laughs;      19   considered.
 20   you're doing it because you suspect that's a    20       Q. Okay. So anxiety in the mother
 21   possibility, right?                             21   is something you would consider as potential
 22        A. Yeah, we do -- typically we do          22   confounding?
 23   a trio analysis, and we'll look for rare        23       A. Something in -- as reviewed --
 24   variance or mutations in the mother or          24   if you think about this as a part of the
 25   father, or look for de novo mutations as        25   nurturing environment, then you have the


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  1   potential for mom and dad to not just provide    1   potentially being treated with, and you'd
  2   genetics in regards to the offspring, but        2   have to be concerned about potential
  3   also how they influence the environment; both    3   exposures to those medications as well.
  4   the in utero environment and also the            4       Q. Okay. How about untreated
  5   environment that the child would be exposed      5   depression, potentially confounding or no?
  6   to, you know, afterwards.                        6       A. It depends on the severity and
  7        Q. Have you seen data on whether            7   whether it's -- has -- oftentimes, I'm sure
  8   anxiety in a mother increases the risk of        8   you're aware, there can be risk behaviors
  9   ADHD or autism in the child?                     9   associated with depression. And so you would
 10        A. I've seen analysis on various           10   need to account for that if there's
 11   behavioral interactions. I'd have to look       11   particular risks associated with that
 12   back specifically for anxiety.                  12   depression.
 13        Q. Okay. Would Dr. Cabrera today           13       Q. Okay. Any other confounders
 14   consider that confounding for the outcome of    14   you can think of other than the ones we
 15   interest or potentially confounding or not?     15   discussed?
 16        A. I think potentially it should           16       A. So generally what is also often
 17   be considered if it -- particularly if it's     17   adjusted for is -- drinking or smoking is
 18   severe or debilitating.                         18   also usually adjusted for in those models as
 19        Q. And if I asked you that same            19   well.
 20   series of questions for depression in the       20       Q. One quick question, and this
 21   mother, would I get the same answer?            21   was just something I wasn't sure.
 22        A. Well, actually, slightly                22            In your report you have a
 23   different answers. And the question is          23   biological gradient section, right?
 24   whether the depression is being treated and     24       A. Okay.
 25   with what other medications it could            25       Q. And it says, "Meta-regression

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  1   analyses indicate," and I think there's two      1   rate of anxiety and depression?
  2   that you were referring to.                      2       A. I've seen studies specific to
  3            Do you happen to know, as you           3   neuroticism. I'm not sure in regards to
  4   sit here today, what you were referring to       4   anxiety and depression.
  5   there with meta-regression analyses, by any      5       Q. Okay. You didn't have any
  6   chance?                                          6   citation in your report to any study like
  7        A. Could you tell me what page              7   that, right?
  8   that's on?                                       8       A. Initially, no. I did review
  9        Q. Yeah, it's 191.                          9   some of the work -- or some of the references
 10        A. Okay. That was my reference to          10   by Dr. Chung in that regard.
 11   meta-analysis that was performed at the         11       Q. Okay. Have you ever seen a
 12   meta-analysis that I reviewed.                  12   study by Bandoli? Does that sound familiar
 13        Q. Yeah.                                   13   to you?
 14            Do you know which one?                 14       A. I need to see the study to let
 15        A. I reviewed all the ones I could         15   you know.
 16   find, and they're in my report.                 16       Q. Okay. I'm going to mark it and
 17        Q. Oh, okay. So it was the prior           17   hand it to you.
 18   meta-analyses in your report.                   18            MS. JOHNSTON: 18?
 19        A. Yes.                                    19            MR. MURDICA: It's going to be
 20        Q. Got it.                                 20       18, yeah.
 21            Back to the questions I just           21            (Cabrera Exhibit 18 marked for
 22   asked about depression and anxiety. Are you     22       identification.)
 23   aware that there are studies showing that the   23   QUESTIONS BY MR. MURDICA:
 24   population of acetaminophen users have a much   24       Q. Doctor, you now have in front
 25   higher rate of -- the moms have a much higher   25   of you what's been marked as Exhibit 18.


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  1            Take as long as you need to             1       Q. Okay. And is the possibility
  2   review it. I can tell you that my question       2   of confounding from the symptoms of
  3   is going to be on page 5 under the topic --      3   depression and anxiety in long-term users
  4   under the section Characteristics of Women By    4   during pregnancy something you considered in
  5   Duration of Use.                                 5   your opinions before you rendered them?
  6            Do you want to go off the               6       A. Inasmuch as these are things
  7   record, Doctor?                                  7   that could be influencing the population.
  8       A. I just finished.                          8   They would also -- with the expectation that
  9       Q. Oh, okay.                                 9   a particular exposure to a -- to
 10            Okay. Doctor, I know your              10   acetaminophen could have some correlations
 11   counsel had volunteered that he had reviewed    11   with depression, anxiety or mental health.
 12   this paper before today and knew it by name     12   I'm not aware that depression, anxiety or
 13   and year, but I take it Dr. Cabrera didn't      13   mental health themselves can cause the
 14   know about?                                     14   condition of ADHD or ASD in the offspring.
 15       A. I had looked over it in regards          15       Q. Notwithstanding that,
 16   to some of the interactions.                    16   Dr. Cabrera, in this study, at least,
 17       Q. Okay. And you see, and I                 17   long-term users were different than other
 18   directed you to the section, that the -- in     18   users in terms of their weight, their tobacco
 19   this study of the 1,515 women who reported      19   use, their use of antidepressants in
 20   prospectively acetaminophen use during          20   pregnancy and their depression and anxiety,
 21   pregnancy, the ones that had the longest use    21   right?
 22   were more likely, among other things, to        22       A. Right. So, well, weight, it
 23   report depression or anxiety, right?            23   should be adjusted for. And as I already
 24       A. That is consistent with the              24   mentioned, potentially alcohol or smoking
 25   fourth paragraph on page 5.                     25   should be adjusted for.

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  1       Q. And the studies you looked at             1   that one of the studies that you cited,
  2   didn't adjust for depression or anxiety,         2   Richey from this year, determined that there
  3   correct?                                         3   wasn't enough homogeneity among the autism
  4       A. Some of them -- I have to look            4   data that's out there in humans to conduct a
  5   specifically in that regard, but using           5   meta-analysis?
  6   measures of depression or anxiety, I don't       6       A. Are you -- are you referring to
  7   recall those specifically mentioned variables    7   the -- the heterogeneity analysis in Richey?
  8   in the studies I reviewed.                       8       Q. Yes.
  9       Q. Okay. And those are not things            9       A. I am familiar with that Richey
 10   that Dr. Cabrera adjusted for in his            10   analysis in regard to the -- they refer to as
 11   causation analysis when evaluating the          11   a heterogeneity analysis.
 12   studies, correct?                               12       Q. Okay.
 13       A. As I indicated, I'm unaware              13       A. Typically indicated as an
 14   that depression or anxiety in and of            14   I-squared value.
 15   themselves can cause an adverse outcome in      15       Q. Right.
 16   the offspring.                                  16             The data wasn't similar enough
 17       Q. So accordingly, you didn't               17   to put it all together in a meta-analysis in
 18   adjust for it, right?                           18   plain language, correct?
 19       A. I didn't know that they're a             19       A. There was -- there was -- and I
 20   risk factor in that regard. And as I            20   don't know about it wasn't similar enough,
 21   mentioned, unless they're associated with a     21   but there was -- the studies have been
 22   risk exposure and then those should be          22   conducted in different ways to create some
 23   adjusted for.                                   23   difficulties in that regard.
 24       Q. Okay. Dr. Cabrera, in your               24       Q. Right.
 25   review of human autism studies, did you note    25             And you don't deny that Richey,


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  1   at least, determined that it wasn't possible     1   right, Doctor?
  2   to do a meta-analysis on the existing human      2       A. Yes, I do.
  3   data with autism and acetaminophen?              3       Q. And this is -- do you see it's
  4        A. I mean, we can look                      4   in front of you marked as Exhibit 19?
  5   specifically at Richey. I don't -- I don't       5       A. Yes, I do.
  6   think I drew any specific conclusions in         6       Q. And this is something that you
  7   regards to what Richey said about that. We       7   looked at and relied on in your paper, right?
  8   can look at it specifically, though.             8       A. Yes, it is.
  9        Q. Okay. You don't recall whether           9       Q. And, in fact, this is something
 10   or not Richey determined that a meta-analysis   10   that you changed regarding this paper in your
 11   couldn't be done?                               11   amended report, right, we talked about
 12        A. Well, they did a meta-analysis.         12   earlier.
 13   I think you're asking me some very specifics    13       A. I -- I did mention as far as
 14   about the meta-analysis that they did, and I    14   the period of exposure, that was consistent
 15   think we should look at the study if you want   15   with meconium.
 16   to discuss specifics about Richey.              16       Q. Okay. If you turn to page 5 of
 17             (Cabrera Exhibit 19 marked for        17   Exhibit 19, I'm going to ask you a question
 18        identification.)                           18   on the third paragraph -- a couple questions,
 19   QUESTIONS BY MR. MURDICA:                       19   actually.
 20        Q. Okay. If I have time, we will.          20            So my first question is this,
 21             I'm going to move to the next         21   the authors of this study write, "No single
 22   one first.                                      22   observational study is sufficient for causal
 23             We talked about meconium              23   inference, and more observational studies
 24   earlier, and you know there's a meconium        24   using direct measurements of fetal
 25   study with respect to ADHD and acetaminophen,   25   acetaminophen exposure are needed."

                                       Page 371                                             Page 372
  1             Do you see that sentence?              1   have examined the potential mechanisms
  2        A. Yes, I do.                               2   mediating the association of prenatal
  3        Q. Okay. Do you agree with that,            3   acetaminophen exposure with neurodevelopment,
  4    as of the publication date of this article?     4   a key component for assessing the potential
  5        A. I -- at the time there was               5   for causation."
  6    only, I believe, the one cord blood study in    6            Did I read that correctly?
  7    regard to -- actually, this is -- well, it      7        A. I -- you did, yes.
  8    depends on the endpoint.                        8        Q. Okay. And as of September 28,
  9             So there was -- for ADHD --            9   2020, do you disagree with that?
 10    well, as far as measuring concentrations, we   10        A. I would say there had been
 11    had the cord blood study that we already       11   numerous mechanistic studies, but nothing
 12    mentioned.                                     12   that had put all of the steps in regards to
 13             And so we would prefer to have        13   neurodevelopmental toxicity together.
 14    some sort of replication in that regards.      14        Q. Okay. By the way, do you know
 15        Q. Right.                                  15   any of the authors of this study?
 16             These authors thought that more       16        A. I'm familiar with Andrea
 17    observational studies were needed using        17   Baccarelli.
 18    direct measurements of fetal acetaminophen     18        Q. And you know Baccarelli is one
 19    exposure to reach causal inference, correct?   19   of the plaintiffs' experts in this
 20        A. And that is what they say, yes.         20   litigation, right?
 21        Q. And that was as of 2020,                21        A. I'm aware.
 22    correct, September 28, 2020?                   22        Q. Okay. You don't disagree with
 23        A. That is what is indicated, yes.         23   Dr. Baccarelli's statements that I just read
 24        Q. Okay. In going down a couple            24   to you?
 25    sentences, it says, "Third, no prior studies   25        A. I do not.


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  1        Q. Okay. Dr. Baccarelli and his             1   possibility. I also knowledge that he
  2    colleagues include a strengths and              2   followed that up with, "This concern has been
  3    limitations section at the end of the           3   recently addressed with negative control
  4    article.                                        4   exposure analysis, maternal acetaminophen --
  5             My question for you is, on             5   acetaminophen use before and after pregnancy
  6    page 11 where Dr. Baccarelli and his            6   and a partner's acetaminophen use were not
  7    colleagues write, "Another possibility is       7   associated with child ADHD in populations in
  8    confounding by unknown genetic, social and      8   which maternal acetaminophen use during
  9    familial factors associated with                9   pregnancy increased the risk."
 10    acetaminophen use."                            10       Q. Right.
 11             Just -- sorry.                        11            And my question is,
 12        A. Where exactly?                          12   Dr. Baccarelli and colleagues are
 13        Q. Yeah.                                   13   acknowledging that unknown genetic, social
 14        A. Last page?                              14   and familial factors associated with
 15        Q. Yeah. About halfway down from           15   acetaminophen use are still a possibility,
 16    the top.                                       16   although he cites one study that he believes
 17        A. Got it.                                 17   addresses it, correct?
 18        Q. Do you see that sentence,               18            MS. KING: Objection to form.
 19    "Another possibility is confounding by         19            THE WITNESS: To be clear, he
 20    unknown genetic, social and familial factors   20       actually cites three studies that
 21    associated with acetaminophen use"?            21       refute that, that being both the
 22        A. Yes, I do.                              22       negative control exposure studies.
 23        Q. Okay. And do you acknowledge            23            And then he follows that by
 24    that that's a possibility?                     24       saying, "Furthermore, our study
 25        A. I acknowledge that it's a               25       population has high genetic and

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  1       sociodemographic homogeneity."               1       Q. I -- that's what Dr. Cabrera
  2            So he's rejecting that                  2   believes, correct?
  3       possibility also within reference 50         3       A. That's the reality we live in.
  4       as well.                                     4       Q. Okay. Well, Dr. Cabrera,
  5   QUESTIONS BY MR. MURDICA:                        5   you've seen today that I've shown you
  6       Q. Okay. If you look at the first            6   everybody in the world disagrees with you
  7   sentence on this page, Dr. Cabrera,              7   except other plaintiffs' experts?
  8   Dr. Baccarelli and colleagues also write,        8             MS. KING: Objection. Form.
  9   "Confounding by unmeasured or unknown risk       9   QUESTIONS BY MR. MURDICA:
 10   factors is always a possibility."               10       Q. So I appreciate your answer,
 11            Correct?                               11   but I'll ask Dr. Baccarelli about this in two
 12       A. He did write that.                       12   weeks.
 13       Q. Do you disagree with him on              13             MS. KING: Objection. Form.
 14   that?                                           14   QUESTIONS BY MR. MURDICA:
 15       A. Well, I will make the general            15       Q. Do you disagree, Dr. Cabrera,
 16   statement, there's always the potential for     16   with this sentence that Dr. Baccarelli and
 17   residual confounding, and I believe that's      17   colleagues wrote, "confounding by unmeasured
 18   what he's referencing there.                    18   our unknown factors is always a possibility
 19       Q. Yeah. And that's what                    19   in relation to the effects observed in this
 20   Dr. Chung attributes the associations in some   20   study"?
 21   of the studies to, right?                       21       A. As I indicated, I -- my reading
 22       A. Right, but it's -- based on the          22   of that is that he's indicating he's -- or
 23   analysis that's been done, it's not             23   referencing unmeasured confounding and
 24   sufficient to account for the increased risk    24   as a -- or unknown confounding, and so
 25   that's been reported in multiple studies.       25   that's -- it is a possibility.


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  1            You can't control every                  1            MS. KING: Objection. Form.
  2   variable in that regard, but they've also         2            THE WITNESS: Can you repeat
  3   accounted for that as well.                       3       the question?
  4       Q. They accounted for -- oh,                  4   QUESTIONS BY MR. MURDICA:
  5   really? They unaccounted for unmeasured and       5       Q. Sure.
  6   unknown factors?                                  6            Dr. Cabrera, do you believe
  7       A. Well, you can't -- you can't               7   that 70 percent of adverse birth outcomes are
  8   account for the unknown.                          8   of an unknown -- or from an unknown cause?
  9       Q. Okay.                                      9       A. I believe I have indicated that
 10       A. But the whole point is through            10   before.
 11   using their methods of analysis, they're, I      11       Q. You've testified to that before
 12   would say, mitigating that as much as            12   under oath, correct?
 13   possible.                                        13       A. That's correct.
 14       Q. Okay. But they didn't write               14       Q. Okay. And you stand by that?
 15   that because they don't believe it's a           15       A. I would say that over time
 16   possibility, right?                              16   we learn more, and over time, that percentage
 17       A. You don't -- you don't know               17   has gotten smaller.
 18   what you don't know that.                        18       Q. Do you agree that most issues
 19       Q. Okay. We can agree on that,               19   with the fetal-developing brain are for
 20   Dr. Cabrera.                                     20   as-yet unknown reasons?
 21            All right. Let's go on to the           21            MS. KING: Objection. Form.
 22   next one.                                        22            THE WITNESS: We -- as -- over
 23            All right. Dr. Cabrera, do you          23       time, we've learned more about the
 24   agree that 70 percent of adverse birth           24       particular genetic and environmental
 25   outcomes are of an unknown cause?                25       factors can impact those.

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  1             And I would say it's -- it              1   five years?
  2        would be fair that we're maybe               2        A. Well, there -- there's still
  3        approaching, and we can determine            3   mouse models in that regard, but I think they
  4        risks, both environmental and genetic,       4   are informative into understanding the --
  5        for the majority of cases now.               5   particularly when we find rare mutations, and
  6    QUESTIONS BY MR. MURDICA:                        6   we make animal models.
  7        Q. Okay. Understanding that when             7             I'm currently working on a
  8    you said it under oath five years ago, you       8   mouse model with the rare gene mutation
  9    believed it was true then, right?                9   that's also associated with autism, and the
 10        A. Yes.                                     10   animal model has been very informative.
 11        Q. Okay. When you said under oath           11        Q. And that's changed in the last
 12    five years ago that animal -- knockout animal   12   five years?
 13    models haven't been fruitful in converting to   13        A. It's on a case-by-case basis.
 14    human effect, did you mean that?                14             (Cabrera Exhibit 20 marked for
 15             MS. KING: Objection. Form.             15        identification.)
 16             If you're going to quote from          16   QUESTIONS BY MR. MURDICA:
 17        his testimony, I would ask that you         17        Q. Okay. Last exhibit. We talked
 18        show it to him.                             18   a little bit about Ystrom.
 19             MR. MURDICA: Okay.                     19             Do you remember that,
 20    QUESTIONS BY MR. MURDICA:                       20   Dr. Cabrera?
 21        Q. Do you agree with that or no?            21        A. Yes.
 22        A. I think our knockout models              22        Q. Mark that.
 23    have done fairly well in some regards for       23             You should have Exhibit 20 in
 24    animal models of human disease.                 24   front of you now, Dr. Cabrera.
 25        Q. Has that changed in the last             25        A. Yes, I do.


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  1              MS. KING: Can I have a copy?           1   account for?
  2              MR. MURDICA: Yes.                      2       A. Impulsivity?
  3    QUESTIONS BY MR. MURDICA:                        3       Q. A trait in the maternal
  4         Q. All right. Dr. Cabrera, do you           4   population that uses acetaminophen that seems
  5    remember I asked you if impulsivity was          5   to be common.
  6    associated with acetaminophen use during         6       A. I --
  7    pregnancy?                                       7            MS. KING: Objection. Form.
  8         A. Yes, I do.                               8            THE WITNESS: As I previously
  9         Q. Okay. If you look on page 2 in           9       indicated, I -- I'm unaware that
 10    the second column, will you agree with me       10       impulsivity as a trait can necessarily
 11    that this group found that that -- previously   11       lead to adverse outcome.
 12    found that that was the case?                   12   QUESTIONS BY MR. MURDICA:
 13              It's the second sentence in the       13       Q. Dr. Cabrera, impulsivity could
 14    middle column on page 2.                        14   be a symptom of an underlying condition
 15         A. I do see that, yes.                     15   that could be associated with the two
 16         Q. Okay. And assuming that's               16   outcomes we are interested in, correct?
 17    true -- well, they obviously claim they found   17            MS. KING: Objection. Form.
 18    it, and they have a citation, right?            18            THE WITNESS: I would say that
 19         A. They do.                                19       there's -- impulsivity could be --
 20         Q. Have you looked at that                 20       there could be overlap between ADHD
 21    citation, Doctor?                               21       and impulsivity.
 22         A. Yeah. I believe they're                 22   QUESTIONS BY MR. MURDICA:
 23    referencing their previous work.                23       Q. Okay. If you'd turn to
 24         Q. Okay. Is that a potential sign          24   Table 1.
 25    of confounding that you need to count --        25            This is the -- essentially the

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  1   outcome table from their study, right?            1             Right?
  2        A. Yes, it is.                               2             MS. KING: Objection. Form.
  3        Q. Okay. And if you look at the              3             THE WITNESS: I will say
  4   far right, the last row, last column for          4        there is consistency in that there's
  5   mothers who were exposed to acetaminophen in      5        an increased risk in each one of their
  6   all three trimesters, the adjusted confidence     6        models, in regards to model 1, model 2
  7   interval is not statistically significant,        7        and model 3, consistently show an
  8   correct?                                          8        increased risk, although not
  9        A. In the fully adjusted model,              9        consistently statistically
 10   it's -- there's still an increased risk.         10        significant.
 11   It's 1.27, and confidence interval goes from     11   QUESTIONS BY MR. MURDICA:
 12   0.99 to 1.63. It would not be statistically      12        Q. Right.
 13   significant based on --                          13             In fact, in their adjusted
 14        Q. And if you look --                       14   model, the majority of the outcomes are not
 15        A. -- crossing 1.                           15   statistically significant, right?
 16        Q. Thank you, Dr. Cabrera.                  16        A. In their fully adjusted model,
 17             And if you look further up in          17   as they have applied more adjustments, the
 18   that column, you'll see there's quite a bit      18   odds ratios remain positive, but there
 19   of inconsistency between uses in the             19   appears to be three that would not cross 1 in
 20   different trimesters.                            20   regards to their confidence intervals.
 21             For example, there's no                21        Q. Well, if you look at the far
 22   statistical significance for use in the          22   right, there's more than three, right? Only
 23   second and third or first and third              23   one -- only three of them do have statistical
 24   trimester, but there is for the first and        24   significance, right?
 25   second trimesters.                               25        A. Right. That's three of them do


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  1    not cross 1.                                    1   QUESTIONS BY MR. MURDICA:
  2         Q. Okay. Sorry.                            2       Q. Okay. And if we turn to the
  3             The rest of them, Dr. Cabrera,         3   very end of the study in conclusions, the
  4    so seven or eight of them, are not              4   last two sentences -- the last sentence the
  5    statistically significant, right?               5   authors conclude, "We do not provide
  6         A. Still an increase in risk, but          6   definitive evidence for or against a causal
  7    they're not statistically significant.          7   relation between maternal use of
  8         Q. Okay. And this is another one           8   acetaminophen and ADHD."
  9    of those studies where all this document is     9            Do you see that?
 10    used at some particular time for some          10       A. I do see that.
 11    particular duration in a trimester, not a      11       Q. And based on the table we just
 12    length of use or the actual portion of the     12   saw, you would agree, would you not,
 13    trimester when the use was, correct?           13   Dr. Cabrera, that this study in and of itself
 14         A. Yes. So this -- their analysis         14   doesn't provide evidence for or against a
 15    is largely based on duration of use. It        15   causal relationship between acetaminophen and
 16    doesn't necessarily tell you within a          16   ADHD, correct?
 17    trimester when it was used.                    17       A. An individual study typically
 18         Q. And that's unfortunate from a          18   isn't going to provide enough data to
 19    perspective of a teratologist like yourself,   19   demonstrate a causal relation in that regard.
 20    right?                                         20            MR. MURDICA: Okay.
 21             MS. KING: Objection. Form.            21            Anything else?
 22             THE WITNESS: The more                 22            All right. I don't have
 23         information we have on the dose and       23       anything else.
 24         the duration and the frequency of         24            Do you have any questions,
 25         exposure, the better.                     25       Rebecca?

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  1            Oh, Sean's going to do it.              1   known each other for years, haven't we?
  2            MR. WATTS: Sean, wake up.               2       A. Yes, we have.
  3            MR. TRACEY: Yeah, I think I'm           3       Q. I've got a few questions that I
  4       going to do it. Can we take, like, a         4   want to ask you, and the first one is, you
  5       five-minute break?                           5   have a lab called that's the Finnell/Cabrera
  6            THE WITNESS: Please.                    6   lab; is that right?
  7            MR. TRACEY: Or do you want to           7       A. The Finnell/Cabrera Birth
  8       just roll now?                               8   Defects Research Laboratory.
  9            MR. WATTS: No, he wants to              9       Q. And what academic -- is that
 10       take a five-minute break and go to the      10   associated with any academic institutions?
 11       restroom.                                   11       A. That's at Baylor College of
 12            MS. KING: Five minutes? Is it          12   Medicine.
 13       really five minutes?                        13       Q. Okay. And prior to Baylor
 14            VIDEOGRAPHER: Off the record,          14   College of Medicine, was it affiliated with
 15       5:36.                                       15   another academic institution?
 16        (Off the record at 5:36 p.m.)              16       A. Prior to that, we were at the
 17            VIDEOGRAPHER: The time is              17   University of Texas at Austin --
 18       5:49 p.m., back on the record.              18       Q. And --
 19       Beginning of Media 8.                       19       A. -- and also part of the Dell
 20            CROSS-EXAMINATION                      20   Medical School.
 21    QUESTIONS BY MR. TRACEY:                       21       Q. And are you known as a
 22       Q. Hi, Dr. Cabrera. How are you?            22   principal investigator?
 23       A. I'm doing well.                          23       A. Yes, I am.
 24       Q. I've got a few -- my name is             24       Q. What's a principal
 25    Sean Tracey, as you know. You and I have       25   investigator?


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  1       A. That means I lead National                1   program at Texas A&M University.
  2   Institutes of Health-funded research.            2        Q. Okay. What percentage of the
  3       Q. And what is the National                  3   work at your lab deals in some form or
  4   Institutes of Health?                            4   fashion with genetics?
  5       A. Well, it's the governing body             5        A. I would say the majority of the
  6   of our health sciences in the United States.     6   work we do has -- deals with genetics.
  7       Q. And what is the primary purpose           7        Q. But you're a teratologist,
  8   of the Finnell/Cabrera lab at Baylor College     8   right?
  9   of Medicine?                                     9        A. That is correct.
 10       A. It's our -- our catch slogan is          10        Q. How does -- how does genetics,
 11   prevention of preventable birth defects.        11   if it does, intersect with teratology?
 12       Q. Okay. And you mentioned your             12        A. So part of what we do is we
 13   boss a few times during the deposition.         13   often start by looking at particular chemical
 14            Is that Rick Finnell?                  14   exposures, and then we look for what's called
 15       A. Yes, it is.                              15   gene environment interactions. And that is
 16       Q. And what is Rick Finnell's job?          16   particular changes in genetics that increase
 17       A. He's a clinical geneticist by            17   the risk for an adverse outcome with an
 18   training, and currently the -- also a co-PI     18   exposure.
 19   in the laboratory and a chair in the -- in      19        Q. And that's what you do in your
 20   our department.                                 20   lab, that's your day job.
 21       Q. And how long have you worked             21        A. That's the bread and butter.
 22   with Rick Finnell professionally?               22        Q. Okay. Do you remember during
 23       A. I met Rick Finnell in 1995 as            23   your -- Mr. Murdica's examination, he brought
 24   an undergraduate student when I was appointed   24   up this toxicogenomic database in the context
 25   to his lab by his wife as part of the honors    25   of talking about some other databases.

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  1           Do you remember that?                    1   chemical-gene/protein interactions,
  2       A. Yes, I do.                                2   chemical-disease and gene-disease
  3       Q. And are we in a position where            3   relationships. These data are integrated
  4   we can pull up the database and put it on the    4   with functional and pathway data to aid in
  5   screen share?                                    5   the development of hypotheses about the
  6       A. I would be happy to.                      6   mechanisms underlying environmentally
  7       Q. Because what you -- what                  7   influenced diseases."
  8   Mr. Murdica had in front of you were printout    8       Q. Let me stop you there for a
  9   of screenshots, right?                           9   second.
 10       A. That's correct.                          10            That section that says
 11       Q. But this is the actual live              11   "chemical-gene/protein interactions," is that
 12   database, right?                                12   what you do every day at your lab?
 13       A. Yes, it is.                              13            MR. MURDICA: Object to the
 14       Q. And if we go over to home --             14       form.
 15   oh, sorry. If you go over to CT -- yeah, go     15            THE WITNESS: Yes, that's what
 16   to about us. There you go.                      16       I described just previously as gene
 17           I want you to explain to the            17       environment interactions.
 18   judge and the jury what is the CTD, the         18   QUESTIONS BY MR. TRACEY:
 19   comparative toxicogenomic's database?           19       Q. Okay. And then the next
 20       A. So as described in the                   20   sentence says, "We also have additional
 21   overview, that "CTD is a robust, publicly       21   ongoing projects involving manual curation of
 22   available database that aims to advance         22   the exposome data and chemical-phenotype
 23   understanding about how environmental           23   relationships to help identify pre-disease
 24   exposures affect human health. It provides      24   biomarkers resulting from experimental {sic}
 25   manually curated information about              25   exposures."


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   1            Do you know what that means?            1   environments on health.
   2       A. Yes, I do.                                2       Q. Okay. So this database is
   3       Q. What does that mean?                      3   supported by the federal government.
   4       A. So the exposome is the idea               4            MR. MURDICA: Objection to the
   5   that similar to a lot of the other OMIC data,    5       form.
   6   in the environment we're exposed to a lot of     6            THE WITNESS: The NIH and the
   7   different compounds that can influence,          7       NIEHS are part of the federal
   8   what's referred here, as chemical and            8       government.
   9   phenotype relationships. And the idea is         9   QUESTIONS BY MR. TRACEY:
  10   that these models can be used to help drive     10       Q. And the NIH is who you told us
  11   research looking at potential biomarkers that   11   a few minutes ago gave you the grants.
  12   may be indicative of particular exposures.      12       A. They do fund my research, yes.
  13       Q. Okay. And then it says, the              13       Q. Yeah.
  14   next sentence says, "The initial release of     14            And then they go on to say,
  15   the CTD was November 12, 2004."                 15   "We're also proud to be part of the NIEHS
  16            And then under Support, it             16   Environmental Health Science Center at
  17   says, "This program is supported by funds       17   NC State, the Center for Human Health and the
  18   from the National Institutes of Environmental   18   Environment."
  19   Health Sciences."                               19            And are you familiar with that
  20            Do you know what that is?              20   organization at NC State?
  21       A. Yes, I do.                               21       A. I haven't been there, but
  22       Q. What is that?                            22   apparently they have a program project there
  23       A. That's an institute under the            23   that's funding their center, similar to what
  24   National Institutes of Health that              24   we have at Baylor.
  25   specifically focuses on the effects of          25       Q. Okay. And then just quickly

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   1   scroll down, they've got data categories,        1   just the presentation that we see is the
   2   because we're going to look at some of these.    2   phenotype.
   3   Mr. Murdica had the printouts, and we're         3       Q. Okay. Now, if we scroll back
   4   going to look at the realtime search.            4   up, and we want to do what you did in your
   5             They say the data categories           5   report -- for example, if you go over and
   6   they have are chemicals, diseases, genes,        6   you -- under Search, can you click on Search?
   7   phenotypes and chemical-gene/protein             7       A. Well, this is what I would do.
   8   interactions.                                    8   I would put chemicals --
   9             Is there any more?                     9       Q. Okay.
  10             If we scroll down, is there           10       A. -- here, and I can type in --
  11   more?                                           11       Q. But I want you to start with
  12        A. Well, the last one would be             12   Disease.
  13   anatomy they have here for their references.    13       A. Oh, I can do diseases as well.
  14   It's also in the figure.                        14            And I can --
  15        Q. Okay. And you mentioned                 15       Q. And type in "autism spectrum
  16   phenotypes, and I think y'all talked about it   16   disorder," and I want you to tell us what
  17   today, but nobody defined it.                   17   shows up and why it's important.
  18             What's a phenotype?                   18       A. So it defines autism spectrum
  19        A. So the genotype-phenotype               19   disorder as a continuum of associated
  20   relationship would be best characterized by     20   cognitive and neurobehavioral disorders,
  21   Mendelian genetics where the phenotype of a     21   including, but not limited to, three
  22   plant can be shorter or tall in regards to      22   core-defining features, impairments of
  23   the genes are the genotype that control         23   socialization, impairments of verbal and
  24   whether the plant was short or tall, and        24   nonverbal communication, and restricted and
  25   short or tall is the phenotype. So that's       25   repetitive patterns of behavior, according to


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   1   the DSM-5.                                       1       interactions, valproic acid is the
   2       Q. And then it's got a bunch of              2       number one chemical.
   3   tabs up there, and you can click on these and    3   QUESTIONS BY MR. TRACEY:
   4   get information; is that right?                  4       Q. And is there a general -- is it
   5       A. That is correct.                          5   generally accepted in the medical and
   6       Q. And so if you click on                    6   scientific community, or the teratology
   7   "chemicals" -- let's do that, and tell us        7   community, that valproic acid causes autism
   8   what shows up.                                   8   spectrum disorder?
   9       A. So the top hit is valproic acid           9       A. Yes.
  10   followed by acetaminophen.                      10       Q. Have you yourself proven that
  11       Q. Okay. And valproic acid, you             11   in your lab?
  12   and Mr. Murdica talked about, didn't you?       12       A. We've tested that in animal
  13       A. Yes, we have.                            13   model, yes.
  14       Q. You -- I thought I heard you             14       Q. Okay. Number two on the list
  15   say, that's actually the model for causing      15   is acetaminophen.
  16   autism.                                         16       A. That's correct.
  17       A. That is correct.                         17       Q. And we're going to come back to
  18       Q. And so on this Comparative               18   that.
  19   Toxicogenomics Database, when you type in the   19             Number three is Bisphenol A.
  20   disease autism, does it mean that the number    20   What is that?
  21   one chemical interaction is valproic acid?      21       A. That's a monitor -- monomer
  22            MR. MURDICA: Objection to              22   that used to be used in the production of
  23       form.                                       23   plastics.
  24            THE WITNESS: Based on the              24       Q. And was that removed from
  25       direct evidence of mechanistic              25   plastics?

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   1       A. It was banned.                            1       A. Folic acid is a provitamin in
   2       Q. It was banned by who?                     2   the production of vitamin B9, which are a
   3       A. The federal government.                   3   family of folates, which are considered
   4       Q. Okay. Is that known and                   4   essential vitamins.
   5   generally understood to be associated with       5       Q. And does folic acid cause
   6   autism spectrum disorder?                        6   autism?
   7       A. There were concerns that it               7       A. It does not. Its indication
   8   could potentially increase risk for endocrine    8   there is that use of folic acid has been
   9   disruption and autism spectrum disorder.         9   shown to reduce the risk of autism.
  10       Q. Okay. 6 and 7, I'm just going            10       Q. And Rick Finnell was one of the
  11   to get you to highlight because you talked      11   pioneers in that research, wasn't he?
  12   about them with Mr. Murdica in terms of         12            MR. MURDICA: Objection to
  13   confounding.                                    13       form.
  14            And that's air pollutants in           14            THE WITNESS: So we have done
  15   particular -- particulate matter, right?        15       some work in regards to the neural
  16       A. That's correct.                          16       tube defect decreased risk and autism
  17       Q. And is there some evidence that          17       as well in regards to interaction with
  18   air pollutants and particulate matter may       18       folate.
  19   contribute to cause autism?                     19   QUESTIONS BY MR. TRACEY:
  20       A. Yes, there is.                           20       Q. And do you know, Dr. Cabrera,
  21       Q. Okay. Folic acid is number 9.            21   whether it is recommended for all pregnant
  22   I know you know a lot about folic acid,         22   mothers in the United States to take folic
  23   right?                                          23   acid to, in part, reduce the risk of autism?
  24       A. Yes, I do.                               24       A. Originally folic acid was used
  25       Q. What is folic acid?                      25   to fortify the food supply in order to reduce


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   1   the risk of neural tube defects.                1        A.    Well, there's --
   2             More recently, it's been shown        2            MR. MURDICA: Objection to
   3   to reduce the risk of autism as well.           3       form.
   4       Q. Okay. So some of the things on           4            THE WITNESS: -- two parts.
   5   this list of the top ten, let's say, are        5       One in that it's showing that there's,
   6   associated with autism in a negative way in     6       what we refer to, as direct evidence
   7   the sense that they cause it, and some are      7       for an interaction between valproic
   8   associated with it in a positive way in that    8       acid and the disease.
   9   they help reduce it; is that right?             9            And that's indicated here when
  10             MR. MURDICA: Object to form.         10       you highlight over this -- M is for
  11             Sean, if you're going to keep        11       mechanistic interactions.
  12       making misrepresentations and lead         12            And then also, it will identify
  13       like this, you just got to stop.           13       genes that have been previously
  14       You're testifying.                         14       associated or been shown to cause or
  15             MR. TRACEY: Well,                    15       increase the risk of autism that have
  16       Dr. Cabrera --                             16       also been shown to be influenced by
  17             MR. MURDICA: You got to stop,        17       exposure to either valproic acid or
  18       Sean.                                      18       acetaminophen.
  19   QUESTIONS BY MR. TRACEY:                       19    QUESTIONS BY MR. TRACEY:
  20       Q. Dr. Cabrera, tell us what it            20       Q. And do you see -- can you go
  21   means when I see valproic acid,                21    back to that? There you go.
  22   acetaminophen, bisphenol A, et cetera, on      22            So that score, valproic acid
  23   this -- on this chart from the toxicogenomic   23    and autism has a score of 264.59, right?
  24   databases, why is this important to you in     24       A. That's correct.
  25   your opinion?                                  25       Q. And there are 50 references

                                       Page 403                                             Page 404
   1   there to the right, and there's 311 genes       1       A. Yes.
   2   there under the Inference Network, right?       2       Q. And so I want you to show the
   3       A. That is correct.                         3   judge and the jury how to do this right so
   4       Q. And there is no question in the          4   they can understand your testimony.
   5   medical and scientific community that           5            MR. MURDICA: Objection to
   6   valproic acid causes autism, is there?          6       form. That's not a question.
   7             MR. MURDICA: Object to the            7            MR. TRACEY: It is.
   8       form.                                       8   QUESTIONS BY MR. TRACEY:
   9             Sean, you can't testify. I            9       Q. Can you show us how to do this
  10       mean, that's not the way this works.       10   right, Dr. Cabrera, so that we can see how
  11   QUESTIONS BY MR. TRACEY:                       11   this database funded by the federal
  12       Q. Can you answer my question,             12   government shows that acetaminophen interacts
  13   Dr. Cabrera?                                   13   with genes and is associated with autism?
  14       A. There was no question.                  14       A. Yes, I can.
  15       Q. Okay. Now, when you were --             15            And so as an example here, if
  16   when Mr. Murdica was showing you the 35 and    16   you click on the genes that are indicated in
  17   the references and he clicked on that and he   17   the network, those genes come up. They're
  18   did a little -- when we look at these          18   part of a gene list where if you look at a
  19   studies, we don't see any mention of           19   database, or actually even within this
  20   acetaminophen or Tylenol.                      20   database, there are genes that have been
  21             Do you remember that?                21   associated with or been shown to cause
  22       A. Yes, I do.                              22   autism.
  23       Q. And you told him later on he            23            And if you click on an
  24   wasn't doing it right.                         24   individual gene, as an example, it will then
  25             Do you remember that?                25   show you the references that support those


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   1   interactions.                                    1   click on any one of those genes --
   2            And so I'll use an example here         2            And that's what those are,
   3   of clicking on COMT, one of the ones that we     3   genes, right?
   4   mentioned, or clicking on capicua, CIC, where    4       A. That's correct.
   5   they ask where it was in the database. If        5       Q. -- there is studies in this
   6   you click on that, it then opens up the          6   federally supported database that link the
   7   reference that indicates "acetaminophen          7   exposure to acetaminophen to either the
   8   affects the expression of capicua messenger      8   downregulation or the upregulation of the
   9   RNA," and it provides you with a reference.      9   expression of these genes?
  10            And if you click on that               10            MR. MURDICA: Objection to
  11   reference, it will then provide you the study   11       form.
  12   that shows that acetaminophen was used in       12   QUESTIONS BY MR. TRACEY:
  13   hepatotoxicity, as I indicated in my report,    13       Q. Is that right?
  14   and shows the change in expression for          14       A. There are studies for each one
  15   capicua.                                        15   of those genes. They'll be supported --
  16            And that can be done with any          16   there will be studies that support that
  17   of the genes in that -- in the gene family.     17   acetaminophen changes their expression. And
  18   So it could also be done with COMT as I'd       18   you can also filter that if you want to look
  19   also mentioned, and you'll get changes in       19   particularly at upregulation, or increase in
  20   COMT as well. And you can do that with any      20   expression, or downregulation, or decrease
  21   of the genes in the list.                       21   expression.
  22            That's where the references            22       Q. Okay. And the score there for
  23   are.                                            23   acetaminophen and autism is 231, and the
  24        Q. Is it true, Doctor, and we can          24   score for valproic acid is 264.
  25   do some more if we need to, but if I -- you     25       A. That is correct.

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   1            MR. MURDICA: Objection --               1   QUESTIONS BY MR. TRACEY:
   2   QUESTIONS BY MR. TRACEY:                         2       Q. Is that right?
   3       Q. Is that right?                            3       A. That is correct.
   4            MR. MURDICA: Objection to               4       Q. It is a question.
   5       form.                                        5       A. And there's two parts of this.
   6   QUESTIONS BY MR. TRACEY:                         6            So partially sorted by direct
   7       Q. The inference score.                      7   evidence and then by the inference score,
   8            Is that right?                          8   those are highest reported interactions.
   9       A. That is correct.                          9       Q. Okay. Let's do something.
  10       Q. And in terms -- what is an               10   Does anybody in the world that you know of
  11   "inference score"?                              11   think that ibuprofen causes autism?
  12       A. So --                                    12       A. Not that I'm aware.
  13            MR. MURDICA: Objection to              13       Q. Let's do something just for
  14       form.                                       14   fun. Let's go back and type in "ibuprofen"
  15            THE WITNESS: So as indicated,          15   and see if autism comes up.
  16       that's querying the database. It            16       A. You want to look at diseases?
  17       shows you the strength of this              17       Q. Diseases, yeah.
  18       interaction.                                18            Do you see any autism there?
  19   QUESTIONS BY MR. TRACEY:                        19       A. I do not see that as a -- at
  20       Q. And so number 1, the highest             20   least as a top hit, and the inferences scores
  21   inference score is valproic acid. Number 2      21   are rather low.
  22   is acetaminophen.                               22       Q. And then if you go to
  23            MR. MURDICA: There's no                23   hypertension, that's number one for
  24       question. Objection to form.                24   ibuprofen?
  25                                                   25       A. That is correct.


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   1        Q. Do you know whether or not               1       Q. Can you go back to the main
   2   ibuprofen is associated with hypertension?       2   page again, just for a second, then we're
   3        A. It is associated with                    3   going to leave this.
   4   hypertension. It's one of the reasons why        4            Do you know -- do you know if
   5   it's contraindicated in late pregnancy.          5   Johnson & Johnson has anything to do with
   6        Q. Okay. Okay.                              6   this database?
   7             Now, how did you use this              7       A. I --
   8   database, if you did, to support your            8            MR. MURDICA: Objection.
   9   opinion?                                         9            THE WITNESS: Not that I'm
  10        A. I used it to -- actually, and           10       aware.
  11   largely in response to criticism that was       11   QUESTIONS BY MR. TRACEY:
  12   brought up by Dr. Chung in regards to having    12       Q. Okay. Do you know if Johnson &
  13   no gene or gene-drug interactions identified    13   Johnson gives any money to support this
  14   in the literature.                              14   database?
  15        Q. Okay. And this is the proof             15       A. Not that I'm aware.
  16   that that's false.                              16       Q. All right. Anything else we
  17             MR. MURDICA: Objection to             17   need to talk about on this database for now?
  18        form.                                      18       A. I think we've covered the
  19             THE WITNESS: So --                    19   deficiencies that I've noticed earlier.
  20   QUESTIONS BY MR. TRACEY:                        20       Q. Okay. I want to flip and talk
  21        Q. Is that right?                          21   about this adverse outcome pathway for a
  22        A. As indicated in my report, this         22   second.
  23   data does report that there are overlapping     23            If somebody could bring up
  24   etiology in regards to genes between ADHD and   24   adverse outcome pathway 20 so we can put it
  25   ASD, and I reported that in my report.          25   on the screen like we did this database.

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   1             By the way, you did -- you told        1   database.
   2   Mr. Murdica what you did was a weight of the     2        Q. Okay. And if the adverse
   3   evidence analysis, correct?                      3   outcome pathway that's been published as
   4        A. That is correct.                         4   number 20 didn't exist, would you still have
   5        Q. And weight of the evidence               5   the same opinions?
   6   analysis means -- does it -- does it mean you    6        A. Yes, and I would still go
   7   weighed all the different lines of evidence?     7   through the same analysis, even in the
   8        A. That is correct.                         8   absence of adverse outcome pathway number 20.
   9        Q. And is there any one piece in            9        Q. What I want to do just for fun
  10   your weight of the evidence analysis that if    10   is, can you search this pathway for the word
  11   it, you know, wasn't there, your opinion        11   "autism"?
  12   would crumble to dust?                          12        A. Yes, I can.
  13             MR. MURDICA: Objection to             13        Q. Hold on. Before you do that,
  14        form.                                      14   before you hit -- oh, sorry. I was going to
  15             THE WITNESS: Any one piece.           15   read the actual title of the pathway.
  16        If there were deficiencies at multiple     16            It's called "The binding of
  17        steps, then you would be -- you would      17   electrophilic chemicals to the SH thiol group
  18        have trouble drawing conclusions.          18   of proteins and/or to selenoproteins involved
  19   QUESTIONS BY MR. TRACEY:                        19   in protection against oxidative stress during
  20        Q. Well, let me ask it this way.           20   brain development leading to impairment of
  21             If the toxicogenomic database         21   learning and memory."
  22   didn't exist, would you still have the same     22            Did I read that right?
  23   opinion?                                        23        A. That's correct.
  24        A. I could still draw -- I could           24        Q. And then over to the right are
  25   still make the opinions in the absence of the   25   a bunch of authors, right?


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   1       A. That is correct.                         1       A. Yes.
   2       Q. Do you know if any of them work          2       Q. Let's go to the next one. "The
   3   for Johnson & Johnson?                          3   role of epigenetic change in autism spectrum
   4       A. I do not know that any of them           4   disorders," and that's in the Frontiers of
   5   work for Johnson & Johnson.                     5   Neurology, there at the top page 23? "The
   6       Q. Okay. Go back and search for             6   role of epigenetic change in autism
   7   "autism." I want to see whether it comes up     7   spectrum" -- oh.
   8   in this document.                               8       A. I -- yes.
   9       A. So it indicates there's 15               9       Q. It's a stream site, isn't it?
  10   mentions of autism within the document.        10   Yeah.
  11       Q. Okay. Can we -- let's just              11       A. Yes, it is.
  12   look at a couple. I don't know if you can      12       Q. Okay. Do you know whether or
  13   make that bigger. I'm blind, and I have some   13   not epigenetic change has been associated
  14   my glasses on.                                 14   with autism?
  15       A. That good?                              15            MR. MURDICA: Objection to
  16       Q. So there's a reference that             16       form.
  17   says, "The relationship between mercury and    17            THE WITNESS: Yes, I do know it
  18   autism, a comprehensive review and             18       has been associated.
  19   discussion." And that's referenced in this     19   QUESTIONS BY MR. TRACEY:
  20   paper?                                         20       Q. Okay. In your lab, do you
  21       A. That is correct.                        21   spend a great deal of your time studying and
  22       Q. And then down below, it's got           22   researching epigenetic changes?
  23   "Landa, diagnosis of autism spectrum           23            MR. MURDICA: Objection to
  24   disorders in the first three years of life."   24       form.
  25            That's another one?                   25            THE WITNESS: Yes, we do. We

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   1       recently published an epigenetic study      1   disorders such as autism and schizophrenia."
   2       looking at the interaction of folate        2            Do you agree with that?
   3       or folic acid specifically on               3       A. I -- yes, that has been
   4       epigenetic changes in the animal model      4   reported.
   5       or mice.                                    5       Q. Okay. Same -- next paragraph,
   6   QUESTIONS BY MR. TRACEY:                        6   they mention autism again saying, "Genes
   7       Q. Okay. Keep clicking. Let's               7   involved in gluta -- glutamatergic pathways
   8   see what else comes up in this adverse          8   affecting receptor signalling metabolism and
   9   outcome pathway on autism.                      9   transport were enriched in genetic variants
  10            Okay. "The putative role of           10   associated with autism spectrum disorder."
  11   environmental mercury and the pathogenesis     11            Is that right?
  12   and pathophysiology of autism spectrum         12       A. Yes, it is.
  13   disorders and subtypes."                       13       Q. What does that mean?
  14            What's next? There we go.             14       A. Simply that if you looked at
  15            Is this in the body of the AOP        15   those genes that have been associated with
  16   here?                                          16   autism spectrum disorder, and that is, genes
  17            MR. MURDICA: Objection to             17   that have been known to modify or increase
  18       form.                                      18   risk for autism, that they also overlap
  19   QUESTIONS BY MR. TRACEY:                       19   functionally and mechanistically with
  20       Q. Can we tell?                            20   glutaminergic pathways.
  21       A. This is page 47 of the AOP.             21       Q. Just click on another one.
  22       Q. And they mention there in the           22   Just go to one more through there.
  23   middle, "Indeed, disruption of glutamate,      23            There we got another paper.
  24   signalling is thought to be part of the        24   That may be the same guy.
  25   etiology underlying some neurodevelopmental    25       A. Yeah. I think this is the


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   1   reference that they were referencing in those    1   QUESTIONS BY MR. TRACEY:
   2   studies.                                         2       Q. And do you use adverse outcome
   3       Q. Yeah. Okay. Click one more in             3   pathways in your -- in your -- during your --
   4   that.                                            4   in your day job?
   5            "Autism and intellectual                5       A. I find them helpful, and the
   6   disability: Two sides of the same coin."         6   answer is yes. I find them helpful for
   7   That's referenced in this paper, isn't it?       7   identifying where there's deficiencies in
   8       A. Yes, it is.                               8   research so that we can develop hypotheses
   9       Q. Now, the name of this adverse             9   and obtain funding to test those hypotheses.
  10   outcome pathway though isn't autism; they're    10       Q. And do you teach that to
  11   talking about memory and learning, right?       11   students?
  12       A. That is correct.                         12       A. I do teach it to my students,
  13       Q. Do you know why autism is                13   yes.
  14   referenced so many times in this adverse        14       Q. Okay. The toxicogenomic
  15   outcome pathway that's been published and       15   database that we were on a few minutes ago
  16   publicly available?                             16   supported by the federal government, do you
  17            MR. MURDICA: Object. Object            17   use that database in your day job?
  18       to the form.                                18       A. Occasionally. When I have to
  19            THE WITNESS: Because there's           19   look up data on a -- on a chemical that I'm
  20       overlap in the outcome with particular      20   researching, I'll often start with the
  21       exposures and their impact on               21   database searches as it's normal to start
  22       neurodevelopment that can lead to both      22   with what's known in the databases, both the
  23       intellectual disability, autism and         23   chemistry databases and the genetics and
  24       other neurodevelopmental disorders,         24   genomics databases.
  25       including ADHD.                             25       Q. Do you remember when

                                        Page 419                                            Page 420
   1   Mr. Murdica was clicking on 35 and bringing      1   scientific journal, then it's -- it will be
   2   up those papers and said none of them said       2   sent out by multiple reviewers, and that's
   3   acetaminophen?                                   3   part of what we refer to as the peer review
   4            Do you remember that?                   4   process.
   5       A. Yes, I do.                                5            We find reviewers for a paper
   6       Q. How come he couldn't find                 6   based on common publications of those
   7   acetaminophen?                                   7   reviewers with the topic of the publication,
   8       A. Well, that study that's -- we             8   and then they review it and criticize it or
   9   were -- that I would reference in regard to      9   find deficiencies in it.
  10   Santos was a methodology. It's describing       10            And that gets returned back to
  11   the method I was using.                         11   the author to correct or to respond to those
  12            It wasn't describing the               12   criticisms in order to have the paper meet an
  13   genetic analysis that I did, which you have     13   expected scientific standard.
  14   to click on the genes in order to look at the   14       Q. Okay. And have you yourself
  15   genetic analysis.                               15   been a peer reviewer?
  16       Q. So he was just in the wrong              16       A. I've acted as both peer
  17   place?                                          17   reviewer and editor for various journals.
  18       A. That is correct.                         18       Q. And on the topic of birth
  19       Q. Okay. Do you -- Dr. Cabrera,             19   defects or adverse birth outcomes?
  20   you're familiar with the peer review process?   20       A. Yes. I've been guest editor
  21       A. Yes, I am.                               21   for Birth Defects Research, and I'm currently
  22       Q. What is the peer review                  22   acting as a guest editor for Reproductive
  23   process?                                        23   Toxicology.
  24       A. If you want to publish a paper           24       Q. And so you -- you've done
  25   that is going to be in a reputable,             25   what -- you've been the peer reviewer where


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   1   you looked at somebody else's scientific         1       A. It's important that the
   2   work; you made edits; you made comments; you     2   research meets a standard and that people
   3   asked questions, right?                          3   that are proficient in the field can
   4       A. I still do that as well, yes.             4   understand it and potentially reproduce it.
   5       Q. And you yourself -- you've had            5            In order for -- to provide that
   6   your homework graded when you've submitted it    6   information, it needs to be reviewed by
   7   to peer review by other experts in the field,    7   others to meet that standard.
   8   haven't you?                                     8       Q. Okay. And you participate and
   9       A. Yes, I have.                              9   support the peer review process; is that
  10       Q. And all that is part of the              10   right?
  11   scientific process that is so important to      11       A. Yes, I do.
  12   worldwide scientific knowledge, isn't it?       12       Q. Mr. Murdica showed you a
  13            MR. MURDICA: Objection to              13   document, I think it might be Exhibit 17, but
  14       form.                                       14   was that a peer review of AOP 20?
  15            You're doing it again, Sean.           15       A. Yes, that has been
  16       See if you can ask a non-leading            16   peer-reviewed as well.
  17       question. You're obligated to.              17       Q. Okay. Anything in that peer
  18            MR. TRACEY: Okay. I'm trying           18   review that you read on your break that
  19       to move us out of here quickly, but,        19   alters one word of your opinion?
  20       Robert --                                   20            MR. MURDICA: Objection to
  21            MR. MURDICA: Doesn't --                21       form.
  22       doesn't feel that way.                      22            THE WITNESS: No, there's not.
  23   QUESTIONS BY MR. TRACEY:                        23   QUESTIONS BY MR. TRACEY:
  24       Q. Tell us why the peer review              24       Q. Okay. That looked like a
  25   process is important.                           25   typical peer review process?

                                        Page 423                                            Page 424
   1       A. Well, they -- some of them can            1            REDIRECT EXAMINATION
   2   be pretty intense, so I would say it was --      2   QUESTIONS BY MR. MURDICA:
   3   it was a -- maybe an average -- yeah, an         3        Q. Dr. Cabrera, do you stand by
   4   average peer review process.                     4   the answers that you gave me under oath so
   5       Q. Okay. All right. All of your              5   far today?
   6   opinions that you've given and gave in your      6        A. I do.
   7   report are based on reasonable scientific        7        Q. Okay. Mr. Tracey started
   8   certainty?                                       8   asking you questions, several of them, about
   9       A. Yes. All the opinions I've                9   Rick Finnell and Rick Finnell's
  10   given have been provided within a reasonable    10   qualifications and lab you share with Rick
  11   degree of scientific certainty.                 11   Finnell.
  12       Q. Tell me what percentage of your          12             Do you remember those?
  13   adult life you've been engaged in trying to     13        A. Yes.
  14   find out the cause of and ways to prevent       14        Q. You also know, Dr. Cabrera,
  15   birth defects.                                  15   that Rick Finnell has taken a lot of money
  16       A. Actually, all of my adult life           16   from Sean Tracey and other plaintiffs'
  17   I've been working either in genetics or birth   17   lawyers involved in this litigation, right?
  18   defects research.                               18             MS. KING: Objection, form.
  19       Q. Your entire professional life?           19             MR. TRACEY: Object to the
  20       A. Yeah, starting as an                     20        form.
  21   undergraduate and continuing on thereafter.     21             THE WITNESS: I don't -- I
  22            MR. TRACEY: And -- okay. All           22        don't know how much money he's
  23       right. Dr. Cabrera, I'll save the           23        received.
  24       rest for later. Thank you.                  24   QUESTIONS BY MR. MURDICA:
  25            I'll pass the witness.                 25        Q. You know that Mr. Tracey has


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   1   hired him for other birth defect litigation,    1        Q. You testified under oath before
   2   right?                                          2   that he did one case for one defendant for a
   3            MR. TRACEY: Object to the              3   short amount of time.
   4       form.                                       4             Do you remember testifying to
   5            THE WITNESS: I -- I'm aware.           5   that in 2018?
   6   QUESTIONS BY MR. MURDICA:                       6        A. As I just indicated.
   7       Q. You're aware. You've testified           7        Q. Okay. And you know that
   8   under oath about it before, right?              8   Dr. Finnell has worked for plaintiffs'
   9       A. I'm aware.                               9   lawyers on birth defect cases. By and large
  10       Q. Okay. And it goes, you got              10   that's been his expert involvement in
  11   into this business of taking money from        11   litigation, right?
  12   plaintiffs' lawyers from Dr. Finnell who       12        A. He has done that, yes.
  13   originally was the one taking money from       13        Q. And that's how you got
  14   plaintiffs' lawyers, right?                    14   introduced to this, right?
  15            MS. KING: Objection. Form.            15        A. We used to have a company
  16   QUESTIONS BY MR. MURDICA:                      16   together.
  17       Q. He got you into it?                     17        Q. Okay. When you brought up the
  18       A. To be clear, Richard Finnell            18   database onto the computer screen, one of the
  19   has worked with both the defense and           19   things Mr. Tracey had you read was the
  20   plaintiffs in the past and has been --         20   base -- the background on the database, and
  21   because I recall he's been retained in the     21   it said -- well, you read into the record
  22   past also by defense.                          22   that it was intended to aid with the
  23            Particularly I think he was           23   development of hypotheses.
  24   actually on a panel for Johnson & Johnson in   24             Correct?
  25   the past.                                      25        A. That's correct.

                                       Page 427                                             Page 428
   1       Q. And that's what you used it              1   question had come up about where was CIC in
   2   for, right?                                     2   the database, and so that was what I clicked
   3       A. Initially, as I just told you,           3   on to show you.
   4   I looked at that database in order to see if    4       Q. And it gave the Beyer article,
   5   there -- if and how many genes there were       5   which we previously marked as an exhibit,
   6   that were common to the etiology of ADHD and    6   right?
   7   ASD.                                            7       A. That's correct.
   8       Q. Right.                                   8       Q. And you weren't able to show
   9            And what the database says --          9   where CIC was in the article, correct?
  10   there's a disclaimer that I'm sure you've      10       A. I told you it was in the data.
  11   seen that says, this should not be used to     11       Q. Right.
  12   diagnose any condition or disease, right?      12            And we didn't see that on what
  13       A. That is correct. It's not for           13   you just brought up on the -- on the computer
  14   diagnosis.                                     14   screen, correct?
  15       Q. Right.                                  15       A. We didn't -- we didn't dig
  16            And the fact that there's a           16   that deep into the data.
  17   number of genes allegedly connected to a       17       Q. That didn't fill in the gap of
  18   particular compound and an outcome doesn't     18   what we were missing, right?
  19   mean that it's causative, correct?             19            MS. KING: Objection. Form.
  20       A. That in and of itself is not            20            THE WITNESS: We didn't dig
  21   enough evidence to conclude causality.         21       that deep into the data.
  22       Q. And the example he showed you,          22   QUESTIONS BY MR. MURDICA:
  23   you clicked on CIC. That was the first gene    23       Q. Okay. If I leave a blank in
  24   you clicked on, right?                         24   the transcript right here, will you fill in
  25       A. As indicated earlier, I -- the          25   when you -- when you get -- review and sign


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   1   the transcript, will you fill in where that      1      Q.     Right.
   2   mention is actually found in Beyer?              2            And that -- we never found --
   3        A. I can --                                 3   in two of the articles I showed you, we never
   4             MS. KING: Objection. Form.             4   found mention of the genes of the two that we
   5             THE WITNESS: I can -- I can            5   actually looked at, right?
   6        look into it.                               6       A. In that particular article, we
   7   QUESTIONS BY MR. MURDICA:                        7   did not see them.
   8        Q. Thank you, Doctor.                       8       Q. Right.
   9             If, when we get the transcript,        9            And that's responsible for the
  10   the blank that we're going to put is not        10   majority of the alleged gene interactions
  11   filled in, can we agree that it doesn't         11   that Mr. Tracey had you click on, right?
  12   exist, and it's not actually in that            12       A. I can certainly look into that.
  13   citation?                                       13       Q. Okay. And if we were to open
  14             MS. KING: Objection. Form.            14   others, I'm not going to make you do it right
  15             THE WITNESS: We could agree           15   now, but you tell me if you know this, I just
  16        that I didn't find it.                     16   clicked on, on my own computer, FMO1, which
  17   QUESTIONS BY MR. MURDICA:                       17   was one of those genes, and it lists a couple
  18        Q. Okay. Fair enough.                      18   different references. And one says that
  19             Mr. Tracey had you reading            19   acetaminophen upregulates FM01 and then right
  20   from -- oh, by the way, if you were to click    20   there, there is another reference that says
  21   on more of those genes, we would end up with    21   acetaminophen downregulates FMO1.
  22   the other article marked that was responsible   22            You've seen that, right?
  23   for 217 of those 273, right, the one I showed   23       A. There are examples where the
  24   you earlier?                                    24   expression can change, depending on both
  25        A. Potentially.                            25   which tissues they're testing, which cell

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   1   lines they're testing or the dosages they're     1       Q.    Right.
   2   testing. You find differences in response.       2            And for identifying potential
   3        Q. Yeah. There's -- you agreed              3   gene compound outcome interactions, right?
   4   with me earlier that the criteria for            4       A. It's used that -- for that as
   5   including a gene in that is just that some       5   well.
   6   article somewhere mentions it somehow as         6       Q. Yeah.
   7   associated in some way, right? There's a --      7            It doesn't prove causation in
   8   you could look at the listing of what words      8   any given circumstance by itself, correct?
   9   they pick up on to determine whether to          9       A. By itself, currently, it does
  10   include it, right?                              10   not --
  11        A. It is a text-based query, and           11       Q. Okay.
  12   you can then sort through that text base. So    12       A. -- demonstrate causation.
  13   if you want to look at just the genes that      13       Q. Then Mr. Tracey showed you
  14   are downregulated, you can find that, or just   14   AOP 20, and he had you read the instances
  15   the genes that are upregulated. You can also    15   where the word "autism" appeared.
  16   look at protein interactions if you want to     16            Do you remember that?
  17   look at mechanistic interactions as well.       17       A. Yes, I do.
  18        Q. It's someone's attempt to put           18       Q. Okay. And one of them he had
  19   all the data they can find together in one      19   you read about, that autism shares pathways
  20   place and let the viewer decide what to do      20   with glute -- shares -- has commonality with
  21   with it for hypothesis generation, correct?     21   glutamatergic pathways.
  22        A. Well, it's also the state of            22            Do you remember that?
  23   the art right now for mining existing           23       A. Yes, I do.
  24   scientific literature for information that      24       Q. Okay. And that has nothing do
  25   can be helpful for regulatory purposes.         25   with this case. That's GABA, right?


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   1       A. That is GABA.                             1             MS. KING: Objection. Form.
   2       Q. Yeah. And GABA is not one of              2             THE WITNESS: So to be clear,
   3   the mechanisms of action you've postulated in    3        the AOP still has language in regard
   4   any way to do with acetaminophen and the two     4        to interaction with autism and
   5   outcomes here, right?                            5        reference with autism as an endpoint.
   6       A. I did not discuss GABA.                   6   QUESTIONS BY MR. MURDICA:
   7       Q. And when you looked carefully             7        Q. It has -- it has the mentions
   8   at what we're calling the peer review part of    8   like what you looked at with Mr. Tracey,
   9   AOP 20, you saw clearly that the reviewers       9   right?
  10   said, "Unless the authors want to change the    10        A. In addition to what I've
  11   ad" -- "the adverse outcome to autism, then     11   referenced in my report.
  12   they should delete it. The authors must         12        Q. Right.
  13   delete the sentence in the overall assessment   13             What it -- what it doesn't say
  14   domain of applicability section where they      14   is that autism is an outcome as part of that
  15   refer to autism. This is not an AOP for         15   AOP. And it's very clear, is it not, from
  16   autism, and if that's the intention, it must    16   the review, that that was not permitted to be
  17   be changed."                                    17   part of it?
  18            You saw that when you were             18             MS. KING: Objection. Form.
  19   reviewing it, right?                            19             THE WITNESS: But -- I don't
  20            MS. KING: Objection. Form.             20        know about permission, but they ask
  21            THE WITNESS: I read that.              21        that it's either -- the AOP itself be
  22   QUESTIONS BY MR. MURDICA:                       22        changed to autism-specific AOP, or
  23       Q. Yeah. You don't agree with               23        that it be removed, and they chose to
  24   Mr. Tracey that this is about autism in any     24        remove it.
  25   way, shape or form, correct?                    25

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   1   QUESTIONS BY MR. MURDICA:                        1       A. Yes, they do.
   2       Q. Right.                                    2       Q. Do you know whether or not
   3            And the author acknowledged, in         3   Baylor College of Medicine, because they
   4   what we read before, that they couldn't          4   receive money from Johnson & Johnson, forbid
   5   change it to autism because there wasn't         5   Rick Finnell from testifying in this case?
   6   enough data to support it, correct?              6       A. That is correct.
   7            MS. KING: Objection. Form.              7       Q. What do you think of that?
   8            THE WITNESS: That was, in               8             MR. MURDICA: Objection to
   9       part, what we read earlier.                  9       form.
  10            MR. MURDICA: Okay. I don't             10             THE WITNESS: Well, it's a
  11       have any other questions.                   11       little bit upsetting. A little bit
  12            RECROSS-EXAMINATION                    12       disturbing.
  13   QUESTIONS BY MR. TRACEY:                        13   QUESTIONS BY MR. TRACEY:
  14       Q. Dr. Cabrera, Mr. Murdica likes           14       Q. That someone can throw their
  15   to talk a lot about money and plaintiffs'       15   money around and stop scientists from
  16   lawyers.                                        16   testifying?
  17            Have you noticed that?                 17             MR. MURDICA: Hang on.
  18       A. I've heard it a few times.               18       Objection to form.
  19       Q. Yeah. I want to talk about               19             THE WITNESS: That's correct.
  20   money and Johnson & Johnson for a minute.       20             MR. MURDICA: Sean, you said
  21            Okay?                                  21       that Baylor -- you're testifying,
  22       A. Okay.                                    22       Sean, but you're testifying that
  23       Q. Do you know whether or not               23       Baylor is preventing Finnell, correct?
  24   Baylor College of Medicine receives money       24             MR. TRACEY: That's right.
  25   from Johnson & Johnson?                         25       Because they receive money from


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   1   Johnson & Johnson, they are preventing       1   QUESTIONS BY MR. TRACEY:
   2   him from testifying in this case.            2       Q. But let me ask you this.
   3        MR. MURDICA: Yeah. Okay. You            3            Dr. Cabrera, you know, sir,
   4   don't -- you don't know that. That is        4   don't you, that Baylor College of Medicine
   5   improper. That is definitely not --          5   refused to allow Rick Finnell to testify in
   6        MR. TRACEY: I do know it,               6   this case because they receive money from
   7   because I've seen the letter.                7   Johnson & Johnson?
   8        MR. MURDICA: Well, you're not           8            MR. MURDICA: Objection to the
   9   under oath, and you're not giving            9       form. I mean, that is literally --
  10   witness testimony, so you need to           10            MR. TRACEY: Do you --
  11   stop.                                       11            MR. MURDICA: Can you ask a
  12        MR. TRACEY: Well, I know.              12       non-leading question?
  13   That's why I'm asking Robert                13   QUESTIONS BY MR. TRACEY:
  14   Cabrera --                                  14       Q. Let me flip it around.
  15        MR. MURDICA: You told him.             15            Do you know whether or not
  16        MR. TRACEY: -- because he              16   Baylor College of Medicine forbid Rick
  17   knows it, and I need to get the             17   Finnell from testifying in this case because
  18   testimony from him.                         18   they received money from Johnson & Johnson?
  19        MR. MURDICA: I think you               19            MR. MURDICA: Objection to
  20   forgot how to ask a question,               20       form.
  21   Mr. Tracey. But you need to stop.           21            THE WITNESS: That is correct.
  22        MR. TRACEY: I've forgot --             22   QUESTIONS BY MR. TRACEY:
  23   I've forgotten so much, Jim, I don't        23       Q. Okay.
  24   know where to begin.                        24       A. That was the reason they gave
  25                                               25   him that he could not testify.

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   1      Q.   That was the reason they gave        1         FURTHER REDIRECT EXAMINATION
   2   him.                                         2   QUESTIONS BY MR. MURDICA:
   3           MR. MURDICA: Objection to            3       Q. Dr. Cabrera, you testified
   4       form.                                    4   earlier that Baylor doesn't even know the
   5           MR. TRACEY: Sorry, I spoke           5   crazy opinions you're espousing here, right?
   6       over you.                                6   You never told them?
   7   QUESTIONS BY MR. TRACEY:                     7            MS. KING: Objection. Form.
   8       Q. I just want to make sure.             8   QUESTIONS BY MR. MURDICA:
   9           Is that what you said?               9       Q. Do they know you're out here
  10       A. That is the reason they gave         10   creating a health hazard?
  11   him; that he was -- that he would not be    11            MS. KING: Objection. Form.
  12   allowed to testify.                         12   QUESTIONS BY MR. MURDICA:
  13           MR. MURDICA: Objection to           13       Q. Dr. Cabrera, does Baylor know
  14       form.                                   14   what you're doing?
  15   QUESTIONS BY MR. TRACEY:                    15            MS. KING: Objection. Form.
  16       Q. Okay. Do you know whether he         16            MR. TRACEY: Don't answer those
  17   agrees with you?                            17       questions. Those are abusive and
  18           MR. MURDICA: Objection to           18       insulting and unbecoming.
  19       form. This is not -- if you want        19   QUESTIONS BY MR. MURDICA:
  20       Dr. Finnell, get Dr. Finnell. This is   20       Q. Dr. Cabrera, does Baylor know
  21       not about Dr. Finnell.                  21   what you're doing today and the opinions that
  22           THE WITNESS: He does agree          22   you're offering?
  23       with me.                                23       A. As I already indicated, I'm on
  24           MR. TRACEY: All right. Thank        24   vacation today.
  25       you, Dr. Cabrera. Pass the witness.     25       Q. Right.


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   1            Did you ask Baylor anything             1   testify.
   2   about Dr. Finnell and whether or not he could    2       Q. He asked, but you didn't,
   3   testify in this litigation?                      3   right?
   4       A. I didn't ask Baylor about                 4       A. I -- my conflict of interest is
   5   what -- whether Dr. Finnell could, but he did    5   through my company. He was going to testify
   6   disclose that information to me. And he told     6   as an individual employee of Baylor.
   7   me that Baylor said that he would not be         7       Q. So if he had a company, it
   8   allowed to testify.                              8   would be different?
   9       Q. So Dr. Finnell told you                   9       A. As it used to be when we were
  10   something that he allegedly heard from          10   part of the same company, we consulted under
  11   Baylor, correct?                                11   our company.
  12            MS. KING: Object to form.              12       Q. Okay. So you were just asked
  13            THE WITNESS: It's not that he          13   questions about something that you heard
  14       allegedly heard. He had communication       14   third-hand from Dr. Finnell that he allegedly
  15       in that regard.                             15   asked Baylor about but you didn't, right?
  16   QUESTIONS BY MR. MURDICA:                       16            MS. KING: Objection. Form.
  17       Q. But you did not. You didn't              17            THE WITNESS: I heard firsthand
  18   hear it, did you? Did you see a                 18       from Dr. Finnell in that regard.
  19   communication?                                  19   QUESTIONS BY MR. MURDICA:
  20       A. I have -- I have not seen a              20       Q. Right.
  21   communication.                                  21            About something he allegedly
  22       Q. Okay. Did Dr. Finnell ask                22   heard from Baylor itself, right?
  23   Baylor before deciding whether or not he        23       A. About his communication with
  24   could do that here?                             24   Baylor.
  25       A. He asked before he could                 25       Q. Okay.

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   1        A. He told me that it wasn't that           1        MR. TRACEY: Thanks,
   2   I went out and asked him. He told me that --     2    Dr. Cabrera.
   3   about what was going on.                         3        THE WITNESS: Thank you.
   4        Q. So other people at Baylor, if            4        VIDEOGRAPHER: Okay. Off the
   5   they don't have a company, have to ask Baylor    5    record. 6:38.
   6   if they can testify as an expert, but you        6   (Deposition concluded at 6:38 p.m.)
   7   don't, right?                                    7         –––––––
   8        A. Anybody that has a company and           8
   9   files conflict of interests through their        9
  10   company, I have it on my disclaimer and I'm     10
  11   under a conflict of interest that I have to     11
  12   disclose what I'm doing in my company, and I    12
  13   have to identify whether it's creating a        13
  14   conflict of interest with my funded research.   14
  15   And if it does, then I'll have to disclose      15
  16   that, and that's one of the reasons why I       16
  17   mentioned earlier that I would not be able to   17
  18   do acetaminophen work at Baylor College of      18
  19   Medicine.                                       19
  20        Q. And Baylor hasn't stopped you           20
  21   in any way from testifying here or offering     21
  22   your opinions, correct?                         22
  23        A. They have not.                          23
  24             MR. MURDICA: Okay. I have no          24
  25        further questions.                         25


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  1                 CERTIFICATE                                    1         INSTRUCTIONS TO WITNESS
  2             I, CARRIE A. CAMPBELL, Registered
       Diplomate Reporter, Certified Realtime                      2
  3    Reporter and Certified Shorthand Reporter, do
       hereby certify that prior to the commencement               3           Please read your deposition over
  4    of the examination, Robert Cabrera, Ph.D.,
       was duly sworn by me to testify to the truth,
                                                                   4   carefully and make any necessary corrections.
  5
  6
       the whole truth and nothing but the truth.
                I DO FURTHER CERTIFY that the
                                                                   5   You should state the reason in the
       foregoing is a verbatim transcript of the                   6   appropriate space on the errata sheet for any
  7    testimony as taken stenographically by and
       before me at the time, place and on the date                7   corrections that are made.
  8    hereinbefore set forth, to the best of my
       ability.
                                                                   8           After doing so, please sign the
  9                                                                9   errata sheet and date it. You are signing
               I DO FURTHER CERTIFY that I am
 10    neither a relative nor employee nor attorney               10   same subject to the changes you have noted on
       nor counsel of any of the parties to this
 11    action, and that I am neither a relative nor               11   the errata sheet, which will be attached to
       employee of such attorney or counsel, and                  12   your deposition.
 12    that I am not financially interested in the
       action.                                                    13           It is imperative that you return
 13
 14                                                               14   the original errata sheet to the deposing
 15       ____________________________
 16       CARRIE A. CAMPBELL,
                                                                  15   attorney within thirty (30) days of receipt
          NCRA Registered Diplomate Reporter                      16   of the deposition transcript by you. If you
 17       Certified Realtime Reporter
          California Certified Shorthand                          17   fail to do so, the deposition transcript may
 18       Reporter #13921
          Missouri Certified Court Reporter #859                  18   be deemed to be accurate and may be used in
 19       Illinois Certified Shorthand Reporter                   19   court.
          #084-004229
 20       Texas Certified Shorthand Reporter #9328                20
          Kansas Certified Court Reporter #1715
 21       New Jersey Certified Court Reporter                     21
          #30XI00242600                                           22
 22       Louisiana Certified Court Reporter
          #2021012                                                23
 23       Notary Public
          Dated: August 3, 2023                                   24
 24
 25                                                               25


                                                       Page 447                                         Page 448
   1               ACKNOWLEDGMENT OF DEPONENT                      1          –––––––
   2                                                                            ERRATA
   3                                                               2          –––––––
   4                I,______________________, do                   3   PAGE LINE CHANGE
           hereby certify that I have read the foregoing
   5       pages and that the same is a correct                    4   ____ ____ _____________________________
           transcription of the answers given by me to             5   ____ ____ _____________________________
   6       the questions therein propounded, except for            6   ____ ____ _____________________________
           the corrections or changes in form or                   7   ____ ____ _____________________________
   7       substance, if any, noted in the attached                8   ____ ____ _____________________________
           Errata Sheet.
   8
                                                                   9   ____ ____ _____________________________
   9                                                              10   ____ ____ _____________________________
  10                                                              11   ____ ____ _____________________________
  11                                                              12   ____ ____ _____________________________
  12       ________________________________________               13   ____ ____ _____________________________
           Robert Cabrera, Ph.D.     DATE                         14   ____ ____ _____________________________
  13                                                              15   ____ ____ _____________________________
  14
  15       Subscribed and sworn to before me this                 16   ____ ____ _____________________________
  16       _______ day of _______________, 20 _____.              17   ____ ____ _____________________________
  17       My commission expires: _______________                 18   ____ ____ _____________________________
  18                                                              19   ____ ____ _____________________________
  19       Notary Public                                          20   ____ ____ _____________________________
  20                                                              21   ____ ____ _____________________________
  21
  22                                                              22   ____ ____ _____________________________
  23                                                              23   ____ ____ _____________________________
  24                                                              24   ____ ____ _____________________________
  25                                                              25


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   1          –––––––
              LAWYER'S NOTES
   2          –––––––
   3   PAGE LINE
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